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                                                                                                                                                                                 Underlying
                                                                                                                                                                                 Complaint
         Lexis Nexis File                                                                                                                                                       Alleges OPA
           & Serve E-                               Plaintiff First                                                                                       Original EDLA Civil     Cause of
        Service Number       Plaintiff Last Name        Name                          Original Case Caption                        Original Court            Action Number         Action?
 1      No Stamp          [Illegible]                                 Defenders of Wildlife, et al. v. BP. P.L.C. et al   Eastern District of Louisiana   2:10-CV-00879       No
 2      No Stamp          [Illegible]                                 Defenders of Wildlife, et al. v. BP, PLC, et al.    Eastern District of Louisiana   2:10-CV-03879       No
 3      No Stamp          [Illegible]                                 Defenders of Wildlife, et al. v. BP, PLC, et al.    Eastern District of Louisiana   2:10-CV-03879       No
                                                                      Water Street Seafood Inc., et al. v. B.P., PLC., et
 4      34485148          Abrams                   Terence            al                                                  Northern District of Florida    2:10-CV-02671      No
                                                                      Water Street Seafood Inc., et al. v. B.P., PLC., et
 5      34485148          Abrams                   Terence            al                                                  Northern District of Florida    2:10-CV-02671      No
                                                                      Water Street Seafood Inc., et al. v. B.P., PLC., et
 6      34485148          Abrams                   Terence            al                                                  Northern District of Florida    2:10-CV-02671      No
                                                                      Water Street Seafood Inc., et al. v. B.P., PLC., et
 7      34493417          Abrams                   Terence            al                                                  Northern District of Florida    2:10-CV-02671      No
                                                                      Water Street Seafood Inc., et al. v. B.P., PLC., et
 8      34493417          Abrams                   Terence            al                                                  Northern District of Florida    2:10-CV-02671      No
                                                                      Water Street Seafood Inc., et al. v. B.P., PLC., et
 9      34493417          Abrams                   Terence            al                                                  Northern District of Florida    2:10-CV-02671      No
                                                                      Alpasito, Inc., et al. v. BP Company North America,
 10     No Stamp          Abrego                   Francisco          Inc., et al.                                        Southern District of Texas      10-4216            No
                                                                      Alpasito, Inc., et al. v. BP Company North America,
 11     No Stamp          Abrego                   Francisco          Inc., et al.                                        Southern District of Texas      10-4216            No
                                                                      Alpasito, Inc., et al. v. BP Company North America,
 12     No Stamp          Abrego                   Francisco          Inc., et al.                                        Southern District of Texas      10-4216            No
                                                                      Alpasito, Inc., et al. v. BP Company North America,
 13     No Stamp          Abrego                   Francisco          Inc., et al.                                        Southern District of Texas      10-4216            No
                                                                      Alpasito, Inc., et al. v. BP Company North America,
 14     No Stamp          Abrego                   Francisco          Inc., et al.                                        Southern District of Texas      10-4216            No
 15     No Stamp          Abshire                  Brad               Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 16     No Stamp          Acheson                  Mark               Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752         No
                                                                      Emily R. Adams, Ind. & as Proposed Class Rep                                        4:10-CV-00306-SPM-
 17     34462053          Adams                    Emily              vs. BP P.L.C., et al.                               Northern District of Florida    WCS                No
                                                                      Felix C. Aguilar, et al. v. BP Company North
 18     34487414          Aguilar                  Felix              America, Inc., et al.                               Southern District of Texas      10-4220            No
                          Alabama Gulf Coast                          Orange Beach Marina, Inc., et al. v. Transocean
 19     34491243          Investments, LLC                            Holdings, Inc., et al.                              Southern District of Alabama    10-CV-2651         No
 20     No Stamp          Alexander                Alton              Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 21     No Stamp          Alexander                Jamaric            Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752         No
 22     34483429          Alexandria               Curtis             Fruge, et al. v. BP, Plc, et al.                    Eastern District of Louisiana   10-CV-1752         No
                                                                      Larry Alexie, Sr. v. Halliburton Energy Services,
 23     34492073          Alexie                   Larry              Inc. et al.                                         Eastern District of Louisiana   10-1561            No
                                                                      Adam Alfano v. Transocean Ltd., et al - Case 10-
 24     34472294          Alfano                   Adam               10047-CIV-King                                      Southern District of Florida    2:10CV02981        No
 25     34472490          Alfonso                  Jeanette           Robin v. Seacor Marine                              Eastern District of Louisiana   2:10-CV-01156      No




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                                                      All Florida Keys Property Management, LLC,
                                                      Individually and on Behalf of all Persons Similarly
                                                      Situated, Plaintiff v. Transocean, Ltd., BP, PLC.,
                                                      Transocean Offshore Deepwater Drilling, Inc.,
                   All Florida Keys                   Transocean Deepwater, Inc., Products North
 26     34488534   Property Management                America, Inc., Halli                                 Southern District of Florida                      No
                                                      All Florida Keys Property Management, LLC,
                                                      Individually and on Behalf of all Persons Similarly
                                                      Situated, Plaintiff, v. Transocean, Ltd., BP, P.LC.,
                                                      Transocean Offshore Deepwater Drilling, Inc.,
                   All Florida Keys                   Transocean Deepwater, Inc., Products North
 27     34490076   Property Management                America, Inc., Hal                                   Southern District of Florida                      No
                                                      All Florida Keys Property Management, LLC,
                                                      Individually and on Behalf of all Persons Similarly
                                                      Situated, Plaintiff, v. TRANSOCEAN, LTD., BP,
                                                      PLC TRANSOCEAN OFFSHORE DEEPWATER
                                                      DRILLING, INC., TRANSOCEAN DEEPWATER,
                   All Florida Keys                   INC., PRODUCTS NORTH AMERICA, INC.,
 28     34490730   Property Management                HALLIB                                               Southern District of Florida                      No
 29     No Stamp   Allen                   Scotty     Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472        No
                                                      Felix C. Aguilar, et al. v. BP Company North
 30     No Stamp   Alonso                  Roman      America, Inc., et al.                                Southern District of Texas      10-4220           No
 31     34483373   Alumni Association      Rummel     Robin v. Seacor Marine                               Eastern District of Louisiana   2:10-CV-01156     No
 32     No Stamp   Amburn                  Preston    Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472        No
                                                      Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 33     34487414   Andelin                 Daniel     Company North America, Inc., et al.                  Southern District of Texas      10-4225           No
 34     34492554   Anderson                Dorothy    Divine Fish House, Inc., et al. v. BP, PLC, et al.   SC-Charleston 10-1461           10-3276           No
 35     34492554   Anderson                Dorothy    Divine Fish House, Inc., et al. v. BP, PLC, et al.   SC-Charleston 10-1461           10-3276           No
 36     34492554   Anderson                Dorothy    Divine Fish House, Inc., et al. v. BP, PLC, et al.   SC-Charleston 10-1461           10-3276           No
 37     No Stamp   Andrus                  Floyd      Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472        No
 38     No Stamp   Ardoin                  Nicholas   Fruge, et al. v. BP, Plc, et al.                     Eastern District of Louisiana   10-CV-1752        No
                                                      Jack Arias, et al. vs. BP Company North America,
 39     34487414   Arias                   Jack       Inc., et al.                                         Southern District of Texas      10-4224           No
                                                      Jack Arias, et al. vs. BP Company North America,
 40     No Stamp   Arias                   Jack       Inc., et al.                                         Southern District of Texas      10-4224           No
 41     No Stamp   Arrant                  Jeffrey    Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472        No
 42     No Stamp   Arrington Sr.           Feldon     Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472        No
                                                      Ascension Marine, Inc. V. Nguyen vs. BP, PLC, et
 43     34487258   Ascension Marine, Inc              al.                                                  Eastern District of Louisiana   10-1857 "N"        No
 44     No Stamp   Augustine               Kevin      Fruge, et al. v. BP, Plc, et al.                     Eastern District of Louisiana   10-CV-1752         No
                                                      Russell Avocato, Ind & as Proposed Class Rep vs.                                     2:10-CV-02770-CJB-
 45     34462577   Avocato                 Russell    BP P.L.C., et al.                                    Eastern District of Louisiana   SS                 No
 46     34498422   B&B Properties                     Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                       No
 47     34498422   B&B Properties                     Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                       No
 48     34469094   Babin                   Joey       Joey L. Babin v. BP Plc, et al                       Eastern District of Louisiana   2:10-CV-03300      No

 49     No Stamp   Bailey                  Patricia   Darleen Jacobs Levy vs. Transocean, LTD, et al      Eastern District of Louisiana    10-1245           No
 50     No Stamp   Baily                   Willis     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana    10-CV-1472        No
 51     No Stamp   Baker                   Tyree      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana    10-CV-1472        No
 52     No Stamp   Ball                    Clarence   Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana    10-CV-1472        No
 53     No Stamp   Ball                    Darryl     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana    10-CV-1472        No

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 54     No Stamp        Ball                   William     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472        No
 55     No Stamp        Ball                   William     Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana      10-CV-1752        No
 56     No Stamp        Ball Jr.               William     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472        No
                                                           State of Louisiana ex Rel. Ballay v. BP Exploration District Court for Parish of
 57     34490402        Ballay                 Charles     & Production, et al.                                Plaquemines, Louisiana             2:10-CV-1758      No
        34490402;344928                                    State of Louisiana ex rel. Ballay v. BP Exploration
 58     65              Ballay                 Charles     & Production, et al.                                25th JDC Parish of Plaquemines     2:10-CV-1758      No
                                                                                                               2nd Judicial Circuit Leon County
 59     34695706        Bamhardt               Roger       Walton, et. al v. BP, plc, et. al.                  FL                                 N/A                No
                                                           Troy Wetzel, Extreme Fishing, et al vs.                                                2:10-CV-01222-CJB-
 60     34421371        Bang                   Irvin       Transocean, BP, L.L.C., et al                       Eastern District of Louisiana      ALC                No
                                                           Dana Banks v. Transocean LTD, et al - 10-CV-
 61     34470478        Banks                  Dana        10045-KMM                                           Southern District of Florida       2:10CV02979       No
 62     34487338        Barber                 David       Barber's Seafood, Inc. v. BP, PLC., et al.          Northern District of Florida       2:10-CV-03098     No
 63     34493417        Barber                 David       Barber's Seafood, Inc. v. BP, PLC., et al.          Northern District of Florida       2:10-CV-03098     No
 64     No Stamp        Barber                 Peter       Peter J. Barber, et al.                             Southern District of Alabama       2:10CV3249        No
 65     No Stamp        Barks                  Ricky       Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana      10-CV-1752        No
                                                           Smiling Fish Cafe, Inc. v. BP, PLC, et al. 3:10-cv-
 66     34484708        Barnes                 George      00177                                               Northern District of Florida       10-3089           No
 67     34494468        Barrios                Alicia                                                          XXXXX                                                No
 68     34494468        Barrios, Sr            Thomas                                                          XXXXX                                                No
 69     No Stamp        Bartie                 Sean        Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana      10-CV-1752        No
                                                           Alpasito, Inc., et al. v. BP Company North America,
 70     No Stamp        Bautista               Juan        Inc., et al.                                        Southern District of Texas         10-4216           No
                                                           Bayona Corporation d/b/a Bayona Restaurant, et
 71     34473531        Bayona Corporation                 al. v. Transocean, Ltd., et al.                     Eastern District of Louisiana      2:10-CV-1839      No
 72     No Stamp        Bell                   Danny       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472        No
 73     No Stamp        Bell                   Jerry       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472        No
 74     No Stamp        Bell                   Joseph      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472        No
                                                           Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 75     No Stamp        Belton                 Brian       Company North America, Inc., et al.                 Southern District of Texas         10-4225           No
 76     No Stamp        Ben                    Rogers      Fruge, et al. v. BP, Plc, et al.                    Eastern District of Louisiana      10-CV-1752        No
 77     No Stamp        Benfield               Nathaniel   Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana      10-CV-1752        No
 78     No Stamp        Benoit                 Jeffrey     Fruge, et al. v. BP, Plc, et al.                    Eastern District of Louisiana      10-CV-1752        No
                                                           C.A. No. 2010-25245; Tracy Kleppinger vs.
                                                           Transocean Offshore Deepwater Drilling, Inc., et
                                                           al, In the 235th Judicial District Court of Harris  District Court of Harris County,   2:10-CV-02771 CJB-
 79     34490670        Benton                 Tyrone      County, Texas                                       Texas                              SS                 No
 80     No Stamp        Bergeron               Andy        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472         No
                                                           Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 81     No Stamp        Bernard                Darren      Company North America, Inc., et al.                 Southern District of Texas         10-4225           No
                                                           Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 82     No Stamp        Bernard                Edward      Company North America, Inc., et al.                 Southern District of Texas         10-4225           No
                                                           Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 83     No Stamp        Berryman               John        Company North America, Inc., et al.                 Southern District of Texas         10-4225            No
                                                           Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                     2:10-CV-03116-CJB-
 84     34483188        Berryman               Rebecca     PLC, et al                                          Eastern District of Louisiana      SS                 No
                                                           Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                     2:10-CV-03116-CJB-
 85     34483188        Berryman               Timothy     PLC, et al                                          Eastern District of Louisiana      SS                 No
                                                           Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                     2:10-CV-03116-CJB-
 86     34488980        Berryman               Timothy     PLC, et al                                          Eastern District of Louisiana      SS                 No

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 87     No Stamp   Bessard               Keldrick    Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752          No
 88     No Stamp   Bessard               Thomas      Fruge, et al. v. BP, Plc, et al.                    Eastern District of Louisiana   10-CV-1752          No
 89     No Stamp   Bessard Sr.           Chris       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472          No
 90     No Stamp   Besteda               Alex        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472          No
 91     No Stamp   Betancourt            Enrique     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472          No
                                                     Deborah Bird, et al. Ind & as Proposed Class Rep                                    4:10-CV-10054-King-
 92     34460822   Bird                  Deborah     vs. BP P.L.C., et al.                               Southern District of Florida    Bandstra            No
                                                     John Wunstell, Jr and Kelly Blanchard v. BP, PLC, District Court for Parish of
 93     34493046   Blanchard             Kelly       et al                                               Orleans, Louisiana              10-2543            No
                                                     Juan Esquivel, et al. v. BP Company North
 94     34487414   Blanco                 Rogelio    America, Inc., et al.                               Southern District of Texas      10-4214            No
 95     34804258   Blankenship            Jeffrey    Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989            No
 96     34804258   Blankenship            Lou        Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989            No
 97     No Stamp   Blue                   Leroy      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
                   Blue Water Yacht Sales            Blue Water Yacht Sales, etc. v. Transocean
 98     34491243   & Services, Inc.                  Holdings, Inc., et al.                              Southern District of Alabama    10-CV-02656        No
 99     34474496   Boettner               Edward     Edward Boettner vs. BP, PLC, et al                  Eastern District of Louisiana   10-1764            No
 100    34493809   Boettner               Edward     Edward Boettner vs. BP, PLC, et al                  Eastern District of Louisiana   10-1764            No
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 101    No Stamp   Bogden                Sandra      Company North America, Inc., et al.                 Southern District of Texas      10-4225            No
 102    No Stamp   Bonner                Tyrone      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 103    No Stamp   Borders               Ronald      Fruge, et al. v. BP, Plc, et al.                    Eastern District of Louisiana   10-CV-1752         No
 104    No Stamp   Borne                 Kim         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
                                                     Alpasito, Inc., et al. v. BP Company North America,
 105    No Stamp   Borrego               Arturo      Inc., et al.                                        Southern District of Texas      10-4216            No
 106    No Stamp   Bosarge               Barney      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 107    No Stamp   Bosarge               Michael     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 108    No Stamp   Bossley               Chester     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
                                                     Alpasito, Inc., et al. v. BP Company North America,
 109    No Stamp   Boudreaux             Kalei       Inc., et al.                                        Southern District of Texas      10-4216            No
                                                     Alpasito, Inc., et al. v. BP Company North America,
 110    No Stamp   Boudreaux             Wallace     Inc., et al.                                        Southern District of Texas      10-4216            No
                                                     Alpasito, Inc., et al. v. BP Company North America,
 111    No Stamp   Boudreaux             Wallace     Inc., et al.                                        Southern District of Texas      10-4216            No
 112    34480819   Bowman                Ronald      Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.   Northern District of Florida    10-193             No
 113    No Stamp   Boyd                  Major       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 114    No Stamp   Boyette               Kevin       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No

 115    No Stamp   Bradley               Charles     Darleen Jacobs Levy vs. Transocean, LTD, et al      Eastern District of Louisiana   10-1245            No
 116    34492554   Brandt                Earl        Earl Brandt, et al. v. BP, PLC, et al               District of South Carolina      10-3275            No
 117    34494468   Brantley              Kathy                                                           XXXXX                                              No
 118    34494468   Brantley Sr           Ronald                                                          XXXXX                                              No
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 119    No Stamp   Brooks                Timothy     Company North America, Inc., et al.                 Southern District of Texas      10-4225            No
 120    No Stamp   Broussard             Cori        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 121    No Stamp   Broussard             Margo       Company North America, Inc., et al.                 Southern District of Texas      10-4225            No
 122    No Stamp   Broussard             Mark        Fruge, et al. v. BP, Plc, et al.                    Eastern District of Louisiana   10-CV-1752         No
 123    34517999   Brown                 Andrea      Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989            No
 124    34803960   Brown                 Andrea      Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989            No
 125    No Stamp   Brown                 Bonzell     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No

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                                                       2010-25245; Kleppinger, et al vs. Transocean, et      District Court of Harris County,
 126    34437998   Brown                 Douglas       al                                                    Texas                                 10-3168           No
                                                       2010-25245; Kleppinger, et al vs. Transocean, et      District Court of Harris County,
 127    34456028   Brown                 Douglas       al                                                    Texas                                 10-3168           No
 128    No Stamp   Brown                 Jason         Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana         10-CV-1752        No
 129    No Stamp   Brown                 Lloyd         Fruge, et al. v. BP, Plc, et al.                      Eastern District of Louisiana         10-CV-1752        No
 130    No Stamp   Brown                 Ronald        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana         10-CV-1472        No
 131    34517999   Brown                 Walter        Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana         10-2989           No
 132    34803960   Brown                 Walter        Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana         10-2989           No
 133    34480690   Broxson               Timothy       Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.     Northern District of Florida          10-193            No
                                                       Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 134    No Stamp   Bruce                 Michael       Company North America, Inc., et al.                   Southern District of Texas            10-4225           No
 135    No Stamp   Brumfield Jr.         Charlie       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana         10-CV-1472        No
 136    No Stamp   Bryan                 Seaborn       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana         10-CV-1472        No

                                                                                                              US District Court for the Northern   3:01-CV-00136-MCR-
 137    34493902   Bryant                Edward        Charles Douglass, et al. v. Transocean, Ltd., et al. District of Florida, Pensacola Div.    MD                 No
 138    No Stamp   Bui                   Hoa           Le, et al. v. BP, PLC, et al.                          Eastern District of Louisiana        10-CV-2114         No
 139    No Stamp   Bui                   Huong         Le, et al. v. BP, PLC, et al.                          Eastern District of Louisiana        10-CV-2114         No
 140    No Stamp   Bui                   Sang          Le, et al. v. BP, PLC, et al.                          Eastern District of Louisiana        10-CV-2114         No
 141    No Stamp   Bui                   Theu          Le, et al. v. BP, PLC, et al.                          Eastern District of Louisiana        10-CV-2114         No
 142    34493976   Buras                 Howard        Buras, et al v. BP, PLC, et al                         Eastern District of Louisiana        10-2994            No
                                                       Le Discount Seafood, Inc., et al. v. BP, PLC, et al. -
 143    34482527   Burger                Eddie         5:10-CV-00106                                          Northern District of Florida         10-3101           No
                                                       T&D Fishery, LLC, et al. v. BP, PLC, et al. 2:10-CV-
 144    34483924   Burger                Eddie         01332                                                  Eastern District of Louisiana        10-1332           No
 145    No Stamp   Burks                 Aarien        Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana        10-CV-1472        No
                                                       Brad Jones, et al v. Cameron International
                                                       Corporation a/k/a Cameron Systems Corporation,
 146    34482691   Burrell               Michael       et al                                                  Texas State Court - Harris Co.       10-CV-3184        No
 147    No Stamp   Burton                Christopher   Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana        10-CV-1472        No
 148    No Stamp   Bush                  Sam           Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana        10-CV-1472        No
                                                       Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 149    No Stamp   Butler                Kirk          Company North America, Inc., et al.                    Southern District of Texas           10-4225           No
 150    No Stamp   C&J Seafood, Inc.                   Le, et al. v. BP, PLC, et al.                          Eastern District of Louisiana        10-CV-2114        No
                                                       Felix C. Aguilar, et al. v. BP Company North
 151    No Stamp   Cabrales              Richard       America, Inc., et al.                                  Southern District of Texas           10-4220           No

 152    No Stamp   Cage                  Patrick       Darleen Jacobs Levy vs. Transocean, LTD, et al        Eastern District of Louisiana         10-1245           No
                                                       Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 153    No Stamp   Caiazza               Michael       Company North America, Inc., et al.                   Southern District of Texas            10-4225           No
 154    34498422   Caldwell              William       Hopkins, et al. v. Transocean, Ltd., et al.           Southern District of Alabama                            No
 155    34498422   Caldwell              William       Hopkins, et al. v. Transocean, Ltd., et al.           Southern District of Alabama                            No
 156    No Stamp   Calhoun               Jeffrey       Vincent Coratella, et al v. BP, PLC, et al            Middle District of Florida            2:10-CV-03083     No
 157    No Stamp   Callaway              Waylon        Waylon C Callaway v. QBP PLC, et al.                  Southern District of Alabama          10-3257           No
 158    No Stamp   Camara                Edwin         Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana         10-CV-1752        No
                                                       Bones & Campbell Enterprises, Inc. v. BP P.L.C.,
 159    34480942   Campbell              Gene          et al                                                 Eastern District of Louisiana         2:10CV-03068      No
 160    No Stamp   Campbell              Kareem        Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana         10-CV-1752        No
 161    No Stamp   Campbell              Kendrick      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana         10-CV-1472        No
 162    34470136   Campo                 Leroy         Robin v. Seacor Marine                                Eastern District of Louisiana         2:10-CV-01156     No

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 163    34470000   Campo                     Marie       Robin v. Seacor Marine                              Eastern District of Louisiana     2:10-CV-01156     No
                                                         State of Louisiana ex rel. Cannizzaro v. BP         Civil District Court, Parish of
 164    34739131   Cannizzaro                Leon        Exploration & Production, et al                     Orleans                           2:10-CV-02731     No
                                                         State of Louisiana ex Rel. Cannizzaro v. BP         District Court for Parish of
 165    No Stamp   Cannizzaro                Leon        Exploration & Production, et al                     Orleans, Louisiana                2:10-CV-02731     No
                                                         Juan Esquivel, et al. v. BP Company North
 166    No Stamp   Cano                      Roque       America, Inc., et al.                               Southern District of Texas        10-4214           No
                                                         Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 167    No Stamp   Cantor                    Crystal     Company North America, Inc., et al.                 Southern District of Texas        10-4225           No
                                                         Juan Esquivel, et al. vs. BP Company North
 168    No Stamp   Cantu                     Carlos      America, Inc., et al.                               Southern District of Texas        10-4214           No
                                                         Alpasito, Inc., et al. v. BP Company North America,
 169    No Stamp   Cantu                     Jimmy       Inc., et al.                                        Southern District of Texas        10-4216           No
                                                         Felix C. Aguilar, et al. v. BP Company North
 170    No Stamp   Cantu                     Leon        America, Inc., et al.                               Southern District of Texas        10-4220           No
                                                         Juan Esquivel, et al. vs. BP Company North
 171    No Stamp   Cantu                     Santiago    America, Inc., et al.                               Southern District of Texas        10-4214           No
                   Captain John's
 172    No Stamp   Seafood, Inc.                         Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-2114        No
 173    34452582   Carbullido                Jesse       Marine Horizons, Inc. et. al v. BP, PLC et. al      Southern District of Alabama      02657             No
                                                         Felix C. Aguilar, et al. v. BP Company North
 174    No Stamp   Cardenas                  Jonquito    America, Inc., et al.                               Southern District of Texas        10-4220           No
                                                         Juan Esquivel, et al. v. BP Company North
 175    No Stamp   Cardiel                   Ruben       America, Inc., et al.                               Southern District of Texas        10-4214           No
                                                         Alpasito, Inc., et al. v. BP Company North America,
 176    No Stamp   Carinhas                  Jack        Inc., et al.                                        Southern District of Texas        10-4216           No
                                                         Alpasito, Inc., et al. v. BP Company North America,
 177    No Stamp   Carinhas                  Jack        Inc., et al.                                        Southern District of Texas        10-4216           No
                                                         Alpasito, Inc., et al. v. BP Company North America,
 178    No Stamp   Carinhas                  Jack        Inc., et al.                                        Southern District of Texas        10-4216            No
                                                         Obie F. Carlisle, Ind & as Proposed Class Rep vs.                                     CI:10-CV-00422-WS-
 179    34470217   Carlisle                  Obie        BP P.L.C., et al.                                   Southern District of Alabama      C                  No
                                                         Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 180    No Stamp   Carr                      David       Company North America, Inc., et al.                 Southern District of Texas        10-4225           No
 181    No Stamp   Carrera                   Gilberto    Fruge, et al. v. BP, Plc, et al.                    Eastern District of Louisiana     10-CV-1752        No
 182    No Stamp   Carter                    Johnie      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana     10-CV-1472        No
                                                         James J. Frischhertz, et al. v. Halliburton Energy
 183    34490438   Carter                    Kenneth     Services, Inc., et al.                              Eastern District of Louisiana     10-1908           No
 184    No Stamp   Carter Jr.                Albert      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana     10-CV-1472        No
                                                         Jack Arias, et al. v. BP Company North America,
 185    No Stamp   Cary                      Beverly     Inc., et al.                                        Southern District of Texas        10-4224           No
 186    No Stamp   Cascio                    Joshua      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana     10-CV-1472        No
                                                         Felix C. Aguilar, et al. v. BP Company North
 187    No Stamp   Castillo                  Joaquin     America, Inc., et al.                               Southern District of Texas        10-4220           No
                                                         Felix C. Aguilar, et al. v. BP Company North
 188    No Stamp   Castro                    Jose        America, Inc., et al.                               Southern District of Texas        10-4220           No
                                                         Felix C. Aguilar, et al. v. BP Company North
 189    No Stamp   Cazares                   David       America, Inc., et al.                               Southern District of Texas        10-4220           No
 190    No Stamp   Ceaser Jr.                Willie      Fruge, et al. v. BP, Plc, et al.                    Eastern District of Louisiana     10-CV-1752        No
                   Center for Biological
 191    34348622   Diversity                 N/A         Center for Biological Diversity v. BP America, et al. Eastern District of Louisiana   2:10-CV-01768     No

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                                                      Alpasito, Inc., et al. v. BP Company North America,
 192    No Stamp   Cepeda                 Ismael      Inc., et al.                                        Southern District of Texas       10-4216      No
 193    No Stamp   Cessac                 Thomas      Fruge, et al. v. BP, Plc, et al.                    Eastern District of Louisiana    10-CV-1752   No
 194    34492554   Chandler               Sandra      Earl Brandt, et al. v. BP, PLC, et al               District of South Carolina       10-3275      No
 195    No Stamp   Chang                  Mi          Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana    10-CV-2114   No

 196    No Stamp   Charbonnet             Barbara     Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana   10-1245      No

 197    No Stamp   Charbonnet             Jack        Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana   10-1245      No

 198    No Stamp   Charbonnet             Jane        Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana   10-1245      No

 199    No Stamp   Charbonnet             Kenny       Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana   10-1245      No

 200    No Stamp   Charbonnet             Linda       Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana   10-1245      No

 201    No Stamp   Charbonnet             Linda       Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana   10-1245      No

 202    No Stamp   Charbonnet             Robert      Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana   10-1245      No

 203    No Stamp   Charbonnet             Robert      Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana   10-1245      No
 204    No Stamp   Charles                Donald      Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472   No
 205    No Stamp   Charles                Kente       Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472   No
                   Charter Boat Seascape,
 206    34481385   Inc                                Destin Fishing Fleet, Inc, et al v. BP, PLC, et al   Northern District of Florida    10-3088      No
                   Charter Boat Seascape,
 207    34481385   Inc                                Destin Fishing Fleet, Inc, et al v. BP, PLC, et al   Northern District of Florida    10-3088      No
                   Charter Boat Seascape,
 208    34481906   Inc                                Destin Fishing Fleet, Inc, et al v. BP, PLC, et al   Northern District of Florida    10-3088      No
                   Charter Boat Sunrise,
 209    34481385   Inc                                Destin Fishing Fleet, Inc, et al v. BP, PLC, et al   Northern District of Florida    10-3088      No
                   Charter Boat Sunrise,
 210    34481906   Inc                                Destin Fishing Fleet, Inc, et al v. BP, PLC, et al   Northern District of Florida    10-3088      No
                                                      Felix C. Aguilar, et al. v. BP Company North
 211    No Stamp   Chavez                 Simon       America, Inc., et al.                                Southern District of Texas      10-4220      No
                                                      Felix C. Aguilar, et al. v. BP Company North
 212    No Stamp   Che                    Armando     America, Inc., et al.                                Southern District of Texas      10-4220      No

                   Cheesecake Bistro,                 Copeland's of New Orleans, Inc.; Cheesecake
 213    34474635   LLC                                Bistro, LLC; and Sweet Fire & Ice, LLC v. BP, PLC Eastern District of Louisiana      10-1926      No

                   Cheesecake Bistro,                 Copeland's of New Orleans, Inc.; Cheesecake
 214    34493900   LLC                                Bistro, LLC; and Sweet Fire & Ice, LLC v. BP, PLC Eastern District of Louisiana      10-1926      No
                                                      M.P. Cheng, LLC, et al. v. BP Company North
 215    34487414   Cheng                  Yun         America, Inc., et al.                             Southern District of Texas                      No
                                                      M.P. Cheng, LLC, et al. v. BP Company North
 216    No Stamp   Cheng                  Yun         America, Inc., et al.                             Southern District of Texas                      No
                                                      M.P. Cheng, LLC, et al. v. BP Company North
 217    No Stamp   Cheng                  Yun         America, Inc., et al.                             Southern District of Texas                      No
                                                      M.P. Cheng, LLC, et al. v. BP Company North
 218    No Stamp   Cheng                  Yun         America, Inc., et al.                             Southern District of Texas                      No

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                                                      M.P. Cheng, LLC, et al. v. BP Company North
 219    No Stamp   Cheng              Yun             America, Inc., et al.                              Southern District of Texas                      No
                                                      M.P. Cheng, LLC, et al. v. BP Company North
 220    No Stamp   Cheng              Yun             America, Inc., et al.                              Southern District of Texas                      No
                                                      Samuel Chernin, et al. vs. BP Company North
 221    34487414   Chernin            Samuel          America, Inc., et al.                              Southern District of Texas         10-4223      No
                                                      Samuel Chernin, et al. vs. BP Company North
 222    No Stamp   Chernin            Samuel          America, Inc., et al.                              Southern District of Texas         10-4223      No
                                                      Samuel Chernin, et al. vs. BP Company North
 223    No Stamp   Chernin            Samuel          America, Inc., et al.                              Southern District of Texas         10-4223      No
                                                      Samuel Chernin, et al. vs. BP Company North
 224    No Stamp   Chernin            Samuel          America, Inc., et al.                              Southern District of Texas         10-4223      No
                                                      Samuel Chernin, et al. vs. BP Company North
 225    No Stamp   Chernin            Samuel          America, Inc., et al.                              Southern District of Texas         10-4223      No
                                                      Samuel Chernin, et al. vs. BP Company North
 226    No Stamp   Chernin            Samuel          America, Inc., et al.                              Southern District of Texas         10-4223      No
                                                      Samuel Chernin, et al. vs. BP Company North
 227    No Stamp   Chernin            Samuel          America, Inc., et al.                              Southern District of Texas         10-4223      No
 228    34517999   Chipka             Heather         Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana      10-2989      No
 229    34803960   Chipka             Heather         Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana      10-2989      No
 230    34517999   Chipka             Stephen         Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana      10-2989      No
 231    34803960   Chipka             Stephen         Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana      10-2989      No
                                                      2010-25245; Kleppinger, et al vs. Transocean, et   District Court of Harris County,
 232    34438371   Choy               Christopher     al                                                 Texas                              10-3168      No
                                                      2010-25245; Kleppinger, et al vs. Transocean, et   District Court of Harris County,
 233    34456028   Choy               Christopher     al                                                 Texas                              10-3168      No
 234    No Stamp   Chretein           Jonathon        Fruge, et al. v. BP, Plc, et al.                   Eastern District of Louisiana      10-CV-1752   No
 235    No Stamp   Chretein           Julius          Fruge, et al. v. BP, Plc, et al.                   Eastern District of Louisiana      10-CV-1752   No
 236    No Stamp   Chretein Jr.       Lash            Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1752   No
 237    No Stamp   Chretein Sr.       Lash            Fruge, et al. v. BP, Plc, et al.                   Eastern District of Louisiana      10-CV-1752   No
 238    No Stamp   Chretien           Edward          Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1752   No
 239    No Stamp   Christopher        James           Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472   No
 240    No Stamp   Churchwell         Caleb           Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472   No
                                                      Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 241    No Stamp   Clark              Fred            Company North America, Inc., et al.                Southern District of Texas         10-4225      No
                                                                                                         2nd Judicial Circuit Leon County
 242    34695706   Clark              Heather & Ken   Walton, et. al v. BP, plc, et. al.                 FL                                 N/A          No
                                                      Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 243    No Stamp   Clark              Raymond         Company North America, Inc., et al.                Southern District of Texas         10-4225      No
 244    No Stamp   Clause             Daniel          Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472   No
 245    No Stamp   Cleary             Ronnie          Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1752   No
 246    No Stamp   Cline              Michael         Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472   No
 247    34488477   Cockrell           Melvin          Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1752   No
 248    No Stamp   Colby              Franklin        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472   No
 249    No Stamp   Cole               John            Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472   No
 250    No Stamp   Cole Sr.           Terrell         Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1752   No
 251    No Stamp   Coleman            Dennis          Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472   No
 252    No Stamp   Combs              Kim             Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114   No
 253    34475070   Commodore, LLC                     Decatur Hotels, LLC, et al vs. BP, PLC, et al      Eastern District of Louisiana      10-1767      No
 254    34494009   Commodore, LLC                     Decatur Hotels, LLC, et al vs. BP, PLC, et al      Eastern District of Louisiana      10-1767      No


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                                                      Felix C. Aguilar, et al. v. BP Company North
 255    No Stamp   Constantino           Rito         America, Inc., et al.                                Southern District of Texas            10-4220             No
 256    No Stamp   Conway Jr.            Larry        Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana         10-CV-1472          No
 257    No Stamp   Conway Sr.            Larry        Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana         10-CV-1472          No
 258    No Stamp   Conway Sr.            Roscoe       Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana         10-CV-1472          No
 259    34517999   Cook                  Charles      Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana         10-2989             No
 260    34803960   Cook                  Charles      Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana         10-2989             No

 261    35133349   Cooley                James        James Cooley v. BP, PLC; et al.                      Southern District of Mississippi      1:10cv391HSO-JMR    No
 262    34517999   Cooley                Mark         Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana         10-2989             No
 263    34803960   Cooley                Mark         Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana         10-2989             No
 264    34484341   Cooper                Lynn         Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.    Northern District of Florida          10-193              No

                   Copeland's of New                  Copeland's of New Orleans, Inc.; Cheesecake
 265    34474635   Orleans, Inc.                      Bistro, LLC; and Sweet Fire & Ice, LLC v. BP, PLC Eastern District of Louisiana            10-1926             No

                   Copeland's of New                  Copeland's of New Orleans, Inc.; Cheesecake
 266    34493900   Orleans, Inc.                      Bistro, LLC; and Sweet Fire & Ice, LLC v. BP, PLC Eastern District of Louisiana            10-1926             No
 267    No Stamp   Coratella             Vincent      Vincent Coratella, et al v. BP, PLC, et al        Middle District of Florida               2:10-CV-03083       No
                                                      Jack Arias, et al. v. BP Company North America,
 268    No Stamp   Corliss               Roger        Inc., et al.                                      Southern District of Texas               10-4224             No
                                                      Felix C. Aguilar, et al. v. BP Company North
 269    No Stamp   Coronado              Francisco    America, Inc., et al.                             Southern District of Texas               10-4220             No
                                                      Felix C. Aguilar, et al. vs. BP Company North
 270    No Stamp   Cortex                 Alan        America, et al.                                   Southern District of Texas               10-4220             No
 271    34517999   Cortez                 Kelly       Christopher R. Schorr, et al v. BP, PLC et al     Eastern District of Louisiana            10-2989             No
 272    34803960   Cortez                 Kelly       Christopher R. Schorr, et al v. BP, PLC et al     Eastern District of Louisiana            10-2989             No
 273    34517999   Cortez                 Miguel      Christopher R. Schorr, et al v. BP, PLC et al     Eastern District of Louisiana            10-2989             No
 274    34803960   Cortez                 Miguel      Christopher R. Schorr, et al v. BP, PLC et al     Eastern District of Louisiana            10-2989             No
                   Cotton Exchange Hotel,
 275    34475070   LLC                                Decatur Hotels, LLC, et al vs. BP, PLC, et al        Eastern District of Louisiana         10-1767             No
                   Cotton Exchange Hotel,
 276    34494009   LLC                                Decatur Hotels, LLC, et al vs. BP, PLC, et al         Eastern District of Louisiana        10-1767             No
                                                      Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 277    34491243   Country, Inc.                      et al.                                                Southern District of Alabama         10-CV-02643         No
 278    No Stamp   Cox Jr.               Melvin       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana        10-CV-1752          No
 279    34481026   Craighead             Michael      Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.     Northern District of Florida         10-193              No
 280    34481107   Craighead             Pamela       Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.     Northern District of Florida         10-193              No

                                                                                                           US District Court for the Northern    3:01-CV-00158-RV-
 281    34493902   Creech                Dacien       Dacien Thane Creech v. Transocean, Ltd., et al.      District of Florida, Pensacola Div.   EMT                 No
                                                                                                           US District Court for the No. Dist.   3:01-CV-00158-RV-
 282    No Stamp   Creech                Dacien       Dacien Thane Creech v. Transocean, Ltd., et al.      of Florida, Pensacola Div.            EMT                 No
 283    No Stamp   Crenshaw              David        Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana         10-CV-1472          No
 284    34495660   Crenshaw              John         John Crenshaw v. BP, PLC, et al.                     Southern District of Alabama          10-3255             No
                                                      Martin R. Cressey d/b/a Bohica Fishing Charters v.
 285    No Stamp   Cressey               Marlin       BP PLC, et al.                                     Eastern District of Louisiana           10-1721             No
 286    34494468   Cressionie Jr         Billy                                                           XXXXX                                                       No
 287    No Stamp   Crockett              Alfred       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana           10-CV-1472          No
                                                      Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 288    No Stamp   Crumpton              Raymond      Company North America, Inc., et al.                Southern District of Texas              10-4225             No

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                                                        Felix C. Aguilar, et al. vs. BP Company North
 289    No Stamp   Cuevas                  Angel        America, et al.                                  Southern District of Texas           10-4220            No
                                                        Felix C. Aguilar, et al. vs. BP Company North
 290    No Stamp   Cuevas                  Edward       America, et al.                                  Southern District of Texas           10-4220            No
 291    34489834   Cummins                 Harold       Joseph A. Kunstler, et al BP, P.L.C., et al.     Eastern District of Louisiana        2010-01345         No
 292    No Stamp   D&T Marine, Inc.                     Le, et al. v. BP, PLC, et al.                    Eastern District of Louisiana        10-CV-2114         No
 293    No Stamp   Dahlen                  Richard      Fruge, et al. v. BP, PLC, et al.                 Eastern District of Louisiana        10-CV-1752         No
 294    No Stamp   Dameron                 Carl         Mitchell, et al. v. BP, PLC, et al.              Eastern District of Louisiana        10-CV-1472         No
 295    No Stamp   Dameron                 Jeffrey      Mitchell, et al. v. BP, PLC, et al.              Eastern District of Louisiana        10-CV-1472         No
 296    No Stamp   Dameron                 Michael      Mitchell, et al. v. BP, PLC, et al.              Eastern District of Louisiana        10-CV-1472         No
 297    No Stamp   Dang                    He           Le, et al. v. BP, PLC, et al.                    Eastern District of Louisiana        10-CV-2114         No
 298    No Stamp   Dang                    Xuan         Le, et al. v. BP, PLC, et al.                    Eastern District of Louisiana        10-CV-2114         No
                                                        Daniels v. BP, PLC, et al., 1:10-CV-181-HSO-JMR,
 299    34470605   Daniels                 Ronnie       S.D. Miss., Southern Div.                        Southern District of Mississippi     10-2679            No
 300    No Stamp   Davis                   Aaron        Mitchell, et al. v. BP, PLC, et al.              Eastern District of Louisiana        10-CV-1472         No

 301    No Stamp   Davis                   Beverly      Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana    10-1245            No
 302    No Stamp   Davis                   Duane        Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472         No

 303    No Stamp   Davis                   Everett      Darleen Jacobs Levy vs. Transocean, LTD, et al        Eastern District of Louisiana   10-1245             No
 304    No Stamp   Davis                   Joseph       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752          No
 305    No Stamp   Davis                   Nathan       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752          No
                                                        Susan Davis, et al. Ind & as Proposed Class Rep                                       4:10-CV-10055-King-
 306    34461067   Davis                   Susan        vs. BP P.L.C., et al.                                 Southern District of Florida    Bandstra            No
 307    No Stamp   Davis                   William      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472          No
 308    No Stamp   Davis Jr.               Charles      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472          No
 309    No Stamp   Day                     Charles      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472          No
                                                        Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 310    No Stamp   Day                     Worth        Company North America, Inc., et al.                   Southern District of Texas      10-4225            No
                                                        Felix C. Aguilar, et al. vs. BP Company North
 311    No Stamp   De la Garza             Jose         America, et al.                                       Southern District of Texas      10-4220            No
 312    34476655   De La Piedra            Cheribeth    Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.     Northern District of Florida    10-193             No
 313    34476179   De La Piedra            Enrique      Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.     Northern District of Florida    10-193             No
                                                        Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 314    No Stamp   Debrow                  John         Company North America, Inc., et al.                   Southern District of Texas      10-4225            No
 315    34475070   Decatur Hotels, LLC                  Decatur Hotels, LLC, et al vs. BP, PLC, et al         Eastern District of Louisiana   10-1767            No
 316    34494009   Decatur Hotels, LLC                  Decatur Hotels, LLC, et al vs. BP, PLC, et al         Eastern District of Louisiana   10-1767            No
                                                        Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 317    34491243   Deep Sea Foods, Inc.                 et al.                                                Southern District of Alabama    10-CV-2643         No
 318    34767157   Defenders of Wildlife                Defenders of Wildlife, et al. v. BP, p.l.c., et al.   Eastern District of Louisiana   2:10-CV-03879      No

 319    No Stamp   Deffes                  Carrie       Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana    10-1245            No

 320    No Stamp   Deffes                  Patrick      Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana    10-1245            No

 321    No Stamp   Deffes                  Veronica     Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana    10-1245            No
 322    No Stamp   Demouey                 Thomas       Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472         No
 323    No Stamp   Denmark                 Steve        David Meyer, et al.                                  Southern District of Alabama     2:10CV02650        No
 324    34517999   Depritto                Lucia        Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana    10-2989            No
 325    34803960   Depritto                Lucia        Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana    10-2989            No
 326    34450953   Derouen                 Kelly        Derouen, et al v. BP PLC, et al                      Eastern District of Louisiana    10-01573           No

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 327    34506755   Derouen                     Kelly      Derouen, et al v. BP PLC, et al                      Eastern District of Louisiana      10-01573        No
 328    34450953   Derouen                     Uwell      Derouen, et al v. BP PLC, et al                      Eastern District of Louisiana      10-01573        No
 329    34506755   Derouen                     Uwell      Derouen, et al v. BP PLC, et al                      Eastern District of Louisiana      10-01573        No
 330    No Stamp   DeShields                   Brandon    Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472      No
                   Destin Fishing Fleet,
 331    34481385   Inc.                                   Destin Fishing Fleet, Inc, et al v. BP, PLC, et al   Northern District of Florida       10-3088         No
                   Destin Fishing Fleet,
 332    34481906   Inc.                                   Destin Fishing Fleet, Inc, et al v. BP, PLC, et al  Northern District of Florida        10-3088         No
                                                          Deupree Outdoor Guide Services, Inc., et al. v. BP,
 333    No Stamp   Deupree                     Edward     PLC, et al.                                         Southern District of Alabama        10-3247         No
 334    34488824   Dexter                      Roderick   Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama        2:10-CV-03253   No
 335    34488824   Dexter                      William    Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama        2:10-CV-03253   No
 336    No Stamp   Dias                        Vincent    Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472      No
                                                          Felix C. Aguilar, et al. vs. BP Company North
 337    No Stamp   Diaz Vargas                 Antonio    America, et al.                                     Southern District of Texas          10-4220         No
 338    No Stamp   Diggs                       Kelvin     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472      No
 339    No Stamp   Diggs                       Patrick    Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472      No
 340    34491461   Dinet                       Nicholas   Nicholas Dinet v. BP, PLC, et al                    Eastern District of Louisiana       2:10-CV-01615   No

                   District Attorney for the
                   Parish of St. Bernard
                   State of Louisiana by &
                   through, Honorable                     State of Louisiana v. BP Exploration & Production, District Court for Parish of St.
 341    34490995   John F. Rowley                         Inc. et al.                                        Bernard, Louisiana                   10-2087         No

                   District Attorney for the
                   Parish of St. Bernard
                   State of Louisiana. by &
                   through, Honorable                     State of Louisiana v. BP Exploration & Production,   District Court for Parish of St.
 342    34490995   John F. Rowley                         Inc. et al.                                          Bernard, Louisiana                 10-2087         No
 343    34492554   Divine                    Jack         Divine Fish House, Inc., et al. v. BP, PLC, et al.   SC-Charleston 10-1461              10-3276         No
 344    34492554   Divine                    Jack         Divine Fish House, Inc., et al. v. BP, PLC, et al.   SC-Charleston 10-1461              10-3276         No
 345    34492554   Divine                    Jack         Divine Fish House, Inc., et al. v. BP, PLC, et al.   SC-Charleston 10-1461              10-3276         No
 346    34492554   Divine                    Jack         Divine Fish House, Inc., et al. v. BP, PLC, et al.   SC-Charleston 10-1461              10-3276         No
 347    34492554   Divine                    Jack         Divine Fish House, Inc., et al. v. BP, PLC, et al.   SC-Charleston 10-1461              10-3276         No
 348    No Stamp   Dixon                     George       Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472      No
 349    34517999   Dixon                     Marie        Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989         No
 350    34803960   Dixon                     Marie        Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989         No
 351    34517999   Dixon                     Stephen      Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989         No
 352    34803960   Dixon                     Stephen      Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989         No
 353    No Stamp   Do                        Mai          Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana      10-CV-2114      No
 354    No Stamp   Do                        Toan         Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana      10-CV-2114      No
 355    No Stamp   Doby                      Robert       Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1752      No
 356    No Stamp   Doggett Sr.               Darrlyl      Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472      No
                                                          Juan Esquivel, et al. v. BP Company North
 357    No Stamp   Dominguez                   Lenardo    America, Inc., et al.                                Southern District of Texas         10-4214         No
 358    34494468   Dominique                   Kurt                                                            XXXXX                                              No
                   Domino Seafood,
 359    No Stamp   Corporation                            Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana      10-CV-2114      No
 360    34478457   Donnell                     John       Donnell v. Transocean, LTD et al                     Southern District of Florida       2:10CV02982     No
 361    34479483   Donoghue                    Patricia   Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.    Northern District of Florida       10-193          No

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                                                                                                                                           2:10-CV-01986-CJB-
 362    34487366   Donohue      Holly         Robin v. Seacor Marine LLC, 2:10-CV-01986              Eastern District of Louisiana         SS                 No
                                                                                                                                           2:10-CV-01986-CJB-
 363    34487977   Donohue      Sidney        Robin v. Seacor Marine LLC, 2:10-CV-01986              Eastern District of Louisiana         SS                 No

                                                                                                   US District Court for the Northern      3:01-CV-00136-MCR-
 364    34493902   Douglass     Annette       Charles Douglass, et al. v. Transocean, Ltd., et al. District of Florida, Pensacola Div.     MD                 No

                                                                                                     US District Court for the Northern    3:01-CV-00136-MCR-
 365    34493902   Douglass     Charles       Charles Douglass, et al. v. Transocean, Ltd., et al.   District of Florida, Pensacola Div.   MD                 No
 366    34494301   Doukas       John          Thigpen, et al v. BP, PLC, et al                       Eastern District of Louisiana         10-3273            No
 367    No Stamp   Doung        My            Le, et al. v. BP, PLC, et al.                          Eastern District of Louisiana         10-CV-2114         No
 368    No Stamp   Doxey        Barrett       Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana         10-CV-1752         No
 369    No Stamp   Doxey        Ruben         Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana         10-CV-1752         No
 370    No Stamp   Doxey        William       Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana         10-CV-1752         No
                                                                                                                                           MDL Docket No:
 371    34490828   Doyle        Robert        2:10-CV-03092                                          Northern District of Florida          2179               No
 372    34739938   Drawdy       Jessica       Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 373    34740196   Drawdy       Jessica       Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 374    No Stamp   Drawdy       Jessica       Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 375    No Stamp   Drawdy       Jessica       Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 376    34740043   Drawdy       Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 377    34741614   Drawdy       Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 378    34741854   Drawdy       Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 379    34741937   Drawdy       Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 380    No Stamp   Drawdy       Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 381    No Stamp   Drawdy       Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 382    No Stamp   Drawdy       Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 383    No Stamp   Drawdy       Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 384    No Stamp   Drawdy       Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.       Eastern District of Louisiana         10-2660            No
 385    34741187   Drawdy       Terry         Terry Drawdy, et al. v. Transocean, Ltd., et al.       EDLA                                  10-2660            No
 386    No Stamp   Druilhet     Gerald        Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana         10-CV-1752         No
 387    No Stamp   Druilhet     Marlon        Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana         10-CV-1752         No
 388    No Stamp   Druilhet     William       Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana         10-CV-1472         No
 389    No Stamp   DuBose       Gillis        Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana         10-CV-1472         No
 390    34482625   Duet         Deanna        Raymond Duet, et al. v. BP, Plc, et al                 USDC, Eastern District                2:10-CV-01519      No
 391    34482625   Duet         Raymond       Raymond Duet, et al. v. BP, Plc, et al                 USDC, Eastern District                2:10-CV-01519      No
 392    34485748   Dugas        Eugene        Eugene B. Dugas v. BP, Plc, et al                      US District Court Eastern Disc        10-1322            No
 393    34488824   Dumas        Mary          Sarah H. Moore, et al. v. BP, PLC, et al.              Southern District of Alabama          2:10-CV-03253      No
 394    34488824   Dumas        William       Sarah H. Moore, et al. v. BP, PLC, et al.              Southern District of Alabama          2:10-CV-03253      No
 395    No Stamp   Duncan       Kentri        Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana         10-CV-1472         No
 396    No Stamp   Duncan       Marcellius    Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana         10-CV-1752         No
 397    No Stamp   Dunigan      Jerry         Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana         10-CV-1472         No
 398    No Stamp   Duong        Dong          Le, et al. v. BP, PLC, et al.                          Eastern District of Louisiana         10-CV-2114         No
 399    No Stamp   Durke        Coy           Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana         10-CV-1472         No
 400    No Stamp   Edwards      Donnie        Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana         10-CV-1472         No
                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 401    No Stamp   Eggert       Anthony       Company North America, Inc., et al.                    Southern District of Texas            10-4225           No
                                              Cause No. CV63537; Christopher Eldridge v. BP
                                              PLC, Offshore Inland Marine & Oilfield Services,       County Court of Galveston
 402    34487961   Eldridge     Christopher   Inc., et al.                                           County, Texas                                           No

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 403    No Stamp        Eldridge               Jamario        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472        No

                                                              Gulf Shores West Beach Investments, LLC et al v
 404    34481394        Elkins                 Terry          Transocean Holdings, Inc. et al (See Attached)  Southern District of Alabama       10-CV-213         No

                                                              Gulf Shores West Beach Investments, LLC et al v
 405    No Stamp        Elkins                 Terry;Janice   Transocean Holdings, Inc. et al (See Attached)  Southern District of Alabama       10-CV-213         No

                                                              Gulf Shores West Beach Investments, LLC et al v
 406    No Stamp        Elkins                 Terry;Janice   Transocean Holdings, Inc. et al (See Attached)  Southern District of Alabama       10-CV-213         No

                                                              Gulf Shores West Beach Investments, LLC et al v
 407    No Stamp        Elkins as Trustees     Terry;Janice   Transocean Holdings, Inc. et al (See Attached)     Southern District of Alabama    10-CV-213         No
                                                              Felix C. Aguilar, et al. vs. BP Company North
 408    No Stamp        Ellzey                 Kenneth        America, et al.                                    Southern District of Texas      10-4220           No
                                                              Felix C. Aguilar, et al. vs. BP Company North
 409    No Stamp        Encarnation            Guajardo       America, et al.                                    Southern District of Texas      10-4220           No
                                                              Juan Esquivel, et al. v. BP Company North
 410    No Stamp        Escobedo               Gilberto       America, Inc., et al.                              Southern District of Texas      10-4214           No
                                                              Juan Esquivel, et al. v. BP Company North
 411    No Stamp        Escobedo               Gilberto       America, Inc., et al.                              Southern District of Texas      10-4214           No
                                                              Juan Esquivel, et al. v. BP Company North
 412    No Stamp        Escobedo               Roberto        America, Inc., et al.                              Southern District of Texas      10-4214           No
                                                              Felix C. Aguilar, et al. vs. BP Company North
 413    No Stamp        Escodedo               Benito         America, et al.                                    Southern District of Texas      10-4220           No
                                                              Juan Esquivel, et al. vs. BP Company North
 414    No Stamp        Esquivel               Juan           America, Inc., et al.                              Southern District of Texas      10-4214           No
                                                              Felix C. Aguilar, et al. vs. BP Company North
 415    No Stamp        Estaban                Raciel         America, et al.                                    Southern District of Texas      10-4220           No
 416    34489684        Estaves                Amanda         Robin v. SEACOR Marine                             Eastern District of Louisiana   2:10-CV-01156     No
        34471386;344714
 417    02              Estaves                Christina      Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156      No
 418    34448723        Estaves                David          Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156      No
 419    34472043        Estaves                Donna          Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156      No
 420    34470728        Estaves                Janet          Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156      No
 421    34472850        Estaves                Rickey         Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156      No
        34484946;344851                                       Robin, et al. Seacor Marine LLC, et al. 2:10-cv-                                   2:10-CV-01986-CJB-
 422    95              Eugene                 Leferve        01986-CJB-SS                                       Eastern District of Louisiana   SS                 No
 423    No Stamp        Evans                  Charles        Charles Evans v. BP, PLC, et al.                   Northern District of Florida    10-3094            No
                                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 424    No Stamp        Evans                  Jarrett        Company North America, Inc., et al.                Southern District of Texas      10-4225           No
 425    No Stamp        Evans Sr.              James          Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472        No
 426    34477581        Ezell                  Johnnie        Ezell v. BP PLC, et al.                            Eastern District of Louisiana   10-1920           No
 427    No Stamp        Fain Jr.               Joe            Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472        No
 428    No Stamp        Fairley                John           Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana   10-CV-1472        No
                        Faith Haven-Ft. Morgan
 429    34498422        on the Gulf                           Hopkins, et al. v. Transocean, Ltd., et al.        Southern District of Alabama                      No
                                                              John Faris & John Faris Properties, LLC, II v. BP,
 430    34485987        Faris                  John           PLC, et al                                         Eastern District of Tennessee   2:10-CV-02998      No
                                                              Joe Patti Seafood Company vs. Transocean, LTD,                                     3:10-CV-00137-MCR-
 431    34491217        Faught                 Carlos         et al                                              Northern District of Florida    MD                 No

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                                         Case 2:10-md-02179-CJB-DPC Document 1440-14 Filed 02/28/11 Page 15 of 89

 432    No Stamp   Fauntleroy                 Frankie     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana         10-CV-1472        No
 433    No Stamp   Fauntleroy                 Terry       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana         10-CV-1472        No
                                                          East Shore Land Development LLC v. BP, PLC, et
 434    34492205   Felker                     Alan        al                                                  Middle District of Florida            2:10-CV-03078     No
 435    No Stamp   Felton                     Swannie     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana         10-CV-1472        No
                                                          James Ferguson et al. v. BP, PLC et al. 1:10-cv-
 436    34478553   Ferguson                   Constance   00281                                               Southern District of Alabama          2:10-CV-03251     No
                                                          James Ferguson et al. v. BP, PLC et al. 1:10-cv-
 437    34478283   Ferguson                   James       00281                                               Southern District of Alabama          2:10-CV-03251     No
                                                          Alpasito, Inc., et al. v. BP Company North America,
 438    No Stamp   Fernandez                  Ismael      Inc., et al.                                        Southern District of Texas            10-4216           No
 439    34488824   Fillippe                   Kathryn     Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama          2:10-CV-03253     No
                   First Light Enterprises,
 440    34481385   Inc.                                   Destin Fishing Fleet, Inc, et al v. BP, PLC, et al   Northern District of Florida         10-3088           No
                   First Light Enterprises,
 441    34481906   Inc.                                   Destin Fishing Fleet, Inc, et al v. BP, PLC, et al   Northern District of Florida         10-3088           No

 442    34491243   Fish Trap Charters                     Fish Trap Charters, LLC et al. v. Transocean, et al Southern District of Alabama          10-CV-02644       No

                                                                                                               US District Court for the Southern
 443    34493902   Fishburn                   Ronald      Fishburn, et al. v. BP PLC, Ltd., et al.             District of Alabama, Mobile Div.   1:10-248            No

                                                                                                               US District Court for the Southern
 444    34493902   Fishburn                   Wanda       Fishburn, et al. v. BP PLC, Ltd., et al.             District of Alabama, Mobile Div.     1:10-248          No
 445    No Stamp   Fisher                     Herbert     Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana        10-CV-1752        No
                                                          James E. Fisher and Kate C. Fisher v. BP, PLC.,      Circuit Court of Baldwin County,
 446    34482632   Fisher                     James       et al, CV-2010-901237                                Alabama                              10-4187           No
 447    No Stamp   Fisher                     Joseph      Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana        10-CV-1472        No
                                                          James E. Fisher and Kate C. Fisher v. BP, PLC.,      Circuit Court of Baldwin County,
 448    34482632   Fisher                     Kate        et al, CV-2010-901237                                Alabama                              10-4187           No
 449    No Stamp   Fletcher                   Cortlan     Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana        10-CV-1472        No
                                                          Felix C. Aguilar, et al. vs. BP Company North
 450    No Stamp   Flores                     Armando     America, et al.                                      Southern District of Texas           10-4220           No
                                                          Felix C. Aguilar, et al. vs. BP Company North
 451    No Stamp   Flores                     Elidio      America, et al.                                      Southern District of Texas           10-4220           No

 452    No Stamp   Flot                       Tonja       Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana        10-1245            No
                                                          Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                        2:10-CV-03116-CJB-
 453    34483866   Floyd                      Bret        PLC, et al                                           Eastern District of Louisiana        SS                 No
                                                          Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                        2:10-CV-03116-CJB-
 454    34484152   Floyd                      Bret        PLC, et al                                           Eastern District of Louisiana        SS                 No
                                                          Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                        2:10-CV-03116-CJB-
 455    34489272   Floyd                      Bret        PLC, et al                                           Eastern District of Louisiana        SS                 No
                                                          Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                        2:10-CV-03116-CJB-
 456    34489272   Floyd                      Bret        PLC, et al                                           Eastern District of Louisiana        SS                 No
                                                          Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                        2:10-CV-03116-CJB-
 457    34489272   Floyd                      Bret        PLC, et al                                           Eastern District of Louisiana        SS                 No
                                                          Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                        2:10-CV-03116-CJB-
 458    34489272   Floyd                      Bret        PLC, et al                                           Eastern District of Louisiana        SS                 No
                                                          Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                        2:10-CV-03116-CJB-
 459    34489475   Floyd                      Bret        PLC, et al                                           Eastern District of Louisiana        SS                 No

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 460    34482939   Floyd                    Jeff         Gulf Crown Seafood, Inc., v. BP, Plc, et al      Eastern District of Louisiana          2:10-1344           No
 461    No Stamp   Folts                    Steven       Mitchell, et al. v. BP, PLC, et al.              Eastern District of Louisiana          10-CV-1472          No
 462    No Stamp   Fontenot                 Keith        Mitchell, et al. v. BP, PLC, et al.              Eastern District of Louisiana          10-CV-1472          No
                                                         Alan F. Ford, Ind & as Proposed Class Rep vs. BP                                        1:10-CV-00292-CG-
 463    34459994   Ford                     Alan         P.L.C., et al.                                   Southern District of Alabama           C                   No
 464    No Stamp   Foreman                  Jerrian      Mitchell, et al. v. BP, PLC, et al.              Eastern District of Louisiana          10-CV-1472          No
                                                         Jack Arias, et al. v. BP Company North America,
 465    No Stamp   Forster                  Arlene       Inc., et al.                                     Southern District of Texas             10-4224             No
                   Fort Morgan Sales,
                   Rentals &                             Fort Morgan Sales, Rentals & Development, Inc.,
 466    34491243   Development, Inc.                     et al. v. Transocean Holdings, Inc., et al.          Southern District of Alabama       10-CV-02645         No
 467    No Stamp   Foster                   Adolphus     Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 468    No Stamp   Fountain                 Troy         Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 469    No Stamp   Fowlkes                  Larry        Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
                                                         C.A. No. 2010-25245; Tracy Kleppinger vs.
                                                         Transocean Offshore Deepwater Drilling, Inc., et
                                                         al, In the 235th Judicial District Court of Harris   District Court of Harris County,   2:10-CV-02771 CJB-
 470    34490225   Francis                  Bill         County, Texas                                        Texas                              SS                 No
 471    No Stamp   Francis                  Jerald       Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472         No
 472    34498422   Fran's on Fifty Nine                  Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                          No
 473    No Stamp   Frederick                Charlie      Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1752         No
 474    34470545   Freire                   Carolyn      Robin v. Seacor Marine                               Eastern District of Louisiana      2:10-CV-01156      No
 475    34517999   French                   Brooke       Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989            No
 476    34803960   French                   Brooke       Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989            No
                                                         ROBIN, et al. Seacor Marine LLC, et al. 2:10-cv-                                        2:10-CV-01986-CJB-
 477    34483206   Frilot                   Larry        01986-CJB-SS                                         Eastern District of Louisiana      SS                 No
                                                         James J. Frischhertz, et al. v. Halliburton Energy
 478    34490275   Frischhertz              James        Services, Inc., et al.                               Eastern District of Louisiana      10-1908             No
 479    No Stamp   Fruge                    John         Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1752          No
                                                         Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 480    No Stamp   Frye                     Micheal      Company North America, Inc., et al.                  Southern District of Texas         10-4225             No
                                                         Felix C. Aguilar, et al. vs. BP Company North
 481    No Stamp   Fuentes                  Raul         America, et al.                                      Southern District of Texas         10-4220             No
 482    No Stamp   Gage                     Brad         Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 483    No Stamp   Gaines, Jr.              Edward       Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 484    34517999   Galanti                  Ronald       Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989             No
 485    34803960   Galanti                  Ronald       Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989             No
 486    34491656   Galaris                  James        James Galaris, et al v. BP, PLC, et al               Middle District of Florida         2:10-CV-03081       No
 487    34517999   Gall                     Lee          Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989             No
 488    34803960   Gall                     Lee          Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989             No
 489    No Stamp   Gallagher                Kevin        Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
                                                         Felix C. Aguilar, et al. vs. BP Company North
 490    No Stamp   Gallardo                 Benito       America, et al.                                      Southern District of Texas         10-4220             No
                                                         Felix C. Aguilar, et al. vs. BP Company North
 491    No Stamp   Gallardo                 Manuel       America, et al.                                      Southern District of Texas         10-4220             No

 492    No Stamp   Galliano                 Joseph       Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana      10-1245             No

 493    No Stamp   Galliano                 Linda        Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana      10-1245             No
 494    34481554   Gallo                    Corliss      Gallo, et al. v. BP, PLC, et al                      Eastern District of Louisiana      2:10-CV-02795       No


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 495    No Stamp   Gallordo      Wilfred      Darleen Jacobs Levy vs. Transocean, LTD, et al      Eastern District of Louisiana    10-1245           No
 496    34445563   Gams          Robert       Marine Horizons, Inc. et. al v. BP, PLC et. al      Southern District of Alabama     02657             No
 497    34445987   Gams          Robert       Marine Horizons, Inc. et. al v. BP, PLC et. al      Southern District of Alabama     02657             No
                                              Felix C. Aguilar, et al. vs. BP Company North
 498    No Stamp   Garcia        Adan         America, et al                                      Southern District of Texas       10-4220           No
                                              Felix C. Aguilar, et al. vs. BP Company North
 499    No Stamp   Garcia        Eddie        America, et al                                      Southern District of Texas       10-4220           No
                                              Felix C. Aguilar, et al. vs. BP Company North
 500    No Stamp   Garcia        Felix        America, et al                                      Southern District of Texas       10-4220           No
 501    No Stamp   Garcia        Harold       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana    10-CV-1472        No
                                              Alpasito, Inc., et al. v. BP Company North America,
 502    No Stamp   Garcia        Raul         Inc.                                                Southern District of Texas       10-4216           No
                                              Alpasito, Inc., et al. v. BP Company North America,
 503    No Stamp   Garcia        Raul         Inc., et al.                                        Southern District of Texas       10-4216           No
                                              Alpasito, Inc., et al. v. BP Company North America,
 504    No Stamp   Garcia        Raul         Inc., et al.                                        Southern District of Texas       10-4216           No
                                              Alpasito, Inc., et al. v. BP Company North America,
 505    No Stamp   Garcia        Raul         Inc., et al.                                        Southern District of Texas       10-4216           No
                                              Alpasito, Inc., et al. v. BP Company North America,
 506    No Stamp   Garcia        Raul         Inc., et al.                                        Southern District of Texas       10-4216           No
                                              Alpasito, Inc., et al. v. BP Company North America,
 507    No Stamp   Garcia        Raul         Inc., et al.                                        Southern District of Texas       10-4216           No
                                              Alpasito, Inc., et al. v. BP Company North America,
 508    No Stamp   Garcia        Raul         Inc., et al.                                        Southern District of Texas       10-4216           No
                                              Felix C. Aguilar, et al. vs. BP Company North
 509    No Stamp   Garcia        Victor       America, et al                                      Southern District of Texas       10-4220           No
                                                                                                                                   MDL Docket No:
 510    34490828   Gard          Karrie       2:10-CV-03092                                       Northern District of Florida     2179              No
 511    34493710   Garner        Tom          Tom Garner v. BP, PLC, et al                        Eastern District of Louisiana    10-01482          No
 512    34493857   Garner        Tom          Tom Garner v. BP, PLC, et al                        Eastern District of Louisiana    10-01482          No
                                              Juan Esquivel, et al. v. BP Company North
 513    No Stamp   Garnica       Luis         America, Inc., et al.                               Southern District of Texas       10-4214           No
 514    34481243   Garrett       Teresa       Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.   Northern District of Florida     10-193            No
                                              Felix C. Aguilar, et al. vs. BP Company North
 515    No Stamp   Garza         Gilberto     America, et al                                      Southern District of Texas       10-4220           No
                                              Juan Esquivel, et al. v. BP Company North
 516    No Stamp   Gasca         Jose         America, Inc., et al.                               Southern District of Texas       10-4214            No
 517    34485748   Gaskins       Matthew      Matthew Gaskins v. BP, Plc, et al                   US District Court Western Disc   2:20-CV-00738      No
 518    No Stamp   Gathers       Harold       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana    10-CV-1472         No
 519    34493923   Gautreaux     Laura        Gautreaux, et al v. BP, PLC, et al                  Eastern District of Louisiana    10-2764            No
                                                                                                                                   3:10-CV-00045-LGW-
 520    34472026   Gay           Joe          See Attached                                        Southern District of Georgia     WLB                No
                                                                                                                                   MDL Docket No:
 521    34490828   Gelabert      Manuel       2:10-CV-03092                                       Northern District of Florida     2179               No
 522    No Stamp   George        Brandon      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana    10-CV-1472         No
                                              Felix C. Aguilar, et al. vs. BP Company North
 523    No Stamp   German        Mendoza      America, et al                                      Southern District of Texas       10-4220           No
                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 524    No Stamp   Gibbs         Michele      Company North America, Inc., et al.                 Southern District of Texas       10-4225           No
 525    No Stamp   Gibbs         William      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana    10-CV-1472        No

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                                                   Troy Wetzel, Extreme Fishing, et al vs.                                           2:10-CV-01222-CJB-
 526    34422304   Gibson          Richard         Transocean, BP, L.L.C., et al                     Eastern District of Louisiana   ALC                No
 527    No Stamp   Gilliam         Brandon         Mitchell, et al. v. BP, PLC, et al.               Eastern District of Louisiana   10-CV-1472         No
 528    No Stamp   Gillyard        Darion          Mitchell, et al. v. BP, PLC, et al.               Eastern District of Louisiana   10-CV-1472         No
 529    No Stamp   Gillyard        Dominique       Mitchell, et al. v. BP, PLC, et al.               Eastern District of Louisiana   10-CV-1472         No
 530    34490693   Gionis          Athanasios      Athanasios Gionis, et al v. BP, PLC, et al        Middle District of Florida      2:10-CV-03080      No
 531    34492776   Gionis          Evdokia         Athanasios Gionis, et al v. BP, PLC, et al        Middle District of Florida      2:10-CV-03080      No
 532    No Stamp   Godette         James           Mitchell, et al. v. BP, PLC, et al.               Eastern District of Louisiana   10-CV-1472         No

                                                   Gulf Shores West Beach Investments, LLC et al v
 533    No Stamp   Goldsworthy     Susan;Richard   Transocean Holdings, Inc. et al (See Attached)   Southern District of Alabama     10-CV-213         No
                                                   Felix C. Aguilar, et al. vs. BP Company North
 534    No Stamp   Gomez           Fausto          America, et al                                   Southern District of Texas       10-4220           No
 535    34471001   Gonzales        Janice          Robin v. Seacor Marine                           Eastern District of Louisiana    2:10-CV-01156     No
 536    No Stamp   Gonzalez        Anthony                                                          XXXXX                            10-4220           No
                                                   Felix C. Aguilar, et al. vs. BP Company North
 537    No Stamp   Gonzalez        Carlos          America, et al.                                  Southern District of Texas       10-4220           No
                                                   Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 538    No Stamp   Goodman         Monroe          Company North America, Inc., et al.              Southern District of Texas       10-4225           No
                                                   Raymond Gore, et al. v. BP Company North
 539    No Stamp   Gore            Raymond         America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 540    34487414   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 541    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 542    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 543    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 544    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 545    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 546    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 547    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 548    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 549    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 550    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 551    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 552    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 553    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No
                                                   Raymond Gore, et al. v. BP Company North
 554    No Stamp   Gore            Wright          America, Inc., et al.                            Southern District of Texas                         No

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                                                          Raymond Gore, et al. v. BP Company North
 555    No Stamp   Gore                 Wright            America, Inc., et al.                                   Southern District of Texas                        No
                                                          Raymond Gore, et al. v. BP Company North
 556    No Stamp   Gore                 Wright            America, Inc., et al.                                   Southern District of Texas                        No
                                                          Raymond Gore, et al. v. BP Company North
 557    No Stamp   Gore                 Wright            America, Inc., et al.                                   Southern District of Texas                        No
                                                          Raymond Gore, et al. v. BP Company North
 558    No Stamp   Gore                 Wright            America, Inc., et al.                                   Southern District of Texas                        No
                                                          Raymond Gore, et al. v. BP Company North
 559    No Stamp   Gore                 Wright            America, Inc., et al.                                   Southern District of Texas                        No
                                                          Raymond Gore, et al. vs. BP Company North
 560    No Stamp   Gore                 Wright            America, Inc., et al.                                   Southern District of Texas                        No
 561    No Stamp   Grady Jr.            O'Dell            Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
 562    No Stamp   Green                Derrick           Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
 563    No Stamp   Green                John              Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
 564    No Stamp   Green                Larry             Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
 565    No Stamp   Greene               Patricia & John   John and Patricia Greene v. BPP. L.C et al              USDC Eastern District           10-04249          No
 566    No Stamp   Greene               Rayburn           Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
 567    No Stamp   Greene Sr.           Timothy           Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No

 568    34429480   Gregoire             William           William Gregoire, et al v. Transocean, Ltd., et al.     Eastern District of Louisiana   02:10-CV-01351    No
 569    No Stamp   Gregory              Raymond           Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752        No
 570    No Stamp   Grice                Germaine          Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752        No
 571    34517999   Griffith             Cynthia           Christopher R. Schorr, et al v. BP, PLC et al           Eastern District of Louisiana   10-2989           No
 572    34803960   Griffith             Cynthia           Christopher R. Schorr, et al v. BP, PLC et al           Eastern District of Louisiana   10-2989           No
 573    No Stamp   Grindol              Jonathan          Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752        No
                                                          Groomer Seafood, Inc. vs. BP Company North
 574    34487414   Groomer              Richard           America, Inc., et al.                                   Eastern District of Louisiana                     No
 575    No Stamp   Gruben               Kenneth           Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752        No
                                                          Felix C. Aguilar, et al. vs. BP Company North
 576    No Stamp   Guajardo             Jeffrey           America, et al.                                         Southern District of Texas      10-4220           No
                                                          Felix C. Aguilar, et al. vs. BP Company North
 577    No Stamp   Guajardo             Julio             America, et al.                                         Southern District of Texas      10-4220           No
 578    No Stamp   Guidry               Demond            Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
 579    No Stamp   Guidry               Sam               Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752        No
 580    No Stamp   Guidry Jr.           James             Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752        No
                                                          Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 581    No Stamp   Guillot              Adam              Company North America, Inc., et al.                     Southern District of Texas      10-4225           No
 582    34494468   Guillot              Jonathan                                                                  XXXXX                                             No
                                                          (2 Cases) Gulf Restoration Network, et al. v.
                   Gulf Restoration                       Salazar, et al.; Gulf Restoration Network, et al., v.                                   2:10-CV-01497-KDE-
 583    No Stamp   Network, Inc.                          U.S Dep't of the Interior, et al.                       Eastern District of Louisiana   ALC                No
                   Gulf Restoration
 584    34767157   Network, Inc.                          Defenders of Wildlife, et al. v. BP, p.l.c., et al.     Eastern District of Louisiana   2:10-CV-03879     No
                                                          Felix C. Aguilar, et al. vs. BP Company North
 585    No Stamp   Gutierez             Jose              America, et al.                                         Southern District of Texas      10-4220           No
 586    No Stamp   Gutknecht            Jeffrey           Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
 587    34517999   Guy                  David             Christopher R. Schorr, et al v. BP, PLC et al           Eastern District of Louisiana   10-2989           No
 588    34803960   Guy                  David             Christopher R. Schorr, et al v. BP, PLC et al           Eastern District of Louisiana   10-2989           No
 589    No Stamp   Guzman               Damian            Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752        No
 590    No Stamp   Guzman               Fernando          Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752        No

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 591    No Stamp   Guzman-Ramirez        Adrian       Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752        No
                                                      Felix C. Aguilar, et al. vs. BP Company North
 592    No Stamp   Hamandez              Gustavo      America, et al.                                     Southern District of Texas      10-4220           No
                                                      Felix C. Aguilar, et al. vs. BP Company North
 593    No Stamp   Hamblin               David        America, et al.                                     Southern District of Texas      10-4220           No
 594    34489481   Hannaseck             Joyce        Narcosis, Inc., Inc. v. BP, PLC, et al              Middle District of Florida      2:10-CV-03077     No
                                                      Orange Beach Marina, Inc., et al. v. Transocean
 595    34491243   Happy Harbor, LLC                  Holdings, Inc., et al.                              Southern District of Alabama    10-CV-2651        No
                                                      Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 596    No Stamp   Harden                William      Company North America, Inc., et al.                 Southern District of Texas      10-4225           No
 597    No Stamp   Harding               Emerson      Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752        No
                                                      Jack Arias, et al. v. BP Company North America,
 598    No Stamp   Harmon                Nancy        Inc., et al.                                        Southern District of Texas      10-4224           No

 599    No Stamp   Harper                Lewis        Darleen Jacobs Levy vs. Transocean, LTD, et al      Eastern District of Louisiana   10-1245           No
 600    34488824   Harrington            Harris       Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama    2:10-CV-03253     No
 601    34488824   Harrington            Hettie       Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama    2:10-CV-03253     No
                                                      Alpasito, Inc., et al. v. BP Company North America,
 602    No Stamp   Harrington            Iris         Inc., et al.                                        Southern District of Texas      10-4216            No
 603    No Stamp   Harris                Deon         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 604    No Stamp   Harris                Eric         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
                                                                                                                                          2:10-CV-02662-CJB-
 605    34495281   Harris                John         Harris v. Transocean, Ltd., et al.                  Northern District of Florida    SS                 No
 606    No Stamp   Harris                Kenneth      Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752         No
                                                                                                                                          2:10-CV-02662-CJB-
 607    34495336   Harris                Nicholas     Harris v. Transocean, Ltd., et al.                  Northern District of Florida    SS                 No
 608    34494451   Harris                Steve        Loupe, et al v. BP, PLC, et al                      Eastern District of Louisiana   10-2078            No
 609    No Stamp   Harrison              Brandon      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 610    No Stamp   Harrison              Keldrex      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 611    No Stamp   Hartzog               Ronnie       Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752         No
 612    No Stamp   Hayes                 Rickie       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
                                                                                                                                          MDL Docket No:
 613    34490828   Haynie                Mary         2:10-CV-03092                                       Northern District of Florida    2179               No
                                                                                                                                          MDL Docket No:
 614    34490828   Haynie                Terrance     2:10-CV-03092                                       Northern District of Florida    2179               No
 615    No Stamp   Haynie III            Leslie       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 616    No Stamp   Hearn                 Clifton      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
 617    No Stamp   Heathmon              Isaiah       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No
                                                      Cause No. 2010-38791; James Hebert v. BP PLC, District Court of Harris County,
 618    34487961   Hebert                Jimmy        BJ Servives Company, et al.                         Texas                                             No
 619    No Stamp   Henderson             Godwin       Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752        No
 620    34488824   Henderson             J.           Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama    2:10-CV-03253     No
 621    34488824   Henderson             S.           Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama    2:10-CV-03253     No
 622    34488824   Henderson             S.           Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama    2:10-CV-03253     No
 623    34488824   Henderson             Tim          Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama    2:10-CV-03253     No
 624    34488824   Henderson             Tommy        Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama    2:10-CV-03253     No
 625    34488824   Henderson             William      Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama    2:10-CV-03253     No
 626    No Stamp   Henry Jr.             Donald       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                                                      Alpasito, Inc., et al. v. BP Company North America,
 627    No Stamp   Hernandez             Arturo       Inc., et al.                                        Southern District of Texas      10-4216           No


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 628    No Stamp   Hernandez            Eleazar      America, Inc., et al.                               Southern District of Texas      10-4214           No
                                                     Felix C. Aguilar, et al. vs. BP Company North
 629    No Stamp   Hernandez            Jose         America, et al.                                     Southern District of Texas      10-4220           No
                                                     Juan Esquivel, et al. v. BP Company North
 630    No Stamp   Hernandez            Marcos       America, Inc., et al.                               Southern District of Texas      10-4214           No
                                                     Alpasito, Inc., et al. v. BP Company North America,
 631    No Stamp   Hernandez            Marcos       Inc., et al.                                        Southern District of Texas      10-4216           No
                                                     Alpasito, Inc., et al. v. BP Company North America,
 632    No Stamp   Hernandez            Marcos       Inc., et al.                                        Southern District of Texas      10-4216           No
                                                     Juan Esquivel, et al. v. BP Company North
 633    No Stamp   Hernandez            Ruben        America, Inc., et al.                               Southern District of Texas      10-4214            No
                                                     Robin, et al. Seacor Marine LLC, et al. 2:10-cv-                                    2:10-CV-01986-CJB-
 634    34484457   Herrera              Fanny        01986-CJB-SS                                        Eastern District of Louisiana   SS                 No
 635    No Stamp   Herrera              Jose                                                             Southern District of Texas      10-4220            No
 636    No Stamp   Herrera              Teodulo                                                          XXXXX                           10-4220            No
 637    No Stamp   Hetherington Jr.     Elliot       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472         No

 638    No Stamp   Hicks                Ronald       Darleen Jacobs Levy vs. Transocean, LTD, et al      Eastern District of Louisiana   10-1245           No
 639    No Stamp   Hill                 Kevin        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 640    34494612   Hill                 Robyn        Robyn Hill v. BP, PLC, et al.                       Southern District of Alabama    10-4193           No
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 641    No Stamp   Hinds                Scott        Company North America, Inc., et al.                 Southern District of Texas      10-4225           No
 642    34493162   Hingle               Barbara      Roland Hingle, et al. v. BP, PLC, et al.            Eastern District of Louisiana   10-2749           No
 643    34493019   Hingle               Roland       Roland Hingle, et al. v. BP, PLC, et al.            Eastern District of Louisiana   10-2749           No
 644    No Stamp   Ho                   Lac          Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114        No
 645    No Stamp   Ho                   Ret          Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114        No
 646    No Stamp   Ho                   Tommy        Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114        No
 647    No Stamp   Hoang                Nhan         Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114        No
 648    No Stamp   Hoang                Tina         Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114        No
 649    No Stamp   Hobbs                David        Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752        No
 650    34482254   Hobson               Preston      Hobson v. BP, Plc, et al                            Southern District of Alabama    10-3258           No
 651    No Stamp   Hodas                Carrie       David Meyer, et al.                                 Southern District of Alabama    2:10CV02650       No
 652    No Stamp   Hodas                Kier         David Meyer, et al.                                 Southern District of Alabama    2:10CV02650       No
 653    No Stamp   Holmes               Elijah       Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752        No
 654    No Stamp   Holton               Derek        Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752        No
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 655    No Stamp   Holtrey              George       Company North America, Inc., et al.                 Southern District of Texas      10-4225           No
                   Home Finders
 656    No Stamp   International                     Darleen Jacobs Levy vs. Transocean, LTD, et al   Eastern District of Louisiana      10-1245           No
 657    No Stamp   Hopkins              Agedruis     Mitchell, et al. v. BP, PLC, et al.              Eastern District of Louisiana      10-CV-1472        No
 658    34498422   Hopkins              Fran         Hopkins, et al. v. Transocean, Ltd., et al.      Southern District of Alabama                         No
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 659    No Stamp   Howard               Thomas       Company North America, Inc., et al.              Southern District of Texas         10-4225           No
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 660    No Stamp   Hubbard              John         Company North America, Inc., et al.              Southern District of Texas         10-4225           No
 661    34494645   Hudley               Daniel       Daniel Hudley v. BP, PLC, et. al.                Southern District of Alabama       10-4200           No
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 662    No Stamp   Hudson               Brandon      Company North America, Inc., et al.              Southern District of Texas         10-4225            No
                                                     Leonard A. Hudson, Ind. & as Proposed Class Rep                                     3:10-CV-00368-MCR-
 663    34462833   Hudson               Leonard      vs. BP P.L.C., et al.                            Northern District of Florida       EMT                No

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 664    No Stamp   Hudson                   Travis             Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1752      No
 665    No Stamp   Hudson Jr.               Roosevelt          Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472      No
                                                               Felix C. Aguilar, et al. vs. BP Company North
 666    No Stamp   Huff                     Samuel             America, et al.                                      Southern District of Texas      10-4220         No
 667    No Stamp   Hugue                    Harry              Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472      No
 668    No Stamp   Hunnings                 David              Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472      No
 669    34494468   Hunter                   Uyless                                                                  XXXXX                                           No
 670    No Stamp   Huntley                  Eric               Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472      No
                                                               Felix C. Aguilar, et al. vs. BP Company North
 671    No Stamp   Hurt                     Jerry              America, et al.                                      Southern District of Texas      10-4220         No
 672    No Stamp   Hutchins                 Kenneth            Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472      No
 673    No Stamp   Huynh                    Anh                Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-2114      No
 674    No Stamp   Huynh                    Duc                Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-2114      No
 675    No Stamp   Huynh                    Mau                Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-2114      No
 676    No Stamp   Huynh                    Ngan               Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-2114      No
 677    No Stamp   Huynh                    Tuoi               Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-2114      No
 678    No Stamp   Hyatt                    Christopher        Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1752      No
                                                               Felix C. Aguilar, et al. vs. BP Company North
 679    No Stamp   Ibanez                   Gonzalo            America, et al.                                      Southern District of Texas      10-4220         No
                   Imagine Enterprises I    Faith Haven -
 680    34498422   LLC                      Cotton Bayou       Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                    No
                   Imagine Enterprises      Faith Haven
 681    34498422   LLC                      Retreat            Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                    No
                   Imagine Enterprises
 682    34498422   LLC                                         Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                    No
                   Imagine Enterprises
 683    34498422   LLC                                         Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                    No
                   Imagine Enterprises
 684    34498422   LLC                                         Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                    No
                   Imagine Enterprises
 685    34498422   LLC                                         Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                    No
                   Imagine Enterprises
 686    34498422   LLC                                         Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                    No
 687    34483619   Impastato                Joseph             Robin v. Seacor Marine                               Eastern District of Louisiana   2:10-CV-01156   No
 688    34475070   Imperial Partners, LLC                      Decatur Hotels, LLC, et al vs. BP, PLC, et al        Eastern District of Louisiana   10-1767         No
 689    34494009   Imperial Partners, LLC                      Decatur Hotels, LLC, et al vs. BP, PLC, et al        Eastern District of Louisiana   10-1767         No
 690    34489834   Ingram                   Bay                Joseph A. Kunstler, et al BP, P.L.C., et al.         Eastern District of Louisiana   2010-01345      No
                                                               FishTrap Charters, LLC, et al. v. Transcocean
 691    34494050   Ingram                   Jon                Holdings, Inc., et al.                               Southern District of Alabama    10-CV-02644     No
                                                               Michelle West, et al. v. BP, PLC et al. (10-CV-274
 692    34475870   Irby                     Julian B;Marilyn   ND FL)                                               Northern District of Florida                    No

 693    No Stamp   Ireland                  Anthony            Anthony and Oana Ireland, et al. v. BP, PLC, et al   Northern District of Florida    10-4202         No

 694    34481526   Ireland                  Oana               Anthony and Oana Ireland, et al. v. BP, PLC, et al   Northern District of Florida    10-4202         No
 695    34435447   Irvin                    Melvin             Firehouse Restaurant LLC et al v. BP PLC et al       Eastern District of Louisiana   2:10-CV-01445   No
 696    34498422   Isbell                   Melissa            Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                    No
 697    No Stamp   Ivey                     Joseph             Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472      No
                                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 698    No Stamp   Jackson                  Gregory            Company North America, Inc., et al.                  Southern District of Texas      10-4225         No
 699    No Stamp   Jackson                  Wade               Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472      No

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 700    No Stamp             Jacobs                   Darleen      Darleen Jacobs Levy vs. Transocean, LTD, et al          Eastern District of Louisiana   10-1245            No
 701    34492554             James                    Daniel       Divine Fish House, Inc., et al. v. BP, PLC, et al       SC-Charleston 10-1461           10-3276            No
 702    No Stamp             James                    Jerry        Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752         No
                                                                   Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                      2:10-CV-03116-CJB-
 703    34488980             James                    Timothy      PLC, et al                                              Eastern District of Louisiana   SS                 No
                             James D.Q., Inc. d/b/a
 704    No Stamp             Jonathan Boy II                       Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-2114         No
                                                                   Robin, et al. Seacor Marine LLC, et al. 2:10-cv-                                        2:10-CV-01986-CJB-
 705    34484763             Janice                   Leferve      01986-CJB-SS                                            Eastern District of Louisiana   SS                 No

 706    [Illegible stamp.]   Jay                      Beverly      Darleen Jacobs Levy vs. Transocean, LTD, et al          Eastern District of Louisiana   10-1245           No

 707    No Stamp             Jay                      William      Darleen Jacobs Levy vs. Transocean, LTD, et al          Eastern District of Louisiana   10-1245           No
 708    No Stamp             Jefferson                Larry        Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752        No
                                                                   Felix C. Aguilar, et al. vs. BP Company North
 709    No Stamp             Jimenez                  Jose         America, et al.                                         Southern District of Texas      10-4220           No
 710    No Stamp             Johnnie                  Curry        Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
                             John's Seafood
 711    No Stamp             Restaurant # 2, Inc.                  Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana   10-CV-2114        No

 712    No Stamp             Johnson                  Barry        Darleen Jacobs Levy vs. Transocean, LTD, et al          Eastern District of Louisiana   10-1245           No
 713    No Stamp             Johnson                  Bernard      Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
 714    No Stamp             Johnson                  Clyde        Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
 715    No Stamp             Johnson                  Colby        Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No

 716    No Stamp             Johnson                  Cornelius    Darleen Jacobs Levy vs. Transocean, LTD, et al          Eastern District of Louisiana   10-1245           No

 717    No Stamp             Johnson                  Gilbert      Darleen Jacobs Levy vs. Transocean, LTD, et al          Eastern District of Louisiana   10-1245           No
                                                                   Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 718    No Stamp             Johnson                  James        Company North America, Inc., et al.                     Southern District of Texas      10-4225            No
                                                                   Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                      2:10-CV-03116-CJB-
 719    34488720             Johnson                  Jeremy       PLC, et al                                              Eastern District of Louisiana   SS                 No
                                                                   Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                      2:10-CV-03116-CJB-
 720    34488720             Johnson                  Jeremy       PLC, et al                                              Eastern District of Louisiana   SS                 No
                                                                   Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                      2:10-CV-03116-CJB-
 721    34488720             Johnson                  Nicholas     PLC, et al                                              Eastern District of Louisiana   SS                 No
 722    No Stamp             Johnson                  Octavius     Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472         No
 723    No Stamp             Johnwell                 Tommie       Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752         No
 724    No Stamp             Joiner                   James        Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472         No
 725    No Stamp             Jones                    Jerry        Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472         No
 726    No Stamp             Jones                    Joe          Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472         No
 727    No Stamp             Jones                    Kevin        Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752         No
 728    No Stamp             Jones                    Richard      Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472         No
 729    No Stamp             Jones                    Warren       Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752         No
 730    No Stamp             Jones Jr.                George       Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472         No

                                                                   The Cynthia Joannou Revocable Trust, by Its
                                                                   Trustee Cynthia M. Joannou Individually and on
 731    34494619             Jonnou                   Cynthia      Behalf of all others Similarly Situated v. BP et. al.   Middle District of Florida      10-3075           No


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                                                                     Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 732    34491243             Jubilee Seafood, Inc.                   et al.                                                Southern District of Alabama    10-CV-02643     No
                                                                     Burke, et al. v. BP Corporation North America, Inc.,
 733    34443208             Junghann                  Brenda        et al.                                                Southern District of Alabama                    No
                                                                     Burke, et al. v. BP Corporation North America, Inc.,
 734    34443208             Junghann                  Jorg          et al.                                                Southern District of Alabama                    No
 735    No Stamp             Junker                    Engene        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
                                                                     Felix C. Aguilar, et al. vs. BP Company North
 736    No Stamp             Justice                   Van           America, et al.                                       Southern District of Texas      10-4220         No
 737    No Stamp             Kelly                     Larry         Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 738    No Stamp             Kelly Jr.                 Wesley        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 739    34482939             Kelsch                    Christopher   CJK Fab & Consulting v. BP, Plc, et al                Eastern District of Louisiana   2:10-CV-02839   No
 740    No Stamp             Kenner                    Maurice       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 741    No Stamp             Kenner                    William       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 742    34492554             Kerner                    David         Earl Brandt, et al. v. BP, PLC, et al.                District of South Carolina      10-3275         No
                             Khamphoy
                             Senabandith, Inc.
                             (John's Seafood
 743    No Stamp             Restaurant)                             Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114      No
                                                                     Cotton Bayou Marina d/b/a Tacky Jack's
 744    No Stamp             Kichler                   Ken           Restaurant v. BP, Plc, et al                          Southern District of Alabama    10-3244         No
                                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 745    No Stamp             Kidder                    Mark          Company North America, Inc., et al.                   Southern District of Texas      10-4225         No
 746    No Stamp             Kile                      Carrol        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 747    34492554             King                      Royce         The Litchfield Co., LLC v. BP PLC, et al              District of South Carolina      10-3277         No
                                                                     Le Discount Seafood, Inc., et al. v. BP PLC, et al.
 748    34487715             Kirkland                  Morgan        5:10-cv-00106                                         Northern District of Florida    2:10-CV-03101   No

 749    [Illegible stamp.]   Kizzee                    Anthony       Darleen Jacobs Levy vs. Transocean, LTD, et al        Eastern District of Louisiana   10-1245         No

 750    No Stamp             Kizzee                    Anthony       Darleen Jacobs Levy vs. Transocean, LTD, et al        Eastern District of Louisiana   10-1245         No
 751    No Stamp             Knight                    Derrick       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 752    34517999             Koonin                    Steven        Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989         No
 753    34803960             Koonin                    Steven        Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989         No
 754    34489834             Kunstler                  Joseph        Joseph A. Kunstler, et al BP, P.L.C., et al.          Eastern District of Louisiana   2010-01345      No

 755    No Stamp             Kurka                     Mark          Darleen Jacobs Levy vs. Transocean, LTD, et al        Eastern District of Louisiana   10-1245         No

 756    No Stamp             Kurka                     Michelle      Darleen Jacobs Levy vs. Transocean, LTD, et al        Eastern District of Louisiana   10-1245         No

 757    No Stamp             L.V. Marine Corporation                 Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114      No
 758    No Stamp             Labbe                   Lorie           Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      No
                                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 759    No Stamp             Ladnier                   Scottie       Company North America, Inc., et al.                   Southern District of Texas      10-4225         No
 760    No Stamp             Lady More, LLC                          Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114      No
 761    No Stamp             Lai                       Thuy-Ha       Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114      No
 762    34804258             Lamb                      John          Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989         No
 763    34804258             Lamb                      Shirley       Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989         No

 764    No Stamp             Lambert                   Richard       Darleen Jacobs Levy vs. Transocean, LTD, et al        Eastern District of Louisiana   10-1245         No
 765    No Stamp             Lancelin                  Robert        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No

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                                                       Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                    2:10-CV-03116-CJB-
 766    34484152   Landry                   Floyd      PLC, et al                                           Eastern District of Louisiana    SS                 No
                                                       Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                    2:10-CV-03116-CJB-
 767    34489475   Landry                   Floyd      PLC, et al                                           Eastern District of Louisiana    SS                 No
 768    No Stamp   Landry                   Jerome     Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472         No
                                                       Floyd, Floyd Pearce of Beaumont. LP et al v. BP,                                      2:10-CV-03116-CJB-
 769    34483188   Lane                     Ricky      Plc, et al                                           Eastern District of Louisiana    SS                 No
 770    No Stamp   LaSalle                  Steven     Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752         No
 771    No Stamp   Latigue                  Austin     Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472         No
                                                                                                                                             2:10-CV-2654CJB-
 772    34449161   Lavigne                  Paul       Paul Lavigne, et al., v. BP, PLC, et al.            Southern District of Alabama      SS                 No
                                                       Alpasito, Inc., et al. v. BP Company North America,
 773    No Stamp   Lawler                   Dennis     Inc., et al.                                        Southern District of Texas        10-4216           No
 774    No Stamp   Laws                     Carroll    Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana     10-CV-1472        No
 775    No Stamp   Le                       Chau       Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-2114        No
 776    No Stamp   Le                       Duc        Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-2114        No
 777    No Stamp   Le                       Dung       Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-2114        No
                                                       Hao Van Le d/b/a Bluewater Seafood v. BP, PLC,
                                                       et al.; USDC ND, Panama City, Florida - 5:10-cv-
 778    34488964   Le                       Hoa Van    00124                                               USDC, Panama City, FL             10-3103           No
 779    No Stamp   Le                       John       Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-2114        No
 780    No Stamp   Le                       Luu        Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-2114        No
 781    No Stamp   Le                       Michael    Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-2114        No
 782    No Stamp   Le                       Michelle   Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-2114        No

                                                       Le Discount Seafood, Inc., et al. v. BP, PLC, et al.;
 783    34484213   Le                       Namthi     USDC ND, Panama City, Florida - 5:10-cv-00106 USDC, Panama City, FL                   10-3101           No
 784    No Stamp   Le                       Nhac       Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114        No
 785    No Stamp   Le                       Tam        Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114        No
 786    No Stamp   Le                       Thaun      Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114        No

                   Le Seafood
                   Enterprises, LLC (Mid
 787    No Stamp   City Seafood and Deli)              Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana    10-CV-2114        No
 788    No Stamp   LeBlanc                  Carlton    Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752        No
 789    No Stamp   LeBlanc                  Sha'Da     Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752        No
 790    No Stamp   LeBlanc                  Wanda      Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752        No
 791    No Stamp   LeDay                    Gregory    Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752        No
 792    No Stamp   LeDay                    Tracy      Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752        No
 793    No Stamp   Ledet                    Timothy    Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472        No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 794    No Stamp   Ledezma                  Jose       America, et al.                                      Southern District of Texas       10-4220           No
 795    No Stamp   Lee                      Altonio    Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472        No
 796    34470300   Lee                      Belinda    Robin v. Seacor Marine                               Eastern District of Louisiana    2:10-CV-01156     No
 797    No Stamp   Lee                      Donald     Worldwide Interiors, LLC v. BP, Plc, et al           Southern District of Alabama     10-4191           No
                                                       Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 798    No Stamp   Lee                      John       Company North America, Inc., et al.                  Southern District of Texas       10-4225           No
 799    34488824   Lee                      Lorraine   Sarah H. Moore, et al. v. BP, PLC, et al.            Southern District of Alabama     2:10-CV-03253     No
 800    No Stamp   Lemelle                  Mark       Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472        No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 801    No Stamp   Leon                     Miguel     America, et al.                                      Southern District of Texas       10-4220           No

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                                                        Felix C. Aguilar, et al. vs. BP Company North
 802    No Stamp   Leon                    Sonia        America, et al.                                     Southern District of Texas      10-4220         No
                                                        Felix C. Aguilar, et al. vs. BP Company North
 803    No Stamp   Leon                    Walter       America, et al.                                     Southern District of Texas      10-4220         No
 804    No Stamp   Les Chicken, Inc.                    Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
                   Les Produce & Market,
 805    No Stamp   Inc.                                 Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 806    No Stamp   Lett                    Terrance     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
 807    No Stamp   Levere                  Waverly      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
 808    No Stamp   Levine                  Adam         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
                                                        Jack Arias, et al. v. BP Company North America,
 809    No Stamp   Levinson                William      Inc., et al.                                        Southern District of Texas      10-4224         No
 810    No Stamp   Levy                    Robert       Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752      No
 811    No Stamp   Lewis                   Johnny       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
 812    No Stamp   Lewis                   Lester       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
                                                        Water Street Seafood Inc., et al. v. B.P., PLC., et
 813    34485148   Lima                    Steven       al                                                  Northern District of Florida    2:10-CV-02671   No
                                                        Water Street Seafood Inc., et al. v. B.P., PLC., et
 814    34493417   Lima                    Steven       al                                                  Northern District of Florida    2:10-CV-02671   No
                                                        Felix C. Aguilar, et al. vs. BP Company North
 815    No Stamp   Linarte                 Luis         America, et al.                                     Southern District of Texas      10-4220         No
                                                        Alpasito, Inc., et al. v. BP Company North America,
 816    No Stamp   Linwood                 Dolby        Inc., et al.                                        Southern District of Texas      10-4216         No
                                                        Alpasito, Inc., et al. v. BP Company North America,
 817    No Stamp   Linwood                 Dolby        Inc., et al.                                        Southern District of Texas      10-4216         No
                                                        Alpasito, Inc., et al. v. BP Company North America,
 818    No Stamp   Linwood                 Dolby        Inc., et al.                                        Southern District of Texas      10-4216         No
                                                        Alpasito, Inc., et al. v. BP Company North America,
 819    No Stamp   Linwood                 Dolby        Inc., et al.                                        Southern District of Texas      10-4216         No
                                                        Alpasito, Inc., et al. v. BP Company North America,
 820    No Stamp   Linwood                 Dolby        Inc., et al.                                        Southern District of Texas      10-4216         No
                                                        Alpasito, Inc., et al. v. BP Company North America,
 821    No Stamp   Linwood                 Dolby        Inc., et al.                                        Southern District of Texas      10-4216         No
                                                        Alpasito, Inc., et al. v. BP Company North America,
 822    No Stamp   Linwood                 Dolby        Inc., et al.                                        Southern District of Texas      10-4216         No
                                                        Alpasito, Inc., et al. v. BP Company North America,
 823    No Stamp   Linwood                 Dolby        Inc., et al.                                        Southern District of Texas      10-4216         No
                                                        Alpasito, Inc., et al. v. BP Company North America,
 824    No Stamp   Linwood                 Dolby        Inc., et al.                                        Southern District of Texas      10-4216         No
                                                        Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 825    No Stamp   Liprie                  Anthony      Company North America, Inc., et al.                 Southern District of Texas      10-4225         No
 826    No Stamp   Little                  Robbie       Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752      No
 827    34492554   Lloyd                   William      Earl Brandt, et al. v. BP, PLC, et al               District of South Carolina      10-3275         No

 828    34487922   Lockridge               Edward       Captain Edward Lockridge, et al. v. BP, PLC, et al. Southern District of Alabama    10-2659         No
 829    No Stamp   Lombardo                Matthew      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
 830    34471829   Long                    Dardenella   Robin v. Seacor Marine                              Eastern District of Louisiana   2:10-CV-01156   No
                                                        Blue Water Yacht Sales, etc. v. Transocean
 831    34491243   Long                    John         Holdings, Inc., et al.                              Southern District of Alabama    10-CV-02656     No
 832    No Stamp   Long                    Neardey      Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 833    No Stamp   Longar                  James        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No

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                                                            Felix C. Aguilar, et al. vs. BP Company North
 834    No Stamp   Longoria                   Fostino       America, et al.                                      Southern District of Texas       10-4220           No
                                                            Felix C. Aguilar, et al. vs. BP Company North
 835    No Stamp   Longoria                   Victor        America, et al.                                      Southern District of Texas       10-4220           No
                                                            Felix C. Aguilar, et al. vs. BP Company North
 836    No Stamp   Longoria                   Vincent       America, et al.                                      Southern District of Texas       10-4220           No
 837    No Stamp   Lonzo                      Christopher   Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472        No
                                                            Felix C. Aguilar, et al. vs. BP Company North
 838    No Stamp   Lopez                      Celestino     America, et al.                                      Southern District of Texas       10-4220           No
                                                            Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 839    No Stamp   Lopez                      Johnny        Company North America, Inc., et al.                  Southern District of Texas       10-4225           No
                                                            Felix C. Aguilar, et al. vs. BP Company North
 840    No Stamp   Lopez                      Juan          America, et al.                                      Southern District of Texas       10-4220           No
                                                            Felix C. Aguilar, et al. vs. BP Company North
 841    No Stamp   Lopez                      Mario         America, et al.                                      Southern District of Texas       10-4220           No
 842    No Stamp   Lorden                     Merlin        Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752        No
                                                            Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 843    No Stamp   Louis                      Dwayne        Company North America, Inc., et al.                  Southern District of Texas       10-4225           No
 844    34494162   Loupe                      Faye          Loupe, et al v. BP, PLC, et al                       Eastern District of Louisiana    10-2764           No
 845    34494416   Loupe                      Faye          Loupe, et al v. BP, PLC, et al                       Eastern District of Louisiana    10-2764           No
                                                            Alpasito, Inc., et al. v. BP Company North America,
 846    No Stamp   Loupe                      Penny         Inc., et al.                                         Southern District of Texas       10-4216           No
 847    No Stamp   Lu                         David         Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana    10-CV-2114        No
 848    No Stamp   Lu                         Liet          Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana    10-CV-2114        No
                                                            Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 849    No Stamp   Luce                       Louis         Company North America, Inc., et al.                  Southern District of Texas       10-4225           No
 850    No Stamp   Luvert Jr.                 Eugene        Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472        No
 851    No Stamp   Ly                         Kia           Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana    10-CV-2114        No
                                                            Burke, et al. v. BP Corporation North America, Inc.,
 852    34443208   Lykins                     Ryan          et al.                                               Southern District of Alabama                       No
 853    34472273   Lynch                      Phillip                                                            XXXXX                                              No
 854    34482406   Lynch                      Phillip                                                            XXXXX                                              No
                   M & Lorie, Inc. (Petro
 855    No Stamp   Mart)                                    Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114        No
 856    35676213   M.R.M. Energy, Inc.        N/A           Tobatex, Inc., et al v. BP, P.L.C., et al             Eastern District Louisiana      Blank             No
                                                            Felix C. Aguilar, et al. vs. BP Company North
 857    No Stamp   Maeroque                   Leon          America, et al.                                       Southern District of Texas      10-4220           No
                                                            Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 858    34491243   Malay Bay, Inc.                          et al                                                 Southern District of Alabama    10-CV-02643        No
                                                            Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                    2:10-CV-03116-CJB-
 859    34489475   Malin                      Paul          PLC, et al                                            Eastern District of Louisiana   SS                 No
                                                            Floyd, Floyd, Pearce of Beaumont, LP, et al v. BP,                                    2:10-CV-03116-CJB-
 860    34489475   Malin                      Paul          PLC, et al                                            Eastern District of Louisiana   SS                 No
                                                            Kelli Manuel Taquino; Jessica Manchester; and
                                                            Ashley Manuel vs. Transocean Holdings, LLC; et
 861    No Stamp   Manchester                 Jessica       al                                                    Eastern District of Louisiana   2:10-CV-1921      No
 862    No Stamp   Mann                       Tom           Adventure Sports, II, Inc.v. BP, Plc, et al           Southern District of Alabama    10-3243           No
                                                            2010-25245; Kleppinger, et al vs. Transocean, et District Court of Harris County,
 863    34438202   Mansfield                  James         al                                                    Texas                           10-3168           No
                                                            2010-25245; Kleppinger, et al vs. Transocean, et District Court of Harris County,
 864    34456028   Mansfield                  James         al                                                    Texas                           10-3168           No

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                                                            Kelli Manuel Taquino; Jessica Manchester; and
                                                            Ashley Manuel vs. Transocean Holdings, LLC; et
 865    34488673   Manuel                  Ashley           al                                                  Eastern District of Louisiana   2:10-CV-1921      No

                                                           4:10-CV-1721 In Re the Complaint and Petition of
                                                           Triton Asset Leasing GmbH, et al, in a Cause for                                     2:10-CV-02771 CJB-
 866    34490516   Manuel                  Geneva and L.D. Exoneration from or Limitation of Liability      Southern District of Texas          SS                 No

 867    No Stamp   March                   James            Darleen Jacobs Levy vs. Transocean, LTD, et al      Eastern District of Louisiana   10-1245           No
                                                            Fort Morgan Sales, Rentals & Development, Inc.,
 868    34491243   Margaritaville, LLC                      et al. v. Transocean Holdings, Inc., et al          Southern District of Alabama    10-CV-02645       No
                                                            Felix C. Aguilar, et al. vs. BP Company North
 869    No Stamp   Marino                  Antonio          America, et al.                                     Southern District of Texas      10-4220           No
 870    34476526   Marsh                   B.               Gallo et al. v. BP PLC et al. 2:10-CV-02795         Eastern District of Louisiana   2:10-CV-02795     No
 871    No Stamp   Marten                  Eric             Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 872    No Stamp   Martin Jr.              Bobby            Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 873    No Stamp   Martin Sr.              John             Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                                                            Felix C. Aguilar, et al. vs. BP Company North
 874    No Stamp   Martinez                Hector           America, et al.                                     Southern District of Texas      10-4220           No
                                                            Juan Esquivel, et al. vs. BP Company North
 875    No Stamp   Martinez                Jose             America, Inc., et al.                               Southern District of Texas      10-4214           No
                                                            Juan Esquivel, et al. vs. BP Company North
 876    No Stamp   Martinez                Jose             America, Inc., et al.                               Southern District of Texas      10-4214           No
                                                            Felix C. Aguilar, et al. vs. BP Company North
 877    No Stamp   Martinez                Juan             America, et al.                                     Southern District of Texas      10-4220           No
                                                            Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 878    No Stamp   Marvis                  Craig            Company North America, Inc., et al.                 Southern District of Texas      10-4225           No
 879    No Stamp   Mason                   Anthony          Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 880    No Stamp   Mason                   Calvin           Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                                                            James F. Mason, Jr., et al. v. Transocean, LTD., et
 881    34480268   Mason                   James            al; 1:10-v-00191                                    Southern District of Alabama    2:10-CV-02639     No
 882    No Stamp   Mason                   Ronnie           Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 883    34517999   Masterson               Deborah          Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989           No
 884    34803960   Masterson               Deborah          Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989           No
 885    34527052   Masterson               Joseph           Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989           No
 886    34803960   Masterson               Joseph           Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989           No
                                                            Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 887    No Stamp   Matherne                Timothy          Company North America, Inc., et al.                 Southern District of Texas      10-4225           No
                                                            Jack Arias, et al. v. BP Company North America,
 888    No Stamp   May                   Sharon             Inc., et al.                                        Southern District of Texas      10-4224           No
 889    No Stamp   Maye                  Robert             Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 890    No Stamp   Mayne                 Jonas              Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                   MC Mart, LLC
                   (Greensburg Seafood &
 891    No Stamp   Deli)                                    Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114        No
 892    No Stamp   McBride               Clarence           Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                                                            Vacation Key West, Inc., Ind & as Proposed Class
 893    34463009   McCaffrey               Vanessa          Rep vs. BP P.L.C., et al.                           Southern District of Florida    4:10-CV-10059-KMM No
 894    No Stamp   McCall                  Theodore         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                                                            Scott McCarthy, Ind & as Proposed Class Rep vs.                                     4:10-CV-10068-
 895    34461863   McCarthy                Scott            BP P.L.C., et al.                                   Southern District of Florida    King/Bandstra     No

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 896    No Stamp   McCorvey        Calvin          Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1752          No
 897    No Stamp   McCorvey        Shawn           Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 898    34494744   McCoy           Jack            McCoy v. Transocean Ltd, et al                       Southern District of Florida       2:10CV02980         No
                                                                                                                                           1:10-CV-00280-LG-
 899    34494243   McCraney        Chris           Grady Thigpen, et al. v. BP, PLC, et. al.            Southern District of Mississippi   RHW                 No
                                                                                                                                           1:10-CV-00280-LG-
 900    34494301   McCraney        Chris           Grady Thigpen, et al. v. BP, PLC, et. al.            Southern District of Mississippi   RHW                 No
                                                   Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 901    No Stamp   McDaniel        Niki            Company North America, Inc., et al.                  Southern District of Texas         10-4225             No
 902    34488824   McDavid         Helen           Sarah H. Moore, et al. v. BP, PLC, et al.            Southern District of Alabama       2:10-CV-03253       No
 903    No Stamp   McGhee          Antonia         Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 904    34517999   McGowan         Betty           Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989             No
 905    34803960   McGowan         Betty           Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989             No
 906    34517999   McGowan         Robert          Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989             No
 907    34803960   McGowan         Robert          Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989             No
 908    34492554   McIntosh        Chris           Earl Brandt, et al. v. BP, PLC, et al.               District of South Carolina         10-3275             No
 909    No Stamp   McLellan        Brendon         Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 910    No Stamp   McLellan        Dustin          Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 911    No Stamp   McMillian       Calvin          Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 912    No Stamp   McMillian       Roderick        Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 913    34389429   Mead            Mark            Bradley Shivers, et al v. BP., PLC, et al            Southern District of Alabama       1:10-CV-381         No
 914    34558781   Mead            Mark            Bradley Shivers et al v. BP, PLC, et al              Southern District of Alabama       CV.10.0381.B        No
 915    34478973   Mead            Mark            Bradley Shivers, et al v. BP, PLC, et al             Southern District of Alabama       CV-10-0381-B        No
 916    No Stamp   Meaux           Joseph          Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1752          No
                                                   Felix C. Aguilar, et al. vs. BP Company North
 917    No Stamp   Medrano         Evaristo        America, et al.                                      Southern District of Texas         10-4220             No
 918    34472763   Melerine        Marlene         Robin v. Seacor Marine                               Eastern District of Louisiana      2:10-CV-01156       No
 919    No Stamp   Mendoza         Timothy         Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 920    No Stamp   Merida          Jose            Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1752          No
 921    34477379   Messier         Kyle            Gallo et al. v. BP PLC et al. 2:10-CV-02795          Eastern District of Louisiana      2:10-CV-02795       No
 922    34483809   MetCalf Jr.     Joe             Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 923    34472566   Meyer           David           David Meyer, et al.                                  Southern District of Alabama       2:10CV02650         No
                                                   Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 924    No Stamp   Michael         Debbie          Company North America, Inc., et al.                  Southern District of Texas         10-4225             No
                                                   Gold Fingers Jewelers & Gift Shop, Inc., Inc. v. BP,
 925    34492468   Mikalef         Anthipi         PLC, et al                                           Middle District of Florida         2:10-CV-03079       No
                                                   Gold Fingers Jewelers & Gift Shop, Inc., Inc. v. BP,
 926    34491025   Mikalef         Irene           PLC, et al                                           Middle District of Florida         2:10-CV-03079       No
 927    No Stamp   Miller          Brian           Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 928    34495427   Millson         John            John W. Millson, Jr. v. Transocean, et. al           Southern District of Alabama       ALS 1 10-354        No

 929    No Stamp   Mistry          Mahesh (Mike)   Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana      10-1245             No
 930    No Stamp   Mitchell        Brett           Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 931    No Stamp   Mitchell        Charles         Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 932    No Stamp   Mitchell        Christopher     Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 933    No Stamp   Mitchell        Cornell         Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1752          No

 934    No Stamp   Mitchell        James           Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana      10-1245             No
 935    No Stamp   Mitchell        Justin          Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 936    No Stamp   Mitchell        Stephen         Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No
 937    No Stamp   Mitchell        Steven          Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana      10-CV-1472          No

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 938    No Stamp   Mitchell Jr.            Curtis           Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                   Mobile Management
 939    34488824   LLC                                      Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama    2:10-CV-03253     No
                                                            Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 940    No Stamp   Moeau                   Craig            Company North America, Inc., et al.                 Southern District of Texas      10-4225           No
 941    No Stamp   Mofield                 Harry            Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                                                                                                                                                MDL Docket No:
 942    34490828   Mohl                    Carly            2:10-CV-03092                                       Northern District of Florida    2179              No
                                                                                                                                                MDL Docket No:
 943    34490828   Mohl                    Lawrence         2:10-CV-03092                                       Northern District of Florida    2179              No
 944    34470898   Molero                  Dorothy          Robin v. Seacor Marine                              Eastern District of Louisiana   2:10-CV-01156     No
 945    No Stamp   Monroe                  Calvin           Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                                                            Paul Monroe; W. Edward Trehern v. BP, PLC, et
 946    34494670   Monroe                  Paul             al.                                                 Southern District of Alabama    10-4194           No
 947    No Stamp   Moore                   Adam             Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                                                            Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 948    No Stamp   Moore                   Chris            Company North America, Inc., et al.                 Southern District of Texas      10-4225           No
 949    No Stamp   Moore                   Joshua           Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 950    34488824   Moore                   Sarah            Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama    2:10-CV-03253     No
                                                            Alpasito, Inc., et al. v. BP Company North America,
 951    No Stamp   Moore                   Wenn             Inc., et al.                                        Southern District of Texas      10-4216           No
                                                            Juan Esquivel, et al. vs. BP Company North
 952    No Stamp   Morales                 Victor           America, Inc., et al.                               Southern District of Texas      10-4214           No
 953    34491656   Moreira                 Carlos           James Galaris, et al v. BP, PLC, et al              Middle District of Florida      2:10-CV-03081     No
                                                            Felix C. Aguilar, et al. vs. BP Company North
 954    No Stamp   Moreno                   Raul            America, et al.                                     Southern District of Texas      10-4220           No
 955    34494744   Moret                    Andrew          Moret v. Transocean Ltd., et al                     Southern District of Florida    2:10CV02977       No
 956    No Stamp   Morgan                   Jeb             Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 957    No Stamp   Morris                   Caszell         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 958    No Stamp   Morris                   Oris            Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 959    No Stamp   Morris Jr.               Jerry           Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 960    No Stamp   Morris Jr.               Maurice         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
 961    34517999   Moscattini               Lori            Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989           No
 962    34803960   Moscattini               Lori            Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989           No
 963    34517999   Moscattini               Roy             Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989           No
 964    34803960   Moscattini               Roy             Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989           No
 965    No Stamp   Mouton                   Curtis          Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752        No
 966    No Stamp   Mouton                   Tyler           Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472        No
                   Mrs. Kay, Inc. d/b/a D &
 967    No Stamp   K Food Mart                            Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114        No
                                                          Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 968    No Stamp   Mullen                  Tavia          Company North America, Inc., et al.                   Southern District of Texas      10-4225           No
                                                          Felix C. Aguilar, et al. vs. BP Company North
 969    No Stamp   Muniz                   Gregorio       America, et al.                                       Southern District of Texas      10-4220            No
 970    34517999   Murphey                 Laura          Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989            No
 971    34803960   Murphey                 Laura          Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989            No
 972    34517999   Murphey                 Michael        Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989            No
 973    34803960   Murphey                 Michael        Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989            No
                                                          Thomas Murphy and Dolores Murphy, Ind & as                                            8:10-CV-01521-JDW-
 974    34462379   Murphy                  Thomas;Dolores Proposed Class Rep vs. BP P.L.C., et al.              Middle District of Florida      TGW                No
 975    34489616   Murray                  Arthur         Winnie's Artsy Cafe, LLC v. BP, PLC, et al            Eastern District of Louisiana   2:10-CV-02820      No

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 976    34489616   Murray                Arthur        Winnie's Artsy Cafe, LLC v. BP, plc, et al              Eastern District of Louisiana      2:10-CV-02820      No
 977    No Stamp   Murrell               Eddie         Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472         No
 978    No Stamp   Murrell               McCline       Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472         No
 979    No Stamp   Natural Nine, LLC                   Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
                                                       Bon Secour Fisheries, Inc., et al v. BP, Plc, et al.;
 980    34482939   Nelson                John          1:10-cv-00206                                           Eastern District of Louisiana      10-2646            No
                                                       Bon Secour Fisheries, Inc., et al v. BP, Plc, et al.;
 981    34482939   Nelson                John          1:10-cv-00206                                           Southern District of Alabama       10-2646            No
                                                       Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 982    No Stamp   Nelton                Elton         Company North America, Inc., et al.                     Southern District of Texas         10-4225            No
 983    No Stamp   Nettles               James         Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472         No
 984    No Stamp   Newhouse              David         Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472         No
 985    No Stamp   Newhouse              Jeremy        Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472         No
 986    No Stamp   Newman                John          Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana      10-CV-1752         No
 987    No Stamp   Newton                Frederick     Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1472         No
 988    No Stamp   Nguyen                Bang          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 989    No Stamp   Nguyen                Bao           Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 990    No Stamp   Nguyen                Canyh         Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 991    No Stamp   Nguyen                Chau          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 992    No Stamp   Nguyen                Chi           Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 993    No Stamp   Nguyen                Christina     Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 994    No Stamp   Nguyen                Da            Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 995    No Stamp   Nguyen                Dang          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 996    No Stamp   Nguyen                David         Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 997    No Stamp   Nguyen                Du            Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 998    No Stamp   Nguyen                Duc           Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 999    No Stamp   Nguyen                Duong         Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1000   No Stamp   Nguyen                Edward        Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana      10-CV-1752         No
 1001   No Stamp   Nguyen                Eric          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1002   34485625   Nguyen                Giang         Giang T. Nguyen vs. BP, PLC, et al                      Eastern District of Louisiana      10-1852 "N"        No
 1003   34486891   Nguyen                Giau          Giau V. Nguyen vs. BP, PLC, et al.                      Eastern District of Louisiana      10-1855 "R"        No
 1004   No Stamp   Nguyen                Hien          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1005   No Stamp   Nguyen                Hong          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1006   No Stamp   Nguyen                Hung          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1007   No Stamp   Nguyen                Hung          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1008   No Stamp   Nguyen                Huong         Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1009   No Stamp   Nguyen                Jason         Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1010   No Stamp   Nguyen                Jessica       Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1011   No Stamp   Nguyen                Joe           Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1012   No Stamp   Nguyen                Kha           Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1013   34489840   Nguyen                Kha           Kha Van Nguyen et al. v. BP, PLC, et al.                Eastern District of Louisiana      2:10-CV-01741      No
                                                       Nguyen, Ind & as Proposed Class Rep vs. BP                                                 1:10-CV-241-HSO-
 1014   34461226   Nguyen                Kimberly;Do   P.L.C., et al.                                          Southern District of Mississippi   JMR                No
 1015   No Stamp   Nguyen                Kim-Thoa      Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1016   No Stamp   Nguyen                Long          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1017   No Stamp   Nguyen                Mary          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1018   No Stamp   Nguyen                Myha          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1019   No Stamp   Nguyen                Ngoc          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1020   No Stamp   Nguyen                Oanh          Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No
 1021   34487082   Nguyen                Sang          Sang-Thahn Nguyen vs. BP, PLC, et al.                   Eastern District of Louisiana      10-1850 "R"        No
 1022   No Stamp   Nguyen                Su            Le, et al. v. BP, PLC, et al.                           Eastern District of Louisiana      10-CV-2114         No

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 1023   No Stamp   Nguyen                 Tam         Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1024   No Stamp   Nguyen                 Thanh       Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1025   No Stamp   Nguyen                 Thanh       Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1026   No Stamp   Nguyen                 Thanh       Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1027   No Stamp   Nguyen                 Thanh       Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1028   No Stamp   Nguyen                 Thim        Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1029   No Stamp   Nguyen                 Thuan       Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1030   No Stamp   Nguyen                 Thuy        Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1031   34486183   Nguyen                 Tim                                                             XXXXX                                           No
 1032   No Stamp   Nguyen                 Tom         Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1033   No Stamp   Nguyen                 Tony        Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1034   No Stamp   Nguyen                 Trang       Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1035   No Stamp   Nguyen                 Trung       Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752      No
 1036   No Stamp   Nguyen                 Vuong       Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-2114      No
 1037   34527052   Nimer                  Dona        Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989         No
 1038   34803960   Nimer                  Dona        Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989         No
 1039   34517999   Nimer                  Michael     Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989         No
 1040   34803960   Nimer                  Michael     Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989         No

                                                      Vickie Nobles v. BP, PLC, et al.; USDC Northern
 1041   34484499   Nobies                 Vickie      District, Panama City, Florida - 5:10-cv-00126      USDC, Panama City, FL           10-3076         No
 1042   No Stamp   Noel                   Franklin    Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
 1043   No Stamp   Noel                   John        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
 1044   No Stamp   Noel                   Samuel      Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752      No
 1045   No Stamp   Noel Jr.               Carroll     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
 1046   No Stamp   Noel, Sr.              Carroll     Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
 1047   34471591   Nunez                  Annabelle   Robin v. Seacor Marine                              Eastern District of Louisiana   2:10-CV-01156   No
 1048   34471690   Nunez                  Carol       Robin v. Seacor Marine                              Eastern District of Louisiana   2:10-CV-01156   No
 1049   No Stamp   Nunez                  Victor      Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1752      No
 1050   34517999   Nunn                   Leslie      Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989         No
 1051   34803960   Nunn                   Leslie      Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989         No
 1052   34517999   Nunn                   William     Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989         No
 1053   34803960   Nunn                   William     Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989         No
                                                      Felix C. Aguilar, et al. vs. BP Company North
 1054   No Stamp   Ochoa                  Artemio     America, et al.                                     Southern District of Texas      10-4220         No
                                                      Felix C. Aguilar, et al. vs. BP Company North
 1055   No Stamp   Ochoa                  Gloria      America, et al.                                     Southern District of Texas      10-4220         No
                                                      Felix C. Aguilar, et al. vs. BP Company North
 1056   No Stamp   Ochoa                  Marco       America, et al.                                     Southern District of Texas      10-4220         No
 1057   No Stamp   Odom                   Ray         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
 1058   No Stamp   Odom                   Roy         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472      No
                                                      Felix C. Aguilar, et al. vs. BP Company North
 1059   No Stamp   Olguin                 Nicolas     America, et al.                                     Southern District of Texas      10-4220         No

 1060   No Stamp   O'Neil                 Jack        Darleen Jacobs Levy vs. Transocean, LTD, et al      Eastern District of Louisiana   10-1245         No
                   Orange Beach Marina,               Orange Beach Marina, Inc., et al. v. Transocean
 1061   34491243   Inc.                               Holdings, Inc., et al                               Southern District of Alabama    10-CV-2651      No
 1062   34491153   Orr                    Marylee     Doug Crawford v. BP, P.L.C., et al,                 Eastern District of Louisiana   10-1540         No
 1063   34477387   Ortega                 Estela      Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.   Northern District of Florida    10-193          No
 1064   34477118   Ortega                 Teodoro     Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.   Northern District of Florida    10-193          No


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 1065   No Stamp        Osaka Thai Corporation             Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114        No
 1066   34498422        Overstreet             John        Hopkins, et al. v. Transocean, Ltd., et al.        Southern District of Alabama                         No
 1067   34498422        Overton                Joseph      Hopkins, et al. v. Transocean, Ltd., et al.        Southern District of Alabama                         No
 1068   No Stamp        Owens                  Austin      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472        No
                                                           Orange Beach Marina, Inc., et al. v. Transocean
 1069   34491243        Oyster Bay Marina, LLC             Holdings, Inc., et al                              Southern District of Alabama       10-CV-2651        No
                        P&S Restaurant Group,
 1070   34450953        LA., LLC                           P&S Restaurant Group, et al v. BP PLC, et al      Eastern District of Louisiana       10-01574          No
 1071   No Stamp        Palmer                 Rydell      Mitchell, et al. v. BP, PLC, et al.               Eastern District of Louisiana       10-CV-1472        No
 1072   No Stamp        Palmer                 Wayne       Fruge, et al. v. BP, PLC, et al.                  Eastern District of Louisiana       10-CV-1752        No
                                                           Pappas Restaurants, Inv. v. Transocean Offshore
 1073   34487414        Pappas                Christine    Deepwater Drilling, Inc., et al                   Southern District of Texas                            No
 1074   No Stamp        Parker                Columbus     Mitchell, et al. v. BP, PLC, et al.               Eastern District of Louisiana       10-CV-1472        No
 1075   34494744        Parker                Darrick      Parker v. Transocean Ltd. et al                   Southern District of Florida        2:10CV02983       No
        34473312;344725                                    Billy's Seafood et al v Transocean Holdings et al
 1076   66              Parks                 Billy        (See Attached)                                    Southern District of Alabama        10-VV-215          No
 1077   34479585        Passman               Malanie      Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al. Northern District of Florida        10-193             No
 1078   34479585        Passman               Melanie      Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al. Northern District of Florida        10-193             No
 1079   No Stamp        Patterson             Bob          Mitchell, et al. v. BP, PLC, et al.               Eastern District of Louisiana       10-CV-1472         No
                                                           Joe Patti Seafood Company vs. Transocean, LTD,                                        3:10-CV-00137-MCR-
 1080   34490983        Patti                 Frank        et al                                             Northern District of Florida        MD                 No
                                                                                                                                                 3:10-CV-00326-JVP-
 1081   34435689        Paul                  Delisa       1st Rate LLC v. BP PLC et al                       Middle District of Louisiana       DLD                No
 1082   34482254        Paul                  Gary         Gary Paul, et al. v. BP, Plc, et al                Southern District of Alabama       10-3245            No
 1083   No Stamp        Paul & Brian, LLC                  Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114         No
                                                                                                              2nd Judicial Circuit Leon County
 1084   34695706        Payne                 Derek        Walton, et. al v. BP, plc, et. al.                 FL                                 N/A               No
                                                           Felix C. Aguilar, et al. vs. BP Company North
 1085   No Stamp        Paz                   Francisco    America, et al.                                    Southern District of Texas         10-4220           No
                                                           Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1086   No Stamp        Peeples               William      Company North America, Inc., et al.                Southern District of Texas         10-4225           No
 1087   No Stamp        Penn                  Jessie       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472        No
 1088   No Stamp        Penn                  Sammie       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472        No
                                                           Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1089   No Stamp        Pennington            Timothy      Company North America, Inc., et al.                Southern District of Texas         10-4225           No
 1090   No Stamp        Peoples               Darrell      Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472        No
 1091   No Stamp        Peoples               Lonnie       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472        No
 1092   No Stamp        Peoples               Marshall     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472        No
 1093   No Stamp        Peoples               Roy          Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472        No
 1094   No Stamp        Peoples               Santez       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472        No
                                                           Felix C. Aguilar, et al. vs. BP Company North
 1095   No Stamp        Perez                 Thomas       America, et al.                                    Southern District of Texas         10-4220           No
 1096   No Stamp        Perkins               Carol        Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472        No
 1097   No Stamp        Perkins               Shelton      Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1752        No
 1098   34482921        Perry                 Bradley      Robin V. Seacor                                    Eastern District of Louisiana      10-CV-01156       No
 1099   No Stamp        Perry                 Dwayne       Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana      10-CV-1472        No
 1100   No Stamp        Petitjean             John         John Petitjean; et al. v. BP, PLC, et al.          Northern District of Florida       10-4201           No
                                                           Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1101   No Stamp        Petry                 Donald       Company North America, Inc., et al.                Southern District of Texas         10-4225           No
 1102   No Stamp        Petry Jr.             George       Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1752        No

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 1103   No Stamp   Pham           Chinh        Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1104   No Stamp   Pham           Chon         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1105   No Stamp   Pham           Diep         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1106   No Stamp   Pham           Eric         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1107   No Stamp   Pham           Hong         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1108   No Stamp   Pham           Ky           Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1109   No Stamp   Pham           Si           Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1110   No Stamp   Pham           Terry        Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1111   No Stamp   Phan           Hung         Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1112   No Stamp   Phan           Vui          Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1113   34517999   Phelts         Allison      Christopher R. Schorr, et al v. BP, PLC et al            Eastern District of Louisiana        10-2989            No
 1114   34803960   Phelts         Allison      Christopher R. Schorr, et al v. BP, PLC et al            Eastern District of Louisiana        10-2989            No
 1115   34517999   Phelts         Tim          Christopher R. Schorr, et al v. BP, PLC et al            Eastern District of Louisiana        10-2989            No
 1116   34803960   Phelts         Tim          Christopher R. Schorr, et al v. BP, PLC et al            Eastern District of Louisiana        10-2989            No
 1117   No Stamp   Phillips       Demitcha     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana        10-CV-1472         No
                                               John F. Phillips vs. BP America Production
 1118   34474159   Phillips       John         Company, et al                                           Eastern District of Louisiana        10-1620            No
                                               John F. Phillips vs. BP America Production
 1119   34493537   Phillips       John         Company, et al                                           Eastern District of Louisiana        10-1620            No
                                               Bradford T. Picariello d/b/a Outlaw Sportfishing, et
                                               al. Ind & as Proposed Class Rep vs. BP P.L.C., et                                             4:10-CV-10054-King-
 1120   34460495   Picarlello     Barford      al.                                                      Southern District of Florida         Bandstra            No
 1121   No Stamp   Pillette       Arnold       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana        10-CV-1472          No
                                               Felix C. Aguilar, et al. vs. BP Company North
 1122   No Stamp   Pinedo         Ruben        America, et al.                                          Southern District of Texas           10-4220            No
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1123   No Stamp   Plumb          Vincent      Company North America, Inc., et al.                      Southern District of Texas           10-4225            No
 1124   No Stamp   Polk           Montrell     Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana        10-CV-1472         No
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1125   No Stamp   Poppele        Andrew       Company North America, Inc., et al.                      Southern District of Texas           10-4225            No
 1126   No Stamp   Prejean        Arthur       Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana        10-CV-1752         No

                                                                                                        US District Court for the Southern
 1127   34493902   Probst         David        Fishburn, et al. v. BP PLC, Ltd., et al.                 District of Alabama, Mobile Div.     1:10-248           No
 1128   No Stamp   Proctor        Jermiah      Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana        10-CV-1472         No
 1129   No Stamp   Pugh           Donald       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana        10-CV-1472         No
 1130   No Stamp   Pugh           James        Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana        10-CV-1472         No
 1131   No Stamp   Quach          James        Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
 1132   No Stamp   Quach          Jennifer     Le, et al. v. BP, PLC, et al.                            Eastern District of Louisiana        10-CV-2114         No
                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1133   No Stamp   Rafes          David        Company North America, Inc., et al.                      Southern District of Texas           10-4225            No
 1134   34493417   Raffield       Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al    Northern District of Florida         2:10-CV-03102      No
 1135   34493417   Raffield       Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al    Northern District of Florida         2:10-CV-03102      No
 1136   34493417   Raffield       Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al    Northern District of Florida         2:10-CV-03102      No
 1137   34493417   Raffield       Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al    Northern District of Florida         2:10-CV-03102      No
 1138   34493417   Raffield       Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al    Northern District of Florida         2:10-CV-03102      No
 1139   34486735   Raffield       Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al.   Northern District of Florida         2:10-CV-03102      No
 1140   34486735   Raffield       Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al.   Northern District of Florida         2:10-CV-03102      No
 1141   34486735   Raffield       Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al.   Northern District of Florida         2:10-CV-03102      No
 1142   34486735   Raffield       Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al.   Northern District of Florida         2:10-CV-03102      No
 1143   34486735   Raffield       Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al.   Northern District of Florida         2:10-CV-03102      No

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 1144   34486735   Raffield               Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al.   Northern District of Florida       2:10-CV-03102     No
 1145   34493417   Raffield               Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al.   Northern District of Florida       2:10-CV-03102     No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1146   No Stamp   Rall                   Walter       America, et al.                                          Southern District of Texas         10-4220           No
                                                       C.A. No. 2010-25245; Tracy Kleppinger vs.
                                                       Transocean Offshore Deepwater Drilling, Inc., et
                                                       al, In the 235th Judicial District Court of Harris       District Court of Harris County,   2:10-CV-02771 CJB-
 1147   34490924   Ramos                  Carlos       County, Texas                                            Texas                              SS                 No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1148   No Stamp   Ramos                  Ray          America, et al.                                          Southern District of Texas         10-4220           No
 1149   No Stamp   Randall                Douglas      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752        No
 1150   No Stamp   Randell                Stephen      Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752        No
 1151   No Stamp   Rankins Jr.            Henry        Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472        No
                                                       Water Street Seafood Inc., et al. v. B.P., PLC., et
 1152   34485148   Rash                   Steven       al                                                       Northern District of Florida       2:10-CV-02671     No
                                                       Water Street Seafood Inc., et al. v. B.P., PLC., et
 1153   34485148   Rash                   Steven       al                                                       Northern District of Florida       2:10-CV-02671     No
                                                       Water Street Seafood Inc., et al. v. B.P., PLC., et
 1154   34485148   Rash                   Steven       al                                                       Northern District of Florida       2:10-CV-02671     No
                                                       Water Street Seafood Inc., et al. v. B.P., PLC., et
 1155   34485148   Rash                   Steven       al                                                       Northern District of Florida       2:10-CV-02671     No
                                                       Water Street Seafood Inc., et al. v. B.P., PLC., et
 1156   34493417   Rash                   Steven       al                                                       Northern District of Florida       2:10-CV-02671     No
                                                       Water Street Seafood Inc., et al. v. B.P., PLC., et
 1157   34493417   Rash                   Steven       al                                                       Northern District of Florida       2:10-CV-02671     No
                                                       Water Street Seafood Inc., et al. v. B.P., PLC., et
 1158   34493417   Rash                   Steven       al                                                       Northern District of Florida       2:10-CV-02671     No
                                                       Water Street Seafood Inc., et al. v. B.P., PLC., et
 1159   34493417   Rash                   Steven       al                                                       Northern District of Florida       2:10-CV-02671     No
 1160   No Stamp   Readom                 John         Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472        No

 1161   No Stamp   Reece                  Kevin        Darleen Jacobs Levy vs. Transocean, LTD, et al           Eastern District of Louisiana      10-1245           No
 1162   No Stamp   Reed                   Curley       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472        No
 1163   No Stamp   Reels                  Alonza       Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472        No
 1164   No Stamp   Reels                  Clark        Mitchell, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1472        No
 1165   34480619   Reisberg               Mary         Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.        Northern District of Florida       10-193            No
 1166   34480524   Reisberg               Michael      Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.        Northern District of Florida       10-193            No
 1167   No Stamp   Reliford               Kerry        Fruge, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-1752        No
                   Revenue Properties
                   Southland Limited                   Revenue Properties Southland Limited Partnership
 1168   34474900   Partnership                         v. BP, PLC et al                                 Eastern District of Louisiana              10-1947           No
                   Revenue Properties
                   Southland Limited                   Revenue Properties Southland Limited Partnership
 1169   34494147   Partnership                         v. BP, PLC et al                                    Eastern District of Louisiana           10-1947           No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1170   No Stamp   Rey                    Mariano      America, et al.                                     Southern District of Texas              10-4220           No
 1171   34493976   Reyes                  Lisa         Buras, et al v. BP, PLC, et al                      Eastern District of Louisiana           10-2994           No
                                                       Alpasito, Inc., et al. v. BP Company North America,
 1172   No Stamp   Reyes                  Manuel       Inc., et al.                                        Southern District of Texas              10-4216           No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1173   No Stamp   Reyna                  Francisco    America, et al.                                     Southern District of Texas              10-4220           No

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 1174   No Stamp        Rice               Jason        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472        No
                                                        Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1175   No Stamp        Rice               Wilburn      Company North America, Inc., et al.                   Southern District of Texas      10-4225           No
 1176   No Stamp        Rice               Winston      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472        No
 1177   No Stamp        Rice IV            Emory        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472        No
 1178   No Stamp        Rice Jr.           Claude       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472        No
 1179   No Stamp        Richard            Johnathan    Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752        No
 1180   No Stamp        Richard            Patrick      Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752        No
 1181   No Stamp        Richard            Patrick      Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752        No
                                                        Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1182   No Stamp        Richard            Thomas       Company North America, Inc., et al.                   Southern District of Texas      10-4225           No
 1183   No Stamp        Richard            Wayne        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472        No
 1184   No Stamp        Richards           Lance        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472        No
 1185   No Stamp        Richardson         Edward       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472        No
 1186   No Stamp        Richardson         Trinity      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472        No
 1187   34480619        Riesberg           Mary         Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.     Northern District of Florida    10-193            No
 1188   34480524        Riesberg           Michael      Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.     Northern District of Florida    10-193            No
 1189   35622348        Rinke              Robert       Robert L. Rinke vs. BP, P.L.C., et al.                Northern District of Florida                      No
                                                        Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1190   No Stamp        Rivas              Mario        Company North America, Inc., et al.                   Southern District of Texas      10-4225           No

 1191   No Stamp        Rizzuto            Ronald       Darleen Jacobs Levy vs. Transocean, LTD, et al        Eastern District of Louisiana   10-1245           No
                                                        Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1192   No Stamp        Roach              Jaimmie      Company North America, Inc., et al.                   Southern District of Texas      10-4225           No
 1193   No Stamp        Roane Jr.          Arthur       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472        No
 1194   34498422        Roberson           Joni         Hopkins, et al. v. Transocean, Ltd., et al.           Southern District of Alabama                      No
 1195   No Stamp        Roberts            Leon         Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752        No
 1196   34488824        Roberts            Lynn         Sarah H. Moore, et al. v. BP, PLC, et al.             Southern District of Alabama    2:10-CV-03253     No
 1197   No Stamp        Robertson          Raymond      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472        No
        34475210;344755                                 Robin, et al. v. Seacor Marine LLC, et al. 2:10-CV-                                   2:10-CV-01986-CJB-
 1198   16              Robin              Terry        01986-CJB-SS                                          Eastern District of Louisiana   SS                 No
 1199   No Stamp        Robinson           George       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752         No
 1200   34488824        Robinson           Newell       Sarah H. Moore, et al. v. BP, PLC, et al.             Southern District of Alabama    2:10-CV-03253      No
 1201   34517999        Rodriguez          Bridget      Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989            No
 1202   34803960        Rodriguez          Bridget      Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989            No
 1203   34517999        Rodriguez          Frank        Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989            No
 1204   34803960        Rodriguez          Frank        Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989            No
                                                        Juan Esquivel, et al. v. BP Company North
 1205   No Stamp        Rodriguez          Isauro       America, Inc., et al.                                 Southern District of Texas      10-4214           No
                                                        Juan Esquivel, et al. vs. BP Company North
 1206   No Stamp        Rodriguez          Juan         America, Inc., et al.                                 Southern District of Texas      10-4214           No
                                                        Felix C. Aguilar, et al. vs. BP Company North
 1207   No Stamp        Rodriguez          Leandro      America, et al.                                       Southern District of Texas      10-4220           No
                                                        Juan Esquivel, et al. v. BP Company North
 1208   No Stamp        Rodriguez          Oscar        America, Inc., et al.                                 Southern District of Texas      10-4214           No
 1209   34478457        Rodriguez, Jr.     Joseph       Papa Rod, Inc. et al v. BP, PLC et al                 Southern District of Alabama    10-3250           No
 1210   34478457        Rodriguez, Jr.     Joseph       Papa Rod, Inc. et al v. BP, PLC et al                 Southern District of Alabama    10-3250           No
 1211   34478457        Rodriguez, Jr.     Joseph       Papa Rod, Inc. et al v. BP, PLC et al                 Southern District of Alabama    10-3250           No
 1212   34494744        Rodriguez, Jr.     Joseph       Papa Rod, Inc. et al v. BP, PLC et al                 Southern District of Alabama    10-3250           No
 1213   34495379        Rodriguez, Sr.     Charles      Sea Eagle Fisheries, Inc. et al v. BP, PLC et al      Southern District of Alabama    10-2661           No
 1214   34495364        Rodriguez, Sr.     Charles      Sea Eagle Fisheries, Inc. et al v. BP, PLC, et al     Southern District of Alabama    10-2661           No

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 1215   34489273   Rodriquez Jr.          Joseph       Sea Eagle Fisheries, Inc., et al. v. BP, PLC, et al.   Southern District of Alabama    10-2661           No

                                                       JRKW Enterprises, LLC, d/b/a Huck Finn's Cafe &                                        2:10-CV-02846-CJB-
 1216   34462220   Rogers                 Jeffrey      as Proposed Class Rep vs. BP P.L.C., et al.            Eastern District of Louisiana   SS                 No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1217   No Stamp   Rojas                  Lupe         America, et al.                                        Southern District of Texas      10-4220           No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1218   No Stamp   Roman                  Roman        America, et al.                                        Southern District of Texas      10-4220           No
                   Romar Marina Club,                  Orange Beach Marina, Inc., et al. v. Transocean
 1219   34491243   LLC                                 Holdings, Inc., et al                                  Southern District of Alabama    10-CV-2651        No
                                                       Juan Esquivel, et al. vs. BP Company North
 1220   No Stamp   Roque                  Javier       America, Inc., et al.                                  Southern District of Texas      10-4214           No
 1221   No Stamp   Rosamore               John         Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-1752        No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1222   No Stamp   Rosas                  Hector       America, et al.                                        Southern District of Texas      10-4220           No
 1223   34517999   Rosenberg              Rosenberg    Christopher R. Schorr, et al v. BP, PLC et al          Eastern District of Louisiana   10-2989           No
 1224   34803960   Rosenberg              Rosenberg    Christopher R. Schorr, et al v. BP, PLC et al          Eastern District of Louisiana   10-2989           No
 1225   No Stamp   Ross, III              Wilbert      Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1472        No
                                                       T&D Fishery, LLC et al. v. BP PLC et al. 2:10-CV-
 1226   34477885   Roussel                Delvin       01332                                                  Eastern District of Louisiana   2:10-CV-01332     No
                                                       T&D Fishery, LLC et al. v. BP PLC et al. 2:10-CV-
 1227   34477885   Roussel                Devlin       01332                                                  Eastern District of Louisiana   2:10-CV-01332     No

 1228   No Stamp   Ruiz                   Ronald       Darleen Jacobs Levy vs. Transocean, LTD, et al         Eastern District of Louisiana   10-1245           No
 1229   No Stamp   Rush                   Tommie       Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1472        No
 1230   34389429   Russell                Scott        Bradley Shivers, et al v. BP, PLC, et al               Southern District of Alabama    1:10-CV-381       No
 1231   No Stamp   Russell                Scott        Bradley Shivers, et al v. BP, PLC, et al               Southern District of Alabama    1:10-CV-381       No
 1232   34562658   Russell                Scott        Bradley Shivers et al v. BP, PLC, et al                Southern District of Alabama    CV.10.0381.B      No
 1233   34478973   Russell                Scott        Bradley Shivers, et al v. BP, PLC, et al               Southern District of Alabama    CV-10-0381-B      No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1234   No Stamp   Saavedra               Daniel       America, et al.                                        Southern District of Texas      10-4220           No
 1235   No Stamp   Saddler                Eddie        Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1472        No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1236   No Stamp   Salas                  Jose         America, et al.                                        Southern District of Texas      10-4220           No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1237   No Stamp   Saldivar               Ted          America, et al.                                        Southern District of Texas      10-4220           No
                                                       Michael Salley, d/b/a Sure Shot Charters v.
 1238   34491243   Salley                 Michael      Transocean Holdings, Inc., et al                       Northern District of Florida    10-CV-02664       No
 1239   No Stamp   Salter                 Grady        Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1472        No
 1240   34498422   Salter                 J.           Hopkins, et al. v. Transocean, Ltd., et al.            Southern District of Alabama                      No
 1241   No Stamp   Sam                    Joseph       Fruge, et al. v. BP, PLC, et al.                       Eastern District of Louisiana   10-CV-1752        No
                                                       Samuel Chernin, et al. v. BP Company North
 1242   No Stamp   Sanchez                Frank        America, Inc., et al.                                  Southern District of Texas      10-4223           No
                                                       Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1243   No Stamp   Sanders                Darlyn       Company North America, Inc., et al.                    Southern District of Texas      10-4225           No
 1244   No Stamp   Sanders                Jason        Mitchell, et al. v. BP, PLC, et al.                    Eastern District of Louisiana   10-CV-1472        No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1245   No Stamp   Sandiford              Clarence     America, et al.                                        Southern District of Texas      10-4220           No
                                                       Felix C. Aguilar, et al. vs. BP Company North
 1246   No Stamp   Sandoval               Juan         America, et al.                                        Southern District of Texas      10-4220           No

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                                                             Felix C. Aguilar, et al. vs. BP Company North
 1247   No Stamp         Santa Cruz Alvizo     Victor        America, et al.                                       Southern District of Texas         10-4220            No

 1248   No Stamp         Sarris                George        The Fish Market Restaurant, Inc. v. BP, Plc, et al    Southern District of Alabama       10-4192            No

 1249   No Stamp         Sarris                George        The Fish Market Restaurant, Inc. v. BP, Plc, et al    Southern District of Alabama       10-4192            No

 1250   34767157         Save the Manatee Club               Defenders of Wildlife, et al. v. BP, p.l.c., et al.   Eastern District of Louisiana      2:10-CV-03879      No
 1251   No Stamp         Savoy                 John          Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         No
 1252   No Stamp         Savoy                 Leroy         Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-1752         No
 1253   34494468         Sawyer                Robert                                                              XXXXX                                                 No
                                                             Jack Arias, et al. v. BP Company North America,
 1254   No Stamp         Schiano               Anthony       Inc., et al.                                          Southern District of Texas         10-4224            No
 1255   No Stamp         Schools III           L.P. Lawson   Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         No
 1256   No Stamp         Schools Jr.           Lawson        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         No
 1257   34517999         Schorr                Christopher   Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana      10-2989            No
 1258   34803960         Schorr                Christopher   Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana      10-2989            No
 1259   34517999         Schorr                Kimberly      Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana      10-2989            No
 1260   34803960         Schorr                Kimberly      Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana      10-2989            No
 1261   No Stamp         Scott                 Anthony       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         No
 1262   34472639         Scott                 Karen         Robin v. Seacor Marine                                Eastern District of Louisiana      2:10-CV-01156      No
 1263   No Stamp         Scott                 Robert        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         No
 1264   No Stamp         Sellers               Tyrone        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         No
 1265   No Stamp         Senabandith           Khamphoy      Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana      10-CV-2114         No
                                                             Felix C. Aguilar, et al. vs. BP Company North
 1266   No Stamp         Serrano               Alfredo       America, et al.                                       Southern District of Texas         10-4220            No
                                                             Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1267   No Stamp         Shadowwolf            John          Company North America, Inc., et al.                   Southern District of Texas         10-4225            No
 1268   No Stamp         Shalvey               Stephen       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         No
                                                             Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1269   No Stamp         Shank                 Gwendolyn     Company North America, Inc., et al.                   Southern District of Texas         10-4225            No
                                                             Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1270   No Stamp         Sharp                 Jimmy         Company North America, Inc., et al.                   Southern District of Texas         10-4225            No
                                                             Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1271   No Stamp         Shedrick              Daniel        Company North America, Inc., et al.                   Southern District of Texas         10-4225            No
 1272   34492856         Sheen                 Alan          Roland Hingle, et al. v. BP, PLC, et al.              Eastern District of Louisiana      10-2749            No
 1273   No Stamp         Shelton               Norman        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         No
 1274   No Stamp         Shelton               Steve         Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         No
 1275   No Stamp         Shelvin Sr.           Brad          Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1472         No
                                                             Shemper, Ind & as Proposed Class Rep vs. BP                                              2:10-CV-138-KS-
 1276   34461706         Shemper               Jacob         P.L.C, et al.                                         Southern District of Mississippi   MTP                No

                                                             Cory Shepardson d/b/a Lower Keys Charters, et al.                                        4:10-CV-10054-King-
 1277   34460658        Shepardson             Cory          Ind & as Proposed Class Rep vs. BP P.L.C., et al. Southern District of Florida           Bandstra            No
 1278   No Stamp        Shinto Restaurant                    Le, et al. v. BP, PLC, et al.                     Eastern District of Louisiana          10-CV-2114          No
 1279   No Stamp        Shirley                Richard       Mitchell, et al. v. BP, PLC, et al.               Eastern District of Louisiana          10-CV-1472          No
 1280   34389429        Shivers                Bradley       Bradley Shivers, et al v. BP, PLC, et al          Southern District of Alabama           1:10-CV-381         No
        34478973;344875
 1281   38              Shivers                Bradley       Bradley Shivers, et al v. BP, PLC, et al              Southern District of Alabama       CV-10-0381-B       No



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                                                       (2 Cases) Gulf Restoration Network, et al. v.
                                                       Salazar, et al.; Gulf Restoration Network, et al., v.                                   2:10-CV-01497-KDE-
 1282   No Stamp   Sierra Club, Inc.                   U.S Dep't of the Interior, et al.                       Eastern District of Louisiana   ALC                No
 1283   No Stamp   Sigler                Lee Anthony   Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472         No
 1284   No Stamp   Sigler                Tony          Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472         No
                                                       Juan Esquivel, et al. v. BP Company North
 1285   No Stamp   Silguero              Ubaldo        America, Inc., et al.                                   Southern District of Texas      10-4214           No
                                                       Carden Simcox, et al. v. BP, PLC, et al., 3:10-cv-
 1286   34486543   Simcox                Carden        00514                                                   Middle District of Tennessee    2:10CV-02999      No
 1287   No Stamp   Simmons               Gerald        Capt Ander, Inc. v. BP, PLC, et al.                     Northern District of Florida    10-4205           No

 1288   No Stamp   Simmons               Verna         Darleen Jacobs Levy vs. Transocean, LTD, et al          Eastern District of Louisiana   10-1245           No
 1289   No Stamp   Simon                 John          Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No

 1290   34488008   Simpson               George        George Simpson v. Transocean, LTD; BP, et al.       Southern District of Alabama        1:10-CV-210       No
                                                       Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1291   No Stamp   Sinku                 Jon           Company North America, Inc., et al.                 Southern District of Texas          10-4225           No
 1292   No Stamp   Sisson                Raymond       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472        No
                                                       Hiep Trieu et al. v. BP Exploration and Production,
 1293   34472864   Skrmetta              Louis         Inc. et al.                                         Southern District of Mississippi    1:10CV177-LG-RHW No
 1294   34498422   Smeraglia             Claude        Hopkins, et al. v. Transocean, Ltd., et al.         Southern District of Alabama                         No
 1295   34498422   Smeraglia             Claude        Hopkins, et al. v. Transocean, Ltd., et al.         Southern District of Alabama                         No
 1296   34498422   Smeraglia             Claude        Hopkins, et al. v. Transocean, Ltd., et al.         Southern District of Alabama                         No
 1297   No Stamp   Smith                 Bryan         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472       No
 1298   No Stamp   Smith                 Curtis        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472       No
 1299   No Stamp   Smith                 Dale          Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472       No
 1300   No Stamp   Smith                 Patrick       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472       No
 1301   No Stamp   Smith                 Ruston        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472       No
 1302   34517999   Smith                 Stephen       Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana       10-2989          No
 1303   34803960   Smith                 Stephen       Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana       10-2989          No
 1304   No Stamp   Smith                 Timothy       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472       No
 1305   No Stamp   Smith                 Welford       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472       No
 1306   No Stamp   Smith Jr.             David         Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana       10-CV-1752       No
 1307   No Stamp   Smith Jr.             Willie        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana       10-CV-1472       No
 1308   34492349   Sofronas              James         J.J.S. Properties, Inc. v. BP, PLC, et al           Middle District of Florida          2:10-CV-03082    No

                                                       Professional Bars, Inc. d/b/a Brass Monkey, Ind &                                       4:10-CV-10056-
 1309   34462702   Sorenson-Flowers      Judith        as Proposed Class Rep vs. BP P.L.C., et al.             Southern District of Florida    Martinez/Brown    No
                   Southern Coastal                    Original Oyster House, Inc., et al. v. Transocean
 1310   34491243   Restaurants, LLC                    Holdings, Inc., et al                                   Southern District of Alabama    10-CV-02655       No
                                                       Jack Arias, et al. v. BP Company North America,
 1311   No Stamp   Sparacino             Maria         Inc., et al.                                            Southern District of Texas      10-4224           No
 1312   No Stamp   Sparks                Ron           Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
 1313   No Stamp   Spates                Baylan        Mitchell, et al. v. BP, PLC, et al.                     Eastern District of Louisiana   10-CV-1472        No
                                                       Samuel Chernin, et al. v. BP Company North
 1314   No Stamp   Spaulding             Joy           America, Inc., et al.                                   Southern District of Texas      10-4223           No
 1315   No Stamp   Spell                 Cynthia       Fruge, et al. v. BP, PLC, et al.                        Eastern District of Louisiana   10-CV-1752        No
 1316   34498422   Spina                 Johnnie       Hopkins, et al. v. Transocean, Ltd., et al.             Southern District of Alabama                      No
 1317   34498422   Spina                 Johnnie       Hopkins, et al. v. Transocean, Ltd., et al.             Southern District of Alabama                      No
 1318   34498422   Spina                 Thomas        Hopkins, et al. v. Transocean, Ltd., et al.             Southern District of Alabama                      No
 1319   34475070   St. James, LLC                      Decatur Hotels, LLC, et al vs. BP, PLC, et al           Eastern District of Louisiana   10-1767           No

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 1320   34494009         St. James, LLC                                  Decatur Hotels, LLC, et al vs. BP, PLC, et al         Eastern District of Louisiana          10-1767          No
 1321   34494468         St. Pierre                  Janiu                                                                     XXXXX                                                   No
 1322   No Stamp         Stabler                     Joshua              Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana          10-CV-1472       No
 1323   34482066         Stack                       Gregory             Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.     Northern District of Florida           10-193           No
                                                                         Staley v. BP, PLC, et al., 1:10-CV-181-LG-RHW,
 1324   34470605         Staley                      Jessica             S.D. Miss., Southern Div.                             Southern District of Mississippi       10-2678          No
 1325   No Stamp         Stanley                     Gary                Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana          10-CV-1472       No

                                                                         State of LA & the LA Dept. of Wildlife & Fisheries
                         State of LA & Dept. of                          v. BP Exploration & Production, Inc., BP, PLC, BP
 1326   34472470         Wildlife & Fisheries                            Products North America, Inc., & BP America, Inc    22nd Judicial District, Louisiana         2:10-CV-01760    No
                                                     District Attorney   State of Louisiana versus BP Exploration and
                         State of LA by and          of Lafourche        Production, Inc., P.L.C., BP Products North
 1327   34481079         through the                 Parish              America, Inc., and BP America, Inc.                17th Judicial District Court              10-1757          No
                                                     District Attorney   State of Louisiana versus BP Exploration and
        33481079;344953 State of LA by and           of Lafourche        Production, Inc., P.L.C., BP Products North
 1328   36              through the                  Parish              America, Inc., and BP America, Inc.                17th Judicial District Court              10-1757          No
                        State of LA by and
                        through the District                             State of Louisiana versus BP Exploration and
                        Attorney of Lafourche                            Production, Inc., BP, P.L.C., BP Products North
 1329   34481079        Parish                                           America, Inc., and BP America, Inc.                   17th Judicial District Court           10-1757          No
                                                                         State of Louisiana vs. Triton Asset Leasing,
 1330   34489779         State of Louisiana          N/A                 GMbH, et. Al.                                         Eastern District of Louisiana          10-CV-3059       No
                                                                         State of LA v. BP Exploration & Production Inc.,
                                                                         BP, PLC, BP Products North America, Inc., & BP
 1331   34471708         State of Louisiana                              America, Inc.                                         32nd Judicial District, LA             2:10-CV-01759    No
                                                                         State of LA v. BP Exploration & Production Inc.,
                                                                         BP, PLC, BP Products North America, Inc., & BP        District Court for Parish of Iberia,
 1332   34472619         State of Louisiana                              America, Inc.                                         Louisiana                              6:10-CV-00991    No
                                                                         State of LA v. BP Exploration & Production Inc.,
                                                                         BP, PLC, BP Products North America, Inc., & BP        District Court for Parish of St.
 1333   34472675         State of Louisiana                              America, Inc.                                         Mary, Louisiana                        6:10-CV-00992    No

                         State of Louisiana
                         through District Attorney
                         of Terrebonne Parish,
 1334   34480722         Joe Waitz, Jr.                                  State of Louisiana versus BP, et al., # 160769        32nd Judicial District Court           10-1759          No
                                                                         Jack Arias, et al. v. BP Company North America,
 1335   No Stamp         Steel                       Susan               Inc., et al.                                          Southern District of Texas             10-4224          No
 1336   No Stamp         Steele                      William             Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana          10-CV-1472       No
 1337   34488824         Steinemann                  Kathryn             Sarah H. Moore, et al. v. BP, PLC, et al.             Southern District of Alabama           2:10-CV-03253    No
                                                                         Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1338   No Stamp         Stelly                      Daveene             Company North America, Inc., et al.                   Southern District of Texas             10-4225          No

 1339   34460859         Stelly                      Toby                William Gregoire, et al v. Transocean, Ltd., et al.   Eastern District of Louisiana          02:10-CV-01351   No

 1340   34460859         Stelly                      Veronica            William Gregoire, et al v. Transocean, Ltd., et al.   Eastern District of Louisiana          02:10-CV-01351   No
 1341   No Stamp         Stevenson                   George              Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana          10-CV-1472       No

 1342   No Stamp         Stewart                     Benjamin            Darleen Jacobs Levy vs. Transocean, LTD, et al        Eastern District of Louisiana          10-1245          No


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 1343   No Stamp   Stewart                   Michael      Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana    10-1245           No

 1344   No Stamp   Stewart                   Regina       Darleen Jacobs Levy vs. Transocean, LTD, et al Eastern District of Louisiana          10-1245           No
 1345   No Stamp   Stewart Jr.               John         Mitchell, et al. v. BP, PLC, et al.            Eastern District of Louisiana          10-CV-1472        No
 1346   No Stamp   Stilts                    Steven       Mitchell, et al. v. BP, PLC, et al.            Eastern District of Louisiana          10-CV-1472        No
                                                          Cause No. 2010-25245: In Re: Stephen Stone and
                                                          Sara Stone v. Transocean Offshore Deepwater    District Court of Harris County,       2:10-CV-03168-CJB-
 1347   34417108   Stone                     Sara         Drilling, Inc., et al                          Texas                                  SS                 No
                                                          Cause No. 2010-25245: In Re: Stephen Stone and
                                                          Sara Stone v. Transocean Offshore Deepwater    District Court of Harris County,       2:10-CV-03168-CJB-
 1348   34417343   Stone                     Sara         Drilling, Inc., et al                          Texas                                  SS                 No
                                                          Cause No. 2010-25245: In Re: Stephen Stone and
                                                          Sara Stone v. Transocean Offshore Deepwater    District Court of Harris County,       2:10-CV-03168-CJB-
 1349   34417108   Stone                     Stephen      Drilling, Inc., et al                          Texas                                  SS                 No
                                                          Cause No. 2010-25245: In Re: Stephen Stone and
                                                          Sara Stone v. Transocean Offshore Deepwater    District Court of Harris County,       2:10-CV-03168-CJB-
 1350   34417343   Stone                     Stephen      Drilling, Inc., et al                          Texas                                  SS                 No
                                                          Dr. Seymour Stricker, Ind & as Proposed Class                                         3:10-CV-00229-LC-
 1351   34463141   Stricker                  Seymour      Rep vs. BP P.L.C., et al.                      Northern District of Florida           EMT                No
 1352   No Stamp   Summers                   Marvin       Mitchell, et al. v. BP, PLC, et al.            Eastern District of Louisiana          10-CV-1472         No

                                                          Copeland's of New Orleans, Inc.; Cheesecake
 1353   34474635   Sweet Fire & Ice, LLC                  Bistro, LLC; and Sweet Fire & Ice, LLC v. BP, PLC Eastern District of Louisiana       10-1926           No

                                                          Copeland's of New Orleans, Inc.; Cheesecake
 1354   34493900   Sweet Fire & Ice, LLC                  Bistro, LLC; and Sweet Fire & Ice, LLC v. BP, PLC Eastern District of Louisiana       10-1926           No
 1355   No Stamp   Swire                     Lionel       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752        No
                                                          Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 1356   34491243   T & E Seafood, Inc.                    et al.                                                Southern District of Alabama    10-CV-02643       No
 1357   No Stamp   T & T Foot Mart, Inc.                  Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114        No
 1358   No Stamp   Ta                        Ly           Le, et al. v. BP, PLC, et al.                         Eastern District of Louisiana   10-CV-2114        No
                                                          Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1359   No Stamp   Talebli                   Robert       Company North America, Inc., et al.                   Southern District of Texas      10-4225           No
 1360   34486250   Taliancich                Bartol       Bartol John Taliancich, Sr. v. BP, PLC, et al         Eastern District of Louisiana   10-1489           No
                                                          Felix C. Aguilar, et al. vs. BP Company North
 1361   No Stamp   Tamay                     Edgar        America, et al.                                       Southern District of Texas      10-4220           No
                                                          Troy Wetzel, et al v. Transocean Ltd., et al
 1362   34472831   Tayamen                   Mark         (Intervenor)                                          Eastern District of Louisiana   10-1222           No
                                                          Troy Wetzel, et al v. Transocean Ltd., et al
 1363   34492944   Tayamen                   Mark         (Intervenor)                                          Eastern District of Louisiana   10-1222           No
 1364   34488824   Taylor                    Jessica      Sarah H. Moore, et al. v. BP, PLC, et al.             Southern District of Alabama    2:10-CV-03253     No

 1365   No Stamp   Terrebonne                Paul         Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana    10-1245           No
 1366   No Stamp   Tezeno                    Bobby        Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752        No
 1367   No Stamp   Thach                     Vil          Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana    10-CV-2114        No
 1368   No Stamp   Thai                      Tam          Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana    10-CV-2114        No
 1369   No Stamp   Theall                    Danny        Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752        No
                                                          Rodney Theriot v. Halliburton Energy Services,
 1370   34490672   Theriot                   Rodney       Inc., et al.                                         Eastern District of Louisiana    10-1560           No


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                                                                                                                                                1:10-CV-00280-LG-
 1371   34494243   Thigpen                  Grady        Grady Thigpen, et al. v. BP, PLC, et. al.           Southern District of Mississippi   RHW                 No
                                                                                                                                                1:10-CV-00280-LG-
 1372   34494301   Thigpen                  Grady        Grady Thigpen, et al. v. BP, PLC, et. al.           Southern District of Mississippi   RHW                 No
 1373   No Stamp   Thomas                   Damien       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472          No
 1374   No Stamp   Thomas                   Junius       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472          No
                                                         Felix C. Aguilar, et al. vs. BP Company North
 1375   No Stamp   Thomas                   Samuel       America, et al.                                     Southern District of Texas         10-4220             No
 1376   No Stamp   Thornton Jr.             Bernard      Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana      10-CV-1752          No
                                                         Three Captains, Inc., Individually and on Behalf of
                                                         all Persons Similarly Situated, Plaintiff, v.
                                                         Transocean, Ltd., BP, P.LC., Transocean Offshore
                                                         Deepwater Drilling, Inc., Transocean Deepwater,
                                                         Inc., Products North America, Inc., Halliburton
 1377   34489984   Three Captains, Inc.                  Energy Servi                                        Southern District of Florida                           No
                                                         Three Captains, Inc., Individually and on Behalf of
                                                         all Persons Similarly Situated, Plaintiff, v.
                                                         Transocean, Ltd., BP, P.LC., Transocean Offshore
                                                         Deepwater Drilling, Inc., Transocean Deepwater,
                                                         Inc., Products North America, Inc., Halliburton
 1378   34490268   Three Captains, Inc.                  Energy Servi                                        Southern District of Florida                           No
                                                         Three Captains, Inc., Individually and on Behalf of
                                                         all Persons Similarty Situated, Plaintiff, v.
                                                         Transocean, Ltd., BP, PLC Transocean Offshore
                                                         Deepwater Drilling, Inc., Transocean Deepwater,
                                                         Inc., Products North America, Inc., Halliburton
 1379   34488198   Three Captains, Inc.                  Energy Services                                     Southern District of Florida                           No
                                                         Felix C. Aguilar, et al. vs. BP Company North
 1380   No Stamp   Tinoco                   Cesar        America, et al.                                     Southern District of Texas         10-4220             No
 1381   35676213   Tobatex, Inc.            N/A          Tobatex, Inc., et al v. BP, P.L.C., et al           Eastern District Louisiana         Blank               No
 1382   No Stamp   Ton                      Trinh        Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana      10-CV-2114          No

 1383   No Stamp   Torregano                Sandra       Darleen Jacobs Levy vs. Transocean, LTD, et al      Eastern District of Louisiana      10-1245             No
                                                         Felix C. Aguilar, et al. vs. BP Company North
 1384   No Stamp   Torres                   Thomas       America, et al.                                     Southern District of Texas         10-4220             No
 1385   No Stamp   Tougas                   Michael      Mitchell, et al. v. BP, PLC, et al                  Eastern District of Louisiana      10-CV-1472          No
 1386   No Stamp   Toups                    James        Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana      10-CV-1752          No
 1387   No Stamp   Toups                    Linwood      Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana      10-CV-1752          No
                                                         Alpasito, Inc., et al. v. BP Company North America,
 1388   34487414   Tower                    Leonor       Inc., et al.                                        Southern District of Texas         10-4216             No
                                                         Alpasito, Inc., et al. v. BP Company North America,
 1389   No Stamp   Tower                    Leonor       Inc., et al.                                        Southern District of Texas         10-4216             No
                                                         Alpasito, Inc., et al. v. BP Company North America,
 1390   No Stamp   Tower                    Leonor       Inc., et al.                                        Southern District of Texas         10-4216             No
                                                         Alpasito, Inc., et al. v. BP Company North America,
 1391   No Stamp   Tower                    Leonor       Inc., et al.                                        Southern District of Texas         10-4216             No
                                                         Alpasito, Inc., et al. v. BP Company North America,
 1392   No Stamp   Tower                    Leonor       Inc., et al.                                        Southern District of Texas         10-4216             No
                                                         Alpasito, Inc., et al. v. BP Company North America,
 1393   No Stamp   Tower                    Leonor       Inc., et al.                                        Southern District of Texas         10-4216             No
 1394   No Stamp   Trahan                   Richard      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472          No

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 1395   No Stamp   Tran                      Bien          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1396   No Stamp   Tran                      Billy         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1397   No Stamp   Tran                      Binh          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1398   No Stamp   Tran                      Canh          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1399   No Stamp   Tran                      Che           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1400   No Stamp   Tran                      Duong         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1401   No Stamp   Tran                      Duyen         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1402   No Stamp   Tran                      Em            Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1403   No Stamp   Tran                      Ha            Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1404   No Stamp   Tran                      Kim           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1405   No Stamp   Tran                      Liep          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1406   No Stamp   Tran                      Manh          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1407   No Stamp   Tran                      Micki         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1408   No Stamp   Tran                      Nhan          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1409   No Stamp   Tran                      Tai           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1410   No Stamp   Tran                      Thang         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1411   No Stamp   Tran                      Thanh         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1412   No Stamp   Tran                      Tu            Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
                                                           Paul Monroe; W. Edward Trehern v. BP, PLC, et
 1413   No Stamp   Trehern                   W.            al.                                                Southern District of Alabama       10-4194       No
                                                           W. Edward Trehern; Trehern Insvestments L.L.C.
 1414   No Stamp   Trehern                   W.            v. BP, PLC, et al.                                 Southern District of Mississippi   10-4213       No
                                                           W. Edward Trehern; Trehern Insvestments L.L.C.
 1415   No Stamp   Trehern                   W.            v. BP, PLC, et al.                                 Southern District of Mississippi   10-4213       No
 1416   No Stamp   Trejo                     Gregorio      Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana      10-CV-1752    No
 1417   No Stamp   Troung                    Phuong        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1418   No Stamp   Truong                    Kham          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1419   No Stamp   Truong                    Pat (Phuoc)   Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1420   34477318   Truong                    Tho           Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana      10-CV-2114    No
 1421   34517999   Tsoukalas                 Chris         Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana      10-2989       No
 1422   34803960   Tsoukalas                 Chris         Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana      10-2989       No
                   Tu do Vietnamese
 1423   No Stamp   Restaurant, Inc.                        Le, et al. v. BP, PLC, et al.                       Eastern District of Louisiana     10-CV-2114    No
                                                           Glynis H.Wright; Janille Turner; et. al. v. BP, PLC
 1424   34494570   Turner                    Janille       et al.                                              Southern District of Alabama      10-3263       No
                   Two Headed Shark LLC                    Two Headed Shark, LLC d/b/a Ripley's Believe it
                   d/b/s Replay's Believe it               or Not! V.Transocean, et al. - Case 4:10-cv-10038-
 1425   34471996   or Not                                  KMM                                                 Southern District of Florida      2:10CV03108   No
 1426   No Stamp   Underwood                 Louis         Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana     10-CV-1472    No
                                                           Juan Esquivel, et al. v. BP Company North
 1427   No Stamp   Urdrales                  Jose          America, Inc., et al.                               Southern District of Texas        10-4214       No
                                                           2010-25245; Kleppinger, et al vs. Transocean, et District Court of Harris County,
 1428   34438317   Ussin                     Dominique     al                                                  Texas                             10-3168       No
                                                           2010-25245; Kleppinger, et al vs. Transocean, et District Court of Harris County,
 1429   34456028   Ussin                     Dominique     al                                                  Texas                             10-3168       No

                                                           Timmons Restaurant Partners, Ltd. d/b/a Tony's, et
 1430   34487414   Vallone                   Lauri         al. vs. BP Company North America, et al            Southern District of Texas         10-4237       No

                                                           Timmons Restaurant Partners, Ltd. d/b/a Tony's, et
 1431   No Stamp   Vallone                   Lauri         al. vs. BP Company North America, et al            Southern District of Texas         10-4237       No

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                                                    Timmons Restaurant Partners, Ltd. d/b/a Tony's, et
 1432   No Stamp   Vallone             Lauri        al. vs. BP Company North America, et al            Southern District of Texas          10-4237          No
                                                    Felix C. Aguilar, et al. vs. BP Company North
 1433   No Stamp   Vasquez             Bryan        America, et al.                                    Southern District of Texas          10-4220          No
                                                    Felix C. Aguilar, et al. vs. BP Company North
 1434   No Stamp   Vasquez             Manuel       America, et al.                                    Southern District of Texas          10-4220          No
                                                    Felix C. Aguilar, et al. vs. BP Company North
 1435   No Stamp   Vela Villanueva     Faustino     America, et al.                                    Southern District of Texas          10-4220          No
 1436   No Stamp   Venette             Desire       Vincent Coratella, et al v. BP, PLC, et al         Middle District of Florida          2:10-CV-03083    No
 1437   No Stamp   Veney               Kendrick     Mitchell, et al. v. BP, PLC, et al.                Eastern District of Louisiana       10-CV-1472       No
                                                    Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1438   No Stamp   Vincent             James        Company North America, Inc., et al.                Southern District of Texas          10-4225          No
 1439   No Stamp   Vo                  Dung         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana       10-CV-2114       No
 1440   No Stamp   Vo                  Loi          Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana       10-CV-2114       No
 1441   No Stamp   Vo                  Minh         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana       10-CV-2114       No
 1442   No Stamp   Vo                  Phoung       Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana       10-CV-2114       No
 1443   No Stamp   Vo                  Quoc         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana       10-CV-2114       No
 1444   No Stamp   Vu                  Hoang        Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana       10-CV-2114       No
 1445   No Stamp   Vu                  Kim-Anh      Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana       10-CV-2114       No
 1446   No Stamp   Vu                  Luot         Le, et al. v. BP, PLC, et al.                      Eastern District of Louisiana       10-CV-2114       No

 1447   No Stamp   Waddell             David        Darleen Jacobs Levy vs. Transocean, LTD, et al     Eastern District of Louisiana       10-1245          No

 1448   No Stamp   Waddell             Sharon       Darleen Jacobs Levy vs. Transocean, LTD, et al      Eastern District of Louisiana      10-1245          No
 1449   No Stamp   Waddy               Kelvin       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472       No
 1450   34488824   Waite               Bobby        Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama       2:10-CV-03253    No
 1451   34488824   Waite               Mary         Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama       2:10-CV-03253    No
 1452   No Stamp   Walker              Charlie      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472       No
 1453   No Stamp   Wallace             Claude       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472       No
                                                    Alpasito, Inc., et al. v. BP Company North America,
 1454   No Stamp   Waller              Michael      Inc., et al.                                        Southern District of Texas         10-4216          No
                                                    Samuel Chernin, et al. v. BP Company North
 1455   No Stamp   Walsh               Stephen      America, Inc., et al.                               Southern District of Texas         10-4223          No
 1456   No Stamp   Walter              Brian        Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana      10-CV-1752       No
                                                                                                        2nd Judicial Circuit Leon County
 1457   34695706   Walton              Mary         Walton, et. al v. BP, plc, et. al.                  FL                                 N/A              No
                                                    Kevin Ware, Ind & as Proposed Class Rep vs. BP                                         4:10-CV-10069-
 1458   34461444   Ware                Kevin        P.L.C., et al.                                      Southern District of Florida       Martinez/Brown   No
 1459   34498422   Warhurst            Laverne      Hopkins, et al. v. Transocean, Ltd., et al.         Southern District of Alabama                        No
 1460   34498422   Warhurst            Martha       Hopkins, et al. v. Transocean, Ltd., et al.         Southern District of Alabama                        No
 1461   34517999   Waronker            Steven       Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana      10-2989          No
 1462   34803960   Waronker            Steven       Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana      10-2989          No
 1463   No Stamp   Washington          Robert       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472       No
                                                    Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1464   No Stamp   Washington          Thaddeus     Company North America, Inc., et al.                 Southern District of Texas         10-4225          No
 1465   No Stamp   Watson              Isadore      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472       No
 1466   No Stamp   Watson              Shaun        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472       No
                                                    Mobile Fixture & Equipment Company, Inc. v. BP,
 1467   No Stamp   Watson              Tom          Plc, et al                                          Southern District of Alabama       10-3262          No
 1468   No Stamp   Weissmann           Richard      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472       No

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 1469   34477541         Wells                  Edwin         Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.      Northern District of Florida   10-193          No
 1470   34479233         Wells                  Julia         Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.      Northern District of Florida   10-193          No
 1471   34480010         Wells                  Melinda       Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.      Northern District of Florida   10-193          No
 1472   34479915         Wells                  Vance Keith   Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.      Northern District of Florida   10-193          No
                                                              Sunrise Rentals Enterprises, et al v. BP, Plc., et al;
 1473   34479400         Wendelburg             Carrie        10-CV-261                                              Southern District of Alabama   10-3248         No
                                                              Sunrise Rentals Enterprises, et al v. BP, Plc., et al;
 1474   34482632         Wendelburg             Carrie        10-CV-261                                              Southern District of Alabama   10-3248         No
                                                              Michelle West, et al. v. BP, PLC et al. (10-CV-274
 1475   34473237         West                   Michelle      ND FL)                                                 Northern District of Florida                   No
                         West Park Market &
 1476   No Stamp         Dell, Inc.                           Le, et al. v. BP, PLC, et al.                        Eastern District of Louisiana    10-CV-2114      No

                                                              Troy Wetzel, Extreme Fishing, LLC and a Class of
                                                              Similarly Situated Individuals and Entities v.
                                                              Transocean, BP LLC. "A,B, and C Insurance
                                                              Companies as Insurers of Transocean and "X,Y
 1477   34399862         Wetzel                 Troy          and Z" Insurance Companies as Insurers               Eastern District of Louisiana    2:10-CV-01222   No
                                                              Felix C. Aguilar, et al. vs. BP Company North
 1478   No Stamp         White                  Alan          America, et al.                                      Southern District of Texas       10-4220         No
 1479   No Stamp         White                  Eddie         Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana    10-CV-1752      No
                                                              Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1480   No Stamp        White                   Mike          Company North America, Inc., et al.                  Southern District of Texas       10-4225         No
 1481   No Stamp        White                   Willard       Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472      No
 1482   No Stamp        White                   Willard       Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana    10-CV-1472      No
        34450953;344529
 1483   37              Whittinghill            Clay          Whittinghill v. Abdon Callais Offshore, LLC           Eastern District of Louisiana   10-01984        No
 1484   No Stamp        Whittington             Phillip       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      No
                                                              Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 1485   34491243         Wilkerson              Billy         et al.                                                Southern District of Alabama    10-CV-02643     No
                                                              Billy Wilkerson, et al. v. Transocean Holdings, Inc.,
 1486   34491243         Wilkerson              Tessa         et al.                                                Southern District of Alabama    10-CV-02643     No
 1487   No Stamp         Williams               Beatrice      Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      No
 1488   No Stamp         Williams               Carlton       Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 1489   No Stamp         Williams               Dennis        Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 1490   No Stamp         Williams               Dimitrik      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 1491   No Stamp         Williams               John          Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      No
 1492   No Stamp         Williams               Michael       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      No
 1493   No Stamp         Williams               Nicholas      Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 1494   No Stamp         Williams               Randall       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      No
 1495   No Stamp         Williams               Romona        Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      No
 1496   No Stamp         Williams               Solomon       Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      No
                                                              Mobile Fixture & Equipment Company, Inc. v. BP,
 1497   No Stamp         Williams               Taylor        Plc, et al                                            Southern District of Alabama    10-3090         No
                                                              Samuel Chernin, et al. v. BP Company North
 1498   No Stamp         Williams               Willie        America, Inc., et al.                                 Southern District of Texas      10-4223         No
 1499   No Stamp         Williams Jr.           Anderson      Fruge, et al. v. BP, PLC, et al.                      Eastern District of Louisiana   10-CV-1752      No
 1500   34479679         Williamson             Angel         Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.     Northern District of Florida    10-193          No
 1501   34479792         Williamson             Michael       Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al.     Northern District of Florida    10-193          No
 1502   No Stamp         Willis                 David         Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No
 1503   No Stamp         Willis                 Ryan          Mitchell, et al. v. BP, PLC, et al.                   Eastern District of Louisiana   10-CV-1472      No

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                                               Ecco Solutions d/b/a Ecco Fish USA, et al. v. BP
 1504   No Stamp   Willits       Thomas        Company North America, Inc., et al.                 Southern District of Texas         10-4225            No
 1505   No Stamp   Wilmore       Christopher   Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472         No
                                               Bobby Wilson, Ind & as Proposed Class Rep vs.                                          1:10-CV-00263-HSO-
 1506   34460306   Wilson        Bobby         BP P.L.C., et al.                                   Southern District of Mississippi   JMR                No
 1507   No Stamp   Wiltz         Felton        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472         No
 1508   34488824   Woddail       Laura         Sarah H. Moore, et al. v. BP, PLC, et al.           Southern District of Alabama       2:10-CV-03253      No

 1509   No Stamp   Wolfson       Neil          Darleen Jacobs Levy vs. Transocean, LTD, et al       Eastern District of Louisiana     10-1245           No
 1510   34487133   Wood          Edward        Woods Fisheries, Inc. v. B.P., PLC., et al.          Northern District of Florida      2:10-CV-03104     No
 1511   34493417   Wood          Edward        Woods Fisheries, Inc. v. B.P., PLC., et al.          Northern District of Florida      2:10-CV-03104     No
                                               Glynis H.Wright; Janille Turner; et. Al. v. BP, PLC,
 1512   34494505   Wright        Glynis        et al.                                               Southern District of Alabama      10-3263           No
 1513   No Stamp   Wright        Kent          Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana     10-CV-1752        No
                                               John Wunstell, Jr and Kelly Blanchard v. BP, PLC, District Court for Parish of
 1514   34492865   Wunstell      John          et al                                                Orleans, Louisiana                10-2543           No
 1515   34478457   Wyss          William       Weiss v. Transocean, Ltd. et al                      Southern District of Florida      2:10CV02978       No

 1516   34457920   Wyss          William       Weiss v. Transocean, Ltd. et al                     Southern District of Florida       4:10-CV-10044-KMM No
 1517   No Stamp   Yates         William       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472        No
 1518   No Stamp   Young         Franklin      Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472        No
 1519   No Stamp   Young         Jimmy         Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana      10-CV-1752        No
 1520   No Stamp   Young         Ronald        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472        No
 1521   No Stamp   Young Jr.     Robert        Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana      10-CV-1472        No
                                               Felix C. Aguilar, et al. vs. BP Company North
 1522   No Stamp   Zapata        Edgar         America, et al.                                     Southern District of Texas         10-4220           No
                                               Juan Exquivel, et al. v. BP Company North
 1523   No Stamp   Zapata        Juan          America, Inc., et al.                               Southern District of Texas         10-4214           No
                                               Felix C. Aguilar, et al. vs. BP Company North
 1524   No Stamp   Zapata        Nicolas       America, et al.                                     Southern District of Texas         10-4220           No
                                               Felix C. Aguilar, et al. vs. BP Company North
 1525   No Stamp   Zapata        Oscar         America, et al.                                     Southern District of Texas         10-4220           No
 1526   No Stamp   Zeno          Terry         Fruge, et al. v. BP, PLC, et al.                    Eastern District of Louisiana      10-CV-1752        No
                                               Juan Esquivel, et al. vs. BP Company North
 1527   No Stamp   Zepeda        Rolando       America, Inc., et al.                               Southern District of Texas         10-4214           No




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                                                                                                   Original EDLA                                   Number of Plaintiffs
                                                                                Original-Filed      Civil Action                                    Associated With
                                     Case Caption                                  District           Number     OPA Cause of Action in Complaint?  Each Complaint
                                                                            TX -District Court -
 1      Benny Arispe, et al v. BP Exploration and Production, Inc., et al                          .10-4235      N                                    124
                                                                            Harris County

                                                                            USDC - Southern                      N (paragraph 7.1 states OPA Claims
 2      Cindy T. Nguyen v. BP, PLC et al                                                           .10-3176                                           1
                                                                            District of Texas                    are not ripe)

                                                                            TX -District Court -                 N (paragraph 7.1 states OPA Claims
 3      Cuch Nguyen, et al v. BP Exploration and Production, Inc., et al                           .10-3188                                           2396
                                                                            Harris County                        are not ripe)

                                                                            TX -District Court -
 4      Doanh Tran, et al v. BP Exploration and Production, Inc. et al                             .10-4228      N                                    7640
                                                                            Harris County

                                                                            TX -District Court -
 5      Doan V. Pham, et al v. BP Exploration and Production Inc. et al                            .10-4238      N                                    157
                                                                            Harris County

                                                                            USDC - Southern                      N (paragraph 8.1 states OPA Claims
 6      Do, et al v. BP, PLC et al                                                                 .10-3180                                           307
                                                                            District of Texas                    are not ripe)

                                                                            USDC - Southern                      N (paragraph 8.1 states OPA Claims
 7      Dong Nguyen, et al v. BP, PLC, et al                                                       .10-3171                                           650
                                                                            District of Texas                    are not ripe)

                                                                            USDC - Southern                      N (paragraph 9.1 states OPA Claims
 8      Duc Truong Le, et al v. BP, PLC, et al                                                     .10-3173                                           1938
                                                                            District of Texas                    are not ripe)

                                                                            USDC - Southern                      N (paragraph 8.1 states OPA Claims
 9      Lam, et al v. BP PLC et al                                                                 .10-3183                                           513
                                                                            District of Texas                    are not ripe)

                                                                            USDC - Southern                      N (paragraph 9.1 states OPA Claims
 10     Le, et al v. BP, PLC et al                                                                 .10-3189                                           415
                                                                            District of Texas                    are not ripe)

                                                                            USDC - Southern                      N (paragraph 8.1 states OPA Claims
 11     Mai, et al v. BP, PLC et al                                                                .10-3190                                           65
                                                                            District of Texas                    are not ripe)

                                                                            USDC - Southern                      N (paragraph 9.1 states OPA Claims
 12     Ngo, et al v. BP Exploration and Production Inc. et al                                     .10-4233                                           6599
                                                                            District of Texas                    are not ripe)

                                                                            USDC - Southern                      N (paragraph 8.1 states OPA Claims
 13     Nguyen, et al v. BP Exploration and Production, Inc. et al                                 .10-4234                                           58
                                                                            District of Texas                    are not ripe)
                                                                            USDC - Southern                      N (paragraph 7.1 states OPA Claims
 14     Nguyen, et al v. BP PLC et al                                                              .10-4230                                           33
                                                                            District of Texas                    are not ripe)


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                                                                        USDC - Southern                   N (paragraph 7.1 states OPA Claims
 15     Nguyen, et al v. BP PLC et al                                                          .10-3182                                        1169
                                                                        District of Texas                 are not ripe)
                                                                        USDC - Southern                   N (paragraph 7.1 states OPA Claims
 16     Nguyen, et al v. BP PLC et al                                                          .10-3193                                        51
                                                                        District of Texas                 are not ripe)
                                                                        USDC - Southern                   N (paragraph 7.1 states OPA Claims
 17     Shun Y. Chu, et al v. BP, PLC, et al                                                   .10-3174                                        1701
                                                                        District of Texas                 are not ripe)
                                                                        USDC - Southern                   N (paragraph 8.1 states OPA Claims
 18     Tran, et al v. BP Exploration and Production, Inc. et al                               .10-4232                                        2554
                                                                        District of Texas                 are not ripe)

                                                                        USDC - Southern                   N (paragraph 8.1 states OPA Claims
 19     Tran, et al v. BP Exploration and Production, Inc. et al                               .10-4231                                        304
                                                                        District of Texas                 are not ripe)

                                                                        USDC - Southern                   N (paragraph 9.1 states OPA Claims
 20     Tran, et al v. BP , PLC et al                                                          .10-3179                                        4119
                                                                        District of Texas                 are not ripe)

                                                                        USDC - Southern                   N (paragraph 8.1 states OPA Claims
 21     Thum M. Le, et al v. BP, PLC, et al                                                    .10-3172                                        809
                                                                        District of Texas                 are not ripe)

        Tran Ngoc Dung, et al v. BP Exploration and Production, Inc.,   TX -District Court -
 22                                                                                            .10-3178   N                                    3086
        et al                                                           Harris County

                                                                        USDC - Southern                   N (paragraph 8.1 states OPA Claims
 23     Van, et al v. BP, PLC et al                                                            .10-3181                                        813
                                                                        District of Texas                 are not ripe)

                                                                        USDC - Southern                   N (paragraph 8.1 states OPA Claims
 24     Vo, et al v. BP, PLC et al                                                             .10-3191                                        681
                                                                        District of Texas                 are not ripe)

                                                                        USDC - Southern                   N (paragraph 8.1 states OPA Claims
 25     Xuan V. Nguyen, et al v. BP, PLC et al.                                                .10-3170                                        3819
                                                                        District of Texas                 are not ripe)




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          Lexis Nexis                                                                                                                                                               Underlying   Complaint Alleges
        File & Serve E-                                                                                                                                                             Complaint     Complied with
            Service         Plaintiff Last     Plaintiff First                                                                                             Original EDLA Civil     Alleges OPA      Presention
            Number             Name                Name                         Original Case Caption                           Original Court               Action Number       Cause of Action? Requirements?

 1      34444754          [Illegible]        Paul                A Bar & Grill with a Bite, Inc., et al v. BP, PLC, et al Eastern District of Louisiana   10-04199               Yes             No

 2      34486183          Abadie             Al                  Abadie, et al vs. BP, P.L.C, et al                     Eastern District of Louisiana     2:10 CV 2116           Yes             No

 3      34486183          Abadie             Don                 Abadie et al vs. BP, PLC et al                         Eastern District of Louisiana     2:10 CV 2116           Yes             No
 4      34471244          Alexie             Felix               Felix Alexie, Jr., et al. v. BP, PLC, et al.           USDC, Eastern District            10-1250                Yes             No

 5      No Stamp          Alleman            Gerald              Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana     2:10-CV-01452          Yes             No

 6      No Stamp          Alleman            Gerald              Schmalz et al v. Transocean Ltd et al.             Eastern District of Louisiana         2:10-CV-01452          Yes             No
                                                                 Acy J. Cooper, Jr., et al. v. BP, PLC, BP Products
 7      34491967          Anderson           Ronald              North AAM., et al.                                 Eastern District of Louisiana                                Yes             No
                                                                 American Gulf Seafood LLC, et al. vs. BP, PLC, et
 8      34486281          Annalaro           Paul                al.                                                Eastern District of Louisiana         2:10-CV-01970          Yes             No

 9      34486183          Atkins             Ralph               Abadie, et al vs. BP, P.L.C, et al                     Eastern District of Louisiana     2:10 CV 2116           Yes             No

 10     34486183          Aucoin             Earl                Abadie, et al vs. BP, P.L.C, et al                     Eastern District of Louisiana     2:10 CV 2116           Yes             No

 11     34482005          Baas, Jr.          Fredrick            Charles C. Elmer, et al. v. BP, P.L.C, et al.          Eastern District of Louisiana     10-1515                Yes             No
                                                                                                                        Southern District of
 12     34489593          Baker              Cliff               Sevel et al v. BP, PLC, et al                          Mississippi                       1:10-CV-00179          Yes             No

 13     34486183          Ballard            Albert              Abadie, et al vs. BP, P.L.C, et al                     Eastern District of Louisiana     2:10 CV 2116           Yes             No
                                                                 Bruce Kyle Bang v. BP, PLC, BP Products North                                            2:10-CV-02097-CJB-
 14     34422543          Bang               Bruce               America, Inc., et al                                   Eastern District of Louisiana     SS                     Yes             No

 15     No Stamp          Bannon             Stephen             Schmalz et al v. Transocean Ltd et al.                 Eastern District of Louisiana     2:10-CV-01452          Yes             No
                                                                 Captain Kenny Barhanovich v. BP, plc, BP               U.S Dist. Court for Southern
 16     34600104          Barhanovich        Kenny               Products of North America, Inc., et al                 Dist.of Miss.                                            Yes             No
                                                                                                                        Southern District of              2:10-CV-03267-CJB-
 17     34474893          Barker             Daniel              Daniel Barker, et al vs. BP, et al (See Below)         Mississippi                       SS                     Yes             No

 18     34490452          Barnes             Harry               Jud and Sherri Smith, et al. v. BP, PLC, et al.        Southern District of Alabama 1:10-CV-200                 Yes             No
 19     34441279          Baron              Ned                 Ben Nelson, et al. v. Transocean, Ltd., et al.         Southern District of Texas   3:10-CV-00172               Yes             No
 20     34447079          Baron              Ned                 Ben Nelson, et al. v. Transocean, Ltd., et al.         Southern District of Texas   3:10-CV-00172               Yes             No
                                                                 American Gulf Seafood LLC, et al. vs. BP, PLC, et
 21     34486281          Barthelomew        Wanda               al.                                                    Eastern District of Louisiana     2:10-CV-01970          Yes             No

 22     No Stamp          Bateman            James               Schmalz et al v. Transocean LTD, et al                 Eastern District of Louisiana     2:10-CV-01452          Yes             No

 23     34490452          Ben-Rip-J, Inc.    N/A                 Jud and Sherri Smith, et al. v. BP, PLC, et al.        Southern District of Alabama 1:10-CV-200                 Yes             No

 24     No Stamp          Bernius            Cyril               Schmalz et al v. Transocean Ltd et al.           Eastern District of Louisiana           2:10-CV-01452          Yes             No
                                                                 Capt. Charlie Thomason's Bayou Charters, INC. et
                                                                 al vs. BP, PLC, BP Products North America, Inc.,
 25     34493944          Betzer             Kevin               et al                                            Eastern District of Louisiana           10-CV-01422            Yes             No


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                                                     American Gulf Seafood LLC, et al. vs. BP, PLC, et
 26     34486281   Biggs              Jerry          al.                                               Eastern District of Louisiana          2:10-CV-01970   Yes   No

 27     34486183   Billiot            Joseph         Abadie et al vs BP, P.L.C. et al                 Eastern District of Louisiana           2:10 CV 2116    Yes   No
                                                     Capt. Charlie Thomason's Bayou Charters, INC. et
                                                     al vs. BP, PLC, BP Products North America, Inc.,
 28     34494063   BK&D Properties                   et al                                            Eastern District of Louisiana           10-CV-01422     Yes   No
                                                     Capt. Charlie Thomason's Bayou Charters, INC. et
                                                     al vs. BP, PLC, BP Products North America, Inc.,
 29     34494131   Blache             Alan           et al                                            Eastern District of Louisiana           10-CV-01422     Yes   No

 30     No Stamp   Black              Kevin          Schmalz et al v. Transocean Ltd et al.                  Eastern District of Louisiana    2:10-CV-01452   Yes   No
                                                     Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                     al vs. BP, PLC, BP Products North America, Inc.,
 31     34494197   Blanchard          Chad           et al                                                   Eastern District of Louisiana    10-CV-01422     Yes   No
                                                     Octa J. Bonin and Norma J. Bonin vs. BP America
 32     34447949   Bonin, et al       Octa           Inc., et al                                             Eastern District of Louisiana    10-4272         Yes   No
                                                     A Bar & Grill with A Bite, Inc, et al. v. BP, PLC, et
 33     34491781   Borges             William        al.                                                     Eastern District of Louisiana    10-1499         Yes   No
                                                     American Gulf Seafood LLC, et al. vs. BP, PLC, et
 34     34486281   Bosarge            Richard        al.                                                     Eastern District of Louisiana    2:10-CV-01970   Yes   No
                                                                                                             Southern District of
 35     34494744   Bosarge            Robert         Sevel, et al v. BP, PLC, et al                          Mississippi                      2:10CV02677     Yes   No

                   BRB Enterprises,
 36     34478170   L.L.C.                            Richard C. Brondum, et al v. BP, PLC, et al             Eastern District of Louisiana    2:10-CV-1613    Yes   No
                                                     Van Duyn v. BP, PLC, et al., 1:10-cv-183-HSO-           Southern District of
 37     34470605   Breme              Margaret       JMR, S.D. Miss., Southern Div.                          Mississippi                      10-2680         Yes   No

 38     34443201   Brigtsen           Frank          A Bar & Grill with a Bite, Inc., et al v. BP, PLC, et al Eastern District of Louisiana   10-01499        Yes   No

 39     34444148   Brigtsen           Frank          A Bar & Grill with a Bite, Inc., et al v. BP, PLC, et al Eastern District of Louisiana   10-01499        Yes   No

 40     No Stamp   Brondum            Richard        Richard C. Brondum, et al v. BP, PLC, et al             Eastern District of Louisiana    2:10-CV-1613    Yes   No

                                                     Key West Tiki Charters, Inc., et al. v. Transocean,
 41     34490989   Burge              Michael        Ltd., et al Case No. 4:10-cv-10039-KMM                  Southern District of Florida     10-2976         Yes   No

 42     34494744   Campo              Ernie          Robin Seafood Co., Inc., et al v. BP, PPLC, et al       Eastern District of Louisiana    2:10CV1314      Yes   No

 43     No Stamp   Canty              John           Schmalz et al v. Transocean Ltd et al.                  Eastern District of Louisiana    2:10-CV-01452   Yes   No

 44     34486183   Carson             Louie          Abadie et al vs. BP, P.L.C. et al                       Eastern District of Louisiana    2:10 CV 2116    Yes   No
                                                     American Gulf Seafood LLC, et al. vs. BP, PLC, et
 45     34486281   Caywood            Conrad         al.                                                     Eastern District of Louisiana    2:10-CV-01970   Yes   No
                                                     American Gulf Seafood LLC, et al. vs. BP, PLC, et
 46     34486281   Caywood            Kenneth        al.                                                     Eastern District of Louisiana    2:10-CV-01970   Yes   No
                                                     American Gulf Seafood LLC, et al. vs. BP, PLC, et
 47     34486281   Celestin           Donald         al.                                                     Eastern District of Louisiana    2:10-CV-01970   Yes   No

 48     35904237   Charbonnet         Barbara        Direct Filing Short Form                                Eastern District of Louisiana    MDL 2179        Yes   No

 49     No Stamp   Charbonnet         Barbara        Direct Filing Short Form                                Eastern District of Louisiana    MDL 2179        Yes   No


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 50     35903675   Charbonnet      Jack           Direct Filing Short Form                              Eastern District of Louisiana    MDL 2179             Yes   No

 51     No Stamp   Charbonnet      Jack           Direct Filing Short Form                              Eastern District of Louisiana    MDL 2179             Yes   No

 52     35905072   Charbonnet      Jane           Direct Filing Short Form                              Eastern District of Louisiana    MDL 2179             Yes   No

 53     No Stamp   Charbonnet      Jane           Direct Filing Short Form                              Eastern District of Louisiana    MDL 2179             Yes   No

 54     No Stamp   Charbonnet      Kenny          Direct Filing Short Form                              Eastern District of Louisiana    MDL 2179             Yes   No

 55     No Stamp   Charbonnet      Linda          Direct Filing Short Form                              Eastern District of Louisiana    MDL 2179             Yes   No

 56     No Stamp   Charbonnet      Robert         Direct Filing Short Form                              Eastern District of Louisiana    MDL 2179             Yes   No
                   Charlies                       Capt. Charlie Thomason's Bayou Charters, Inc. et
                   Restaurant &                   al vs. BP, PLC, BP Products North America, Inc.,
 57     34494300   Catering, LLC                  et al                                                 Eastern District of Louisiana    10-CV-01422          Yes   No

 58     34486183   Chau            Nguyen Huanh   Abadie et al vs. BP, P.L.C. et al                     Eastern District of Louisiana    2:10 CV 2116         Yes   No

 59     34486183   Chelade         Rodney         Abadie et al vs. BP P.L.C., et al                     Eastern District of Louisiana    2:10 CV 2116         Yes   No

 60     34486183   Chester         Chris          Abadie et al vs. BP, P.L.C. et al                     Eastern District of Louisiana    2:10 CV 2116         Yes   No

 61     No Stamp   Cliatt          Elaina         Schmalz et al v. Transocean LTD, et al                Eastern District of Louisiana    2:10-CV-01452        Yes   No

 62     34486183   Collins         Andrea         Abadie et al vs. BP P.L.C. et al                      Eastern District of Louisiana    2:10 CV 2116         Yes   No

 63     34486183   Collins         Robert         Abadie et al vs. BP P.L.C. et al                      Eastern District of Louisiana    2:10 CV 2116         Yes   No
 64     34463410   Contegni        Charles        Contegni V. Transocean Ltd., et al.                   Southern District of Texas                            Yes   No

 65     No Stamp   Conzonere       Chad           Schmalz et al v. Transocean Ltd et al.                Eastern District of Louisiana    2:10-CV-01452        Yes   No

 66     No Stamp   Conzonere       Lisa           Schmalz et al v. Transocean Ltd et al.                Eastern District of Louisiana    2:10-CV-01452        Yes   No

 67     34453972   Conzonere       Mike           Schmalz et al v. Transocean Ltd et al.                Eastern District of Louisiana    2:10-CV-01452        Yes   No
                                                                                                                                         2:10-CV-01387-CJB-
 68     34450315   Cook            Urban          Sophisticated Lady, L.L.C., et al. vs. BP, PIC, et al. Eastern District of Louisiana   SS                   Yes   No

 69     34490554   Cooper          Acy            Acy J. Cooper, Jr., et al. v. BP, PLC, et al.         Eastern District of Louisiana    10-1229              Yes   No

 70     No Stamp   Crain           Michael        Schmalz et al v. Transocean LTD, et al                Eastern District of Louisiana    2:10-CV-01452        Yes   No
                                                  Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                  al vs. BP, PLC, BP Products North America, Inc.,
 71     34494300   Crawford        Alan           et al                                                 Eastern District of Louisiana    10-CV-01422          Yes   No

 72     No Stamp   Crawford        Brad           Schmalz et al v. Transocean Ltd et al.                Eastern District of Louisiana    2:10-CV-01452        Yes   No
                                                  Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                  al vs. BP, PLC, BP Products North America, Inc.,
 73     34494300   Crawford        Linda          et al                                                 Eastern District of Louisiana    10-CV-01422          Yes   No

 74     No Stamp   Crawford        William        Schmalz et al v. Transocean LTD, et al                Eastern District of Louisiana    2:10-CV-01452        Yes   No
 75     34493530   Creppel, Jr.    Isadore        Isadore Creppel v. BP, PLC et al                      Eastern District                 CV-10-CV-01346       Yes   No


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 76     34486183   Crosby       Sai            Abadie et al vs. BP P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116    Yes   No

 77     34486183   Cumbie       Dryan          Abadie et al vs. BP P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116    Yes   No

 78     34486183   Dang         Cuong          Abadie et al vs. BP, P.L.C. et al                    Eastern District of Louisiana   2:10 CV 2116    Yes   No

 79     34486183   Danos        George         Abadie et al vs. BP, P.L.C. et al                    Eastern District of Louisiana   2:10 CV 2116    Yes   No

 80     34486183   Dantin       Archie         Abadie et al vs. BP P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116    Yes   No

 81     34486183   Dantin       Archie         Abadie et al vs. BP P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116    Yes   No

 82     No Stamp   Danzig       Joshua         Joshua Danzig v. BP, PLC, et al                      Eastern District of Louisiana   2:10-CV-1726    Yes   No

 83     36017056   Davis        Beverly        Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179        Yes   No

 84     No Stamp   Davis        Beverly        Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179        Yes   No

 85     36016618   Davis        Everett        Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179        Yes   No

 86     No Stamp   Davis        Everett        Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179        Yes   No

 87     No Stamp   Deffers      Carrie         Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179        Yes   No

 88     35907072   Deffes       Patrick        Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179        Yes   No

 89     35907349   Deffes       Veronica       Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179        Yes   No

 90     34488615   Dekovic      Danijel        Michael Ivic, et al v. BP, Plc, et al                Eastern District of Louisiana   10-CV-01249     Yes   No

 91     34489490   Dekovic      Danijel        Michael Ivic, et al v. BP, Plc, et al                Eastern District of Louisiana   10-CV-01249     Yes   No
                                               Capt. Charlie Thomason's Bayou Charters, INC. et
                                               al vs. BP, PLC, BP Products North America, Inc.,
 92     34493975   Deogracias   Jason          et al                                                Eastern District of Louisiana   10-CV-01422     Yes   No
                                               Capt. Charlie Thomason's Bayou Charters, INC. et
                                               al vs. BP, PLC, BP Products North America, Inc.,
 93     34494020   Deogracias   Johnny         et al                                                Eastern District of Louisiana   10-CV-01422     Yes   No
                                               Capt. Charlie Thomason's Bayou Charters, Inc. et
                                               al vs. BP, PLC, BP Products North America, Inc.,
 94     34494300   Deogracias   Raymond        et al                                                Eastern District of Louisiana   10-CV-01422     Yes   No
                                               Destin, et al. c. BP PLC, et al. - Case No. 3:10-CV-
 95     34471245   Destin       Dewey          00141 MCR EMT                                        Northern District of Florida                    Yes   No
                                               Henry Phuc Do d/b/a Paul's Seafood v. BP, PLC, et
 96     34477911   Do           Henry          al.                                                  Eastern District of Louisiana   2:10-CV-02750   Yes   No

 97     No Stamp   Donahue      Adam           Schmalz et al v. Transocean Ltd et al.               Eastern District of Louisiana   2:10-CV-01452   Yes   No

 98     34486183   Driggers     William        Abadie et al vs. BP P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116    Yes   No

 99     34486183   Dugar        Ronnie         Abadie et al vs. BP P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116    Yes   No

 100    34486183   Dung         Tran Van       Abadie et al vs. BP P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116    Yes   No


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 101    34486183   Dung            Truong        Abadie et al vs. BP PLC                              Eastern District of Louisiana   2:10 CV 2116        Yes   No

 102    34486183   Dunning         Steven        Abadie et al vs. BP P.L.C., et al                    Eastern District of Louisiana   2:10 CV 2116        Yes   No

 103    34482005   Eckert          Darryl        Charles C. Elmer, et al. v. BP, P.L.C, et al         Eastern District of Louisiana   10-1515             Yes   No
                   Edgewater Beach
                   Owners Assoc.                 Destin, et al. c. BP PLC, et al. - Case No. 3:10-CV-
 104    34470229   Inc.                          00141 MCR EMT                                        Northern District of Florida                        Yes   No

 105    34479533   Edmond          Carlos        Jarvis J. Harmon, Sr., et al v. BP, PLC, et al       Eastern District of Louisiana   2:10-CV-1931        Yes   No

 106    No Stamp   Efferson        Alvery        Schmalz et al v. Transocean Ltd et al.               Eastern District of Louisiana   2:10-CV-01452       Yes   No

 107    No Stamp   Efferson        Charles       Schmalz et al v. Transocean Ltd et al.               Eastern District of Louisiana   2:10-CV-01452       Yes   No

 108    34482005   Elmer           Charles       Charles C. Elmer, et al. V. BP, P.L.C., et al.       Eastern District of Louisiana   10-1515             Yes   No

 109    34486183   Esponge         Reed          Abadie et al vs. BP P.L.C., et al                    Eastern District of Louisiana   2:10 CV 2116        Yes   No

 110    No Stamp   Evans           Glyn          Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179            Yes   No

 111    No Stamp   Evans           Robert        Schmalz et al v. Transocean Ltd et al.               Eastern District of Louisiana   2:10-CV-01452       Yes   No

 112    No Stamp   Ferrier         Michael       Schmalz et al v. Transocean Ltd et al.               Eastern District of Louisiana   2:10-CV-01452       Yes   No

 113    34486183   Firmanty        Doug          Abadie et al vs. BP P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116        Yes   No

 114    34486183   Forest          Vanessa       Abadie et al vs. BP P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116        Yes   No

 115    34449662   Frelich         Frank         J&M Boat Rentals LLC v. BP PLC, et al                Eastern District of Louisiana   2:10-1747           Yes   No

 116    34442602   Friloux         Ethyln        James J. Friloux, et. al vs. BP, PLC.,               Eastern District of Louisiana   101-1246            Yes   No

 117    34442602   Friloux         James         James J. Friloux, et. al vs. BP, PLC., et al.        Eastern District of Louisiana   101-1246            Yes   No

 118    No Stamp   Gagliano        Wayne         Schmalz et al v. Transocean Ltd et al.               Eastern District of Louisiana   2:10-CV-01452       Yes   No

 119    34461695   Galliano        Carl          Galliano, et al vs. BP, PLC, et al                   Eastern District of Louisiana   2:10-CV-02715J(1)   Yes   No

 120    34461695   Galliano        Carol         Galliano, et al vs. BP, PLC, et al                   Eastern District of Louisiana   2:10-CV-02715J(1)   Yes   No

 121    36015966   Galliano        Joseph        Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179            Yes   No

 122    No Stamp   Galliano        Joseph        Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179            Yes   No

 123    36016144   Galliano        Linda         Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179            Yes   No

 124    No Stamp   Galliano        Linda         Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179            Yes   No

 125    36017463   Gallordo        Wilfred       Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179            Yes   No

 126    No Stamp   Gallordo        Wilfred       Direct Filing Short Form                             Eastern District of Louisiana   MDL 2179            Yes   No


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 127    34488974    Garbin       Vatroslav       Michael Ivic, et al v. BP, Plc, et al              Eastern District of Louisiana   10-CV-01249     Yes   No

 128    34489097    Garbin       Vatroslav       Michael Ivic, et al v. BP, Plc, et al              Eastern District of Louisiana   10-CV-01249     Yes   No

 129    34489239    Garbin       Vatroslav       Michael Ivic, et al v. BP, Plc, et al              Eastern District of Louisiana   10-CV-01249     Yes   No
                                                 Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                 al vs. BP, PLC, BP Products North America, Inc.,
 130    34494300    Gaspard      Juan            et al                                              Eastern District of Louisiana   10-CV-01422     Yes   No
                                                 Ellis Schouest, III, et al. v. BP Products North
 131    34455357    George       James           America, Inc., et. al. C.A. No. 6:10-727           Western District of Louisiana                   Yes   No
                                                 Gulf Manufacturing Company v. BP, PLC; et al.,
 132    34357052    Gomez        Eduardo;Clara   FLSD Case # 1:10-cv-23323-XXXX                     Southern District of Florida    10-4209         Yes   No

 133    34494744    Graf         Robert          Robin Seafood Co., Inc., et al v. BP, PPLC et al   Eastern District of Louisiana   2:10CV1314      Yes   No

 134    No Stamp    Graves       Joyce           Schmalz et al. v. Transocean Ltd et al.            Eastern District of Louisiana   2:10-CV-01452   Yes   No
                                                 Aleen Grieshaber, et al. V. BP Products North      Southern District of
 135    34460859    Grieshaber   Aleen           America, Inc., et al.                              Mississippi                     1:10-CV-00185   Yes   No
                                                 Aleen Grieshaber, et al. V. BP Products North      Southern District of
 136    34460859    Grieshaber   James           America, Inc., et al.                              Mississippi                     1:10-CV-00185   Yes   No

 137    34486183    Griffin      Ben             Abadie et al vs. BP P.L.C. et al                   Eastern District of Louisiana   2:10 CV 2116    Yes   No

 138    34486183    Griffin      Don             Abadie et al vs. BP P.L.C., et al                  Eastern District of Louisiana   2:10 CV 2116    Yes   No

 139    34486183    Grimmeh      Riley           Abadie et al vs. BP P.L.C., et al                  Eastern District of Louisiana   2:10 CV 2116    Yes   No

 140    34490686    Guerra       Bruce           Schmalz et al v. Transocean LTD, et al             Eastern District of Louisiana   2:10-CV-01452   Yes   No

 141    34486183    Guidry       Clinton         Abadie et al vs. BP P.L.C. et al                   Eastern District of Louisiana   2:10 CV 2116    Yes   No
                                                                                                    Southern District of Texas
 142    35157637    Guindon      Gregory         Gregory John Guindon, et al v. BP, PLC et al       (Galveston)                     2;10-CV-04222   Yes   No
                                                                                                    Southern District of Texas
 143    35175851*   Guindon      Gregory         Gregory John Guindon, et al v. BP, PLC et al       (Galveston)                     2;10-CV-04222   Yes   No

 144    34486183    Harbiston    David           Abadie et al vs. BP P.L.C, et al                   Eastern District of Louisiana   2:10 CV 2116    Yes   No

 145    34486183    Hebert       Joey            Abadie et al vs. BP P.L.C, et al                   Eastern District of Louisiana   2:10 CV 2116    Yes   No

 146    34486183    Hebert       Mark            Abadie et al vs. BP, P.L.C. et al                  Eastern District of Louisiana   2:10 CV 2116    Yes   No

 147    No Stamp    Heier        Kevin           Schmalz et al v. Transocean Ltd et al.             Eastern District of Louisiana   2:10-CV-01452   Yes   No

 148    No Stamp    Heier        Kevin           Schmalz et al. v. Transocean Ltd et al.            Eastern District of Louisiana   2:10-CV-01452   Yes   No
                                                 The National Vietnamese American Fisherman
 149    34485987    Ho           Cuc             Emergency Association, et al. v. BP PLC, et al.    Southern District of Texas      2:10-CV-02683   Yes   No

 150    34486183    Ho           Dang Van        Abadie et al vs. BP P.L.C                          Eastern District of Louisiana   2:10 CV 2116    Yes   No

 151    34486183    Hopkins      Karen           Abadie et al vs. BP, P.L.C. et al                  Eastern District of Louisiana   2:10 CV 02116   Yes   No
                                                 Fishing Magician Charters, LLC v. BP (See
 152    34468612    Hutchinson   Justin          Attached)                                          Eastern District of Louisiana   10-1338         Yes   No


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                                                      Fishing Magician Charters, LLC v. BP (See
 153    34468617   Hutchinson        Pamela           Attached)                                                Eastern District of Louisiana   10-1338         Yes   No
                                                      Fishing Magician Charters, LLC v. BP (See
 154    34468612   Hutchinson Sr.    Justin           Attached)                                                Eastern District of Louisiana   10-1338         Yes   No

 155    34486183   Huynh             Andy             Abadie et al vs. BP P.L.C., et al                        Eastern District of Louisiana   2:10 CV 02116   Yes   No

 156    34486183   Huynh             Hai              Abadie et al vs. BP P.L.C., et al                        Eastern District of Louisiana   2:10 CV 02116   Yes   No

 157    34486183   Huynh             Hoa              Abadie et al vs. BP P.L.C. et al                         Eastern District of Louisiana   2:10 CV 2116    Yes   No

 158    34486183   Huynh             Jaw              Abadie et al vs. BP P.L.C., et al                        Eastern District of Louisiana   2:10 CV 02116   Yes   No

 159    34486183   Huynh             John             Abadie et al vs. BP P.L.C. et al                         Eastern District of Louisiana   2:10 CV 02116   Yes   No

 160    34486183   Huynh             Loi Huu          Abadie et al vs. BP P.L.C. et al                         Eastern District of Louisiana   2:10 CV 02116   Yes   No

 161    34486183   Huynh             Thai (Dao)       Abadie et al vs. BP P.L.C., et al                        Eastern District of Louisiana   2:10 CV 02116   Yes   No

 162    No Stamp   Hyatt             Garret           Schmalz et al. v. Transocean Ltd et al.                  Eastern District of Louisiana   2:10-CV-01452   Yes   No
                   Inter-Tour                         Inter-tour Louisiane, Inc. d/b/a Tours by Isabelle, et
 163    34473620   Louisiane, Inc                     al. v. Transocean, Ltd., et al.                          Eastern District of Louisiana   2:10-CV-2103    Yes   No
                   Inter-Tour                         Inter-tour Louisiane, Inc d/b/a Tours by Isabelle, et
 164    34496388   Louisiane, Inc.                    al. v. Transocen, Ltd., et al.                           Eastern District of Louisiana   2:10-CV-2103    Yes   No
                   Inter-Tour                         Inter-tour Louisiane, Inc. d/b/a Tours by Isabelle, et
 165    34473620   Louisiane, Inc.                    al. v. Transocean, Ltd., et al.                          Eastern District of Louisiana   2:10-CV-2103    Yes   No

 166    34488226   Ivic              Michael          Michael Ivic, et al v. BP, Plc, et al                    Eastern District of Louisiana   10-CV-01249     Yes   No

 167    34489933   Ivic              Michael          Michael Ivic, et al v. BP, Plc, et al                    Eastern District of Louisiana   10-CV-01249     Yes   No

 168    34490140   Ivic              Michael          Michael Ivic, et al v. BP, Plc, et al                    Eastern District of Louisiana   10-CV-01249     Yes   No

 169    No Stamp   Jackson           Christopher      Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452   Yes   No

 170    No Stamp   Jackson           Jodi             Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452   Yes   No

 171    No Stamp   Jackson           Kevin            Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452   Yes   No

 172    34486183   Jackson           Robert           Abadie et al vs. BP P.L.C., et al                        Eastern District of Louisiana   2:10 CV 02116   Yes   No
                                                      Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                      al vs. BP, PLC, BP Products North America, Inc.,
 173    34494300   Jason             Mones            et al                                                    Eastern District of Louisiana   10-CV-01422     Yes   No

 174    No Stamp   Johansen          Maria            Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452   Yes   No

 175    No Stamp   Johnson           Stacia           Schmalz et al v. Transocean LTD, et al                   Eastern District of Louisiana   2:10-CV-01452   Yes   No

 176    No Stamp   Jordan            Michele          Schmalz et al v. Transocean Ltd et al.                   Eastern District of Louisiana   2:10-CV-01452   Yes   No

 177    34488395   Jurisic           Jakov            Michael Ivic, et al v. BP, Plc, et al                    Eastern District of Louisiana   10-CV-01249     Yes   No

 178    34488779   Jurisic           Jakov            Michael Ivic, et al v. BP, Plc, et al                    Eastern District of Louisiana   10-CV-01249     Yes   No


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 179    34489635   Jurisic          Jakov          Michael Ivic, et al v. BP, Plc, et al               Eastern District of Louisiana   10-CV-01249     Yes   No

 180    34473424   Kansas           Jacob          Kansas, et al. v. Transocean, Ltd., et al.          Eastern District of Louisiana   2:10-CV-1836    Yes   No
                                                   Scotty Kershaw and Sandra Kershaw vs. BP
 181    34447949   Kershaw, et al   Scotty         America Inc., et al                                 Eastern District of Louisiana   10-4271         Yes   No

 182    No Stamp   Knecht           Dennis         Schmalz et al v. Transocean Ltd et al.              Eastern District of Louisiana   2:10-CV-01452   Yes   No

 183    No Stamp   Knecht           Fred           Schmalz et al v. Transocean Ltd et al.              Eastern District of Louisiana   2:10-CV-01452   Yes   No
                                                   Van Duyn v. BP, PLC, et al., 1:10-CV-183-HSO-       Southern District of
 184    34470605   Knight           Charles        JMR, S.D. Miss., Southern Div.                      Mississippi                     10-2680         Yes   No

 185    No Stamp   Kreger           Mary           Schmalz et al v. Transocean Ltd et al.              Eastern District of Louisiana   2:10-CV-01452   Yes   No

 186    No Stamp   Kreger           Robert         Schmalz et al v. Transocean Ltd et al.              Eastern District of Louisiana   2:10-CV-01452   Yes   No

 187    No Stamp   Kreger           Ronald         Schmalz et al v. Transocean Ltd et al               Eastern District of Louisiana   2:10-CV-01452   Yes   No

 188    No Stamp   Kreger           Ronald         Schmalz et al v. Transocean Ltd et al.              Eastern District of Louisiana   2:10-CV-01452   Yes   No

 189    No Stamp   Kreger           Roy            Schmalz et al v. Transocean Ltd et al.              Eastern District of Louisiana   2:10-CV-01452   Yes   No

 190    No Stamp   Kreger           Rustin         Schmalz et al v. Transocean Ltd et al.              Eastern District of Louisiana   2:10-CV-01452   Yes   No

 191    No Stamp   Kreger           Ryan           Schmalz et al v. Transocean LTD, et al              Eastern District of Louisiana   2:10-CV-01452   Yes   No

 192    34486183   Ladd             Breanne        Abadie et al vs. BP P.L.C., et al                   Eastern District of Louisiana   2:10 CV 02116   Yes   No

 193    34486183   Lai              Phuong Vu      Abadie et al vs. BP P.L.C., et al                 Eastern District of Louisiana     2:10 CV 02116   Yes   No
                                                   American Gulf Seafood LLC, et al. vs. BP, PLC, et
 194    34486281   Laird            John           al.                                               Eastern District of Louisiana     2:10-CV-01970   Yes   No
                                                   Bryan C. Carrone and Raymond K. Landry,
                                                   Individually and on Behalf of Themselves and all
 195    34487660   Landry           Raymond        others Similarly Situated                         Eastern District of Louisiana     2:10-CV-01315   Yes   No

 196    34447949   Lantier, et al   Rickey         Rickey Laintier, et al vs. BP America Inc., et al   Eastern District of Louisiana   10-4144         Yes   No

 197    34486183   Le               Phong Hong     Abadie et al vs. BP P.L.C. et al                    Eastern District of Louisiana   2:10 CV 02116   Yes   No

 198    34486183   Le Diane         Patricia       Abadie et al vs. BP, P.L.C. et al                   Eastern District of Louisiana   2:10 CV 02116   Yes   No
                                                                                                       Southern District of
 199    34494744   LeBlanc          Dexter         Sevel, et al v. BP, PLC, et al                      Mississippi                     2:10CV02677     Yes   No

 200    34440333   Leger            Scott          Cajun Offshore Charters, LLC v. BP, PLC, et al    Eastern District of Louisiana     10-1341         Yes   No
                                                   Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                   al vs. BP, PLC, BP Products North America, Inc.,
 201    34494300   Levi             Reginald       et al                                             Eastern District of Louisiana     10-CV-01422     Yes   No
                                                   American Gulf Seafood LLC, et al. vs. BP, PLC, et
 202    34486281   Leyva            Jose           al.                                               Eastern District of Louisiana     2:10-CV-01970   Yes   No

 203    No Stamp   Lingoni          John           Schmalz et al v. Transocean Ltd et al.            Eastern District of Louisiana     2:10-CV-01452   Yes   No
                                                   American Gulf Seafood LLC, et al. vs. BP, PLC, et
 204    34486281   Livings          Andrew         al.                                               Eastern District of Louisiana     2:10-CV-01970   Yes   No

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                                                    American Gulf Seafood LLC, et al. vs. BP, PLC, et
 205    34486281   Livings          John            al.                                               Eastern District of Louisiana 2:10-CV-01970                 Yes   No
                                                                                                      US District Court for the
                                                                                                      Northern District of Alabama,
 206    34493902   LLC              CMCO            Chenault, et al. v. Transocean, Ltd., et al.      Southern Div.                 CV-10-PWG-1139-S              Yes   No
                                                                                                      US District Court for the No.
                                                                                                      Dist. of Alabama, Southern
 207    No Stamp   LLC              CMCO            Chenault, et al. v. Transocean, Ltd., et al.      Div.                          CV-10-PWG-1139-S              Yes   No

 208    34486183   Loe              Thon            Abadie et al vs. BP, P.L.C. et al                       Eastern District of Louisiana     2:10 CV 02116       Yes   No
                   LP Properties,
 209    34490452   LLC              N/A             Jud and Sherri Smith, et al. v. BP, PLC, et al.         Southern District of Alabama 1:10-CV-200              Yes   No

 210    34486183   Ly               Men Thi         Abadie et al vs. BP, P.L.C, et al                       Eastern District of Louisiana     2:10 CV 02116       Yes   No

 211    34486183   Ly               Rim Chi         Abadie et al vs. BP, PLC, et al                         Eastern District of Louisiana     2:10 CV 02116       Yes   No

 212    No Stamp   Lyncker          William         Schmalz et al v. Transocean Ltd et al.                  Eastern District of Louisiana     2:10-CV-01452       Yes   No

 213    34493289   Lyons            Roland          Rodrigue, et al v. BP, PLC, et al                       Eastern District of Louisiana     10-1325             Yes   No

 214    34461695   Mandina          Tommy           Mandina, et al vs. BP, PLC, et al                       Eastern District of Louisiana     2:10-CV-02713J(1)   Yes   No

 215    34461695   Mandina          Tommy           Mandina, et al vs. BP, PLC, et al                       Eastern District of Louisiana     2:10-CV-02713J(1)   Yes   No

 216    34461695   Manint           Alfred          Mainant, et al vs. BP, PLC, et al                       Eastern District of Louisiana     2:10-CV-02716J(1)   Yes   No

 217    34461695   Marcello         Elizabeth       Mandina's of New Orleans, et al vs. BP, PLC, et al      Eastern District of Louisiana     2:10-CV-02712J(1)   Yes   No

 218    34461695   Marcello         Elizabeth       Mandina's of New Orleans, et al vs. BP, PLC, et al      Eastern District of Louisiana     2:10-CV-02712J(1)   Yes   No

 219    34461695   Marcello         Elizabeth       Mandina's of New Orleans, et al vs. BP, PLC, et al      Eastern District of Louisiana     2:10-CV-02712J(1)   Yes   No

 220    34461695   Marcello         Frank           Mandina's of New Orleans, et al vs. BP, PLC, et al      Eastern District of Louisiana     2:10-CV-02712J(1)   Yes   No

 221    No Stamp   Marschke         Richard         Schmalz et al v. Transocean Ltd et al.            Eastern District of Louisiana           2:10-CV-01452       Yes   No
                                                    American Gulf Seafood LLC, et al. vs. BP, PLC, et
 222    34486281   Martin           Stephen         al.                                               Eastern District of Louisiana           2:10-CV-01970       Yes   No
 223    34494468   Matherne         Timothy         Capt'n Charlie Thomasons Bayou                    XXXXX                                                       Yes   No

 224    34486183   McKnight         Richard         Abadie, et al vs. BP, P.L.C et al.                      Eastern District of Louisiana     2:10 VS. 02116      Yes   No

 225    34490452   Mcleod           Benjamin        Jud and Sherri Smith, et al. v. BP, PLC, et al.         Southern District of Alabama 1:10-CV-200              Yes   No
                                                    Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                    al vs. BP, PLC, BP Products North America, Inc.,
 226    34494300   Melerine         Anna            et al                                                   Eastern District of Louisiana     10-CV-01422         Yes   No
                                                    Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                    al vs. BP, PLC, BP Products North America, Inc.,
 227    34494300   Melerine         Barry           et al                                                   Eastern District of Louisiana     10-CV-01422         Yes   No
                                                    Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                    al vs. BP, PLC, BP Products North America, Inc.,
 228    34494300   Melerine         Clinton         et al                                                   Eastern District of Louisiana     10-CV-01422         Yes   No

 229    34490790   Menard           Michael         A Bar & Grill with A Bit, Inc., et al. v. BP, PLC, et al. Eastern District of Louisiana   10-1499             Yes   No

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 230    36016364      Mistry            Mahesh          Direct Filing Short Form                           Eastern District of Louisiana   MDL 2179        Yes   No

 231    No Stamp      Mistry            Mahesh          Direct Filing Short Form                           Eastern District of Louisiana   MDL 2179        Yes   No

 232    No Stamp      Montalbano        Deion           Schmalz et al v. Transocean LTD, et al             Eastern District of Louisiana   2:10-CV-01452   Yes   No

 233    34486183      Montelbano        Jack            Abadie, et al vs. BP, P.L.C., et al                Eastern District of Louisiana   2:10 CV 02116   Yes   No

 234    No Stamp      Moragas           Charlotte       Schmalz et al v. Transocean Ltd et al.             Eastern District of Louisiana   2:10-CV-01452   Yes   No

 235    No Stamp      Moragas           Shannon         Schmalz et al v. Transocean Ltd et al.             Eastern District of Louisiana   2:10-CV-01452   Yes   No

 236    34486183      Murray            Marie           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 237    No Stamp      Naquin            Lindberg        Schmalz et al v. Transocean LTD, et al            Eastern District of Louisiana    2:10-CV-01452   Yes   No
                                                        American Gulf Seafood LLC, et al. vs. BP, PLC, et
 238    34486281      Necaise           Steve           al.                                               Eastern District of Louisiana    2:10-CV-01970   Yes   No
                      Necessity Sport
 239    34490452      Fishing, LLC      N/A             Jud and Sherri Smith, et al. v. BP, PLC, et al.    Southern District of Alabama 1:10-CV-200        Yes   No
        34482005;3449
 240    1153          Neumeyer Jr.      Rodney          Charles C. Elmer, et al. v. BP, P.L.C., et al.     Eastern District of Louisiana   10-1515         Yes   No

 241    34486183      Ngo               Francis         Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No
                                                        The National Vietnamese American Fisherman
 242    34485987      Ngo               Lo              Emergency Association, et al. v. BP PLC, et al.    Southern District of Texas      2:10-CV-02683   Yes   No

 243    34486183      Ngo               Thao            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 244    34486183      Ngoe              Tran            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 245    34486183      Nguyen            Ben             Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 246    34486183      Nguyen            Binn            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 247    34486183      Nguyen            Chavlie         Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 248    34486183      Nguyen            Doan            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 249    34486183      Nguyen            Duc             Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 250    34486183      Nguyen            Duong           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 251    34486183      Nguyen            Hai             Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 252    34486183      Nguyen            Henry           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 253    34486183      Nguyen            Ho              Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 254    34486183      Nguyen            Hong            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 255    34486183      Nguyen            Johnny          Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 256    34486183      Nguyen            Khang           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

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 257    34486183   Nguyen            Kho             Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 258    34486183   Nguyen            Kim             Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 259    34486183   Nguyen            Lang            Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No
                                                     The National Vietnamese American Fisherman
 260    34485987   Nguyen            Le              Emergency Association, et al. v. BP PLC, et al.       Southern District of Texas      2:10-CV-02683   Yes   No

 261    34486183   Nguyen            Men             Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 262    34486183   Nguyen            Minh            Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 263    34486183   Nguyen            Nghia           Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 264    34486183   Nguyen            Ngou            Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 265    34486183   Nguyen            Phe             Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 266    34486183   Nguyen            Ri              Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 267    34486183   Nguyen            Roi             Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 268    34486183   Nguyen            Sheldon         Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 269    34486183   Nguyen            Teo             Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 270    34486183   Nguyen            Thuy            Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 271    34486183   Nguyen            Tong            Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 272    34486183   Nguyen            Viet            Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No

 273    34486183   Nguyen            Vu              Abadie, et al v. BP, P.L.C., et al                    Eastern District of Louisiana   2:10-CV-2116    Yes   No
                                                     NOVA AFFILIATED, S.A., a British Virgin Islands
                   Nova Affiliated                   Corporation, and all Similarly Situated v. BP, PLC,
 274    34485987   dba Mantex                        et al.                                                Eastern District of Louisiana   2:10-CV-01313   Yes   No
                                                     Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                     al vs. BP, PLC, BP Products North America, Inc.,
 275    34494300   Nuccio            David           et al                                                 Eastern District of Louisiana   10-CV-01422     Yes   No
                                                     Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                     al vs. BP, PLC, BP Products North America, Inc.,
 276    34494300   Nuccio            Lawrence        et al                                                 Eastern District of Louisiana   10-CV-01422     Yes   No

 277    34468642   Nunez             Brandy          Fishing Magician Charters, LLC v. BP                  Eastern District of Louisiana   10-1338         Yes   No
                                                     Fishing Magician Charters, LLC v. BP (See
 278    34468595   Nunez             Catherine       Attached)                                             Eastern District of Louisiana   10-1338         Yes   No
                                                     Fishing Magician Charters, LLC v. BP (See
 279    34468600   Nunez             Jeffrey         Attached)                                             Eastern District of Louisiana   10-1338         Yes   No
                                                     Fishing Magician Charters, LLC v. BP (See
 280    34468605   Nunez             Jeremy          Attached)                                             Eastern District of Louisiana   10-1338         Yes   No
                                                     Fishing Magician Charters, LLC v. BP (See
 281    34468602   Nunez             John            Attached)                                             Eastern District of Louisiana   10-1338         Yes   No


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 282    34468599   Nunez                 Karen         Fishing Magicians Charter v. BP (See Attached)   Eastern District of Louisiana   10-1338           Yes   No

 283    34482005   Nunez                 Lena          Charles C. Elmer, et al. v. BP, P.L.C., et al.   Eastern District of Louisiana   10-1515           Yes   No
                                                       Fishing Magician Charters, LLC v. BP (See
 284    34468598   Nunez                 Lester        Attached)                                        Eastern District of Louisiana   10-1338           Yes   No
                                                       Fishing Magician Charters, LLC v. BP (See
 285    34468625   Nunez                 Lester        Attached)                                        Eastern District of Louisiana   10-1338           Yes   No

 286    34468593   Nunez Jr.             Johnny        Fishing Magicians Charter v. BP                  Eastern District of Louisiana   10-1338           Yes   No
                                                       Fishing Magician Charters LLC v. BP (See
 287    34468598   Nunez Jr.             Lester        Attached)                                        Eastern District of Louisiana   10-1338           Yes   No
                                                       Fishing Magician Charters, LLC v. BP (See
 288    34468605   Nunez Sr.             Jeremy        Attached)                                        Eastern District of Louisiana   10-1338           Yes   No

 289    34486183   Nyancon               Terrai        Abadie et al vs. BP P.L.C. et al                 Eastern District of Louisiana   2:10 CV 02116     Yes   No

 290    34454212   O'Bryan               Larry         Larry O'Bryan, et al. v. BP, PLC, et al.         Western District of Kentucky    2:2010-CV-02992   Yes   No

 291    34470935   O'Bryan               Larry         Larry O'Bryan, et al. v. BP, PLC, et al.         Western District of Kentucky    2:2010-CV-02992   Yes   No

                   Ocean Reef
                   Realty, Inc., d/b/a
                   Ocean Reef                          Ocean Reef Realty, Inc v. Transocean Holdings,
 292    34491243   Resorts, Inc.                       Inc., et al                                      Northern District of Florida    10-CV-02663       Yes   No

 293    No Stamp   O'Connor              Kirby         Schmalz et al v. Transocean Ltd et al.           Eastern District of Louisiana   2:10-CV-01452     Yes   No

 294    34490399   Olivier               Ronald        Bill's Oyster House, et al v. BP, Plc, et al     Eastern District of Louisiana   10-1308           Yes   No

 295    34473085   Oser                  Joseph        Oser, et al. v. Transocean, Ltd., et al.         Eastern District of Louisiana   2:10-CV-1829      Yes   No

 296    34446656   Parker                Percy         Percy Parker v. BP, PLC, et al                   Eastern District of Louisiana   10-1411           Yes   No

 297    No Stamp   Parks                 Charlie       Schmalz et al v. Transocean Ltd et al.           Eastern District of Louisiana   2:10-CV-01452     Yes   No

 298    34486183   Pham                  Dvanson       Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116      Yes   No

 299    34486183   Pham                  Lan           Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116      Yes   No

 300    34486183   Phan                  Minn          Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116      Yes   No

 301    34486183   Phan                  Tam           Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116      Yes   No

 302    34493289   Picou                 Randy         Rodrigue, et al v. BP, PLC, et al                Eastern District of Louisiana   10-1325           Yes   No

 303    34486183   Pitre                 Keith         Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116      Yes   No

 304    34486183   Polkey                Richard       Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116      Yes   No

 305    34486183   Polkey                Ronald        Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116      Yes   No

 306    No Stamp   Pomes                 Christopher   Schmalz et al v. Transocean Ltd et al.           Eastern District of Louisiana   2:10-CV-01452     Yes   No


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                   Pomes Seafood,
 307    No Stamp   LLC                            Schmalz et al v. Transocean Ltd et al.             Eastern District of Louisiana   2:10-CV-01452   Yes   No

 308    34486183   Poon             Jason         Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 309    34486183   Quan             Nguyen        Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 310    No Stamp   Raimer           Allen         Schmalz et al v. Transocean Ltd et al.            Eastern District of Louisiana    2:10-CV-01452   Yes   No
                                                  American Gulf Seafood LLC, et al. vs. BP, PLC, et
 311    34486281   Ranko            Ellis         al.                                               Eastern District of Louisiana    2:10-CV-01970   Yes   No
                                                                                                    Southern District of
 312    34489649   Rhodes           Edward        Sevel et al v. BP, PLC, et al                     Mississippi                      1:10-CV-00179   Yes   No
                   Richard's
 313    34477210   Seafood Patio                  Calvin J. Richard v. BP, PLC, et al                Eastern District of Louisiana   2:10-CV-1438    Yes   No

 314    No Stamp   Roberts          John          Schmalz et al v. Transocean LTD, et al             Eastern District of Louisiana   2:10-CV-01452   Yes   No

 315    34486183   Roberts          Larry         Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 316    34486183   Roberts          Larry         Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No

 317    34486183   Roberts          Larry         Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116    Yes   No
                                                  Ben Robin, et al. v. BP, Plc, BP Products North
 318    34486724   Robin            Van           AM., et al.                                        Eastern District of Louisiana   10-1248         Yes   No
                                                  Ben Robin, et al. v. BP, Plc, BP Products North
 319    34487123   Robin            Van           AM., et al.                                        Eastern District of Louisiana   10-1248         Yes   No
                                                  Ben Robin, et al. v. BP, Plc, BP Products North
 320    34487389   Robin            Van           AM., et al.                                        Eastern District of Louisiana   10-1248         Yes   No
                                                  Ben Robin, et al. v. BP, Plc, BP Products North
 321    34487860   Robin            Van           AM., et al.                                        Eastern District of Louisiana   10-1248         Yes   No

 322    No Stamp   Rodi             Anthony       Schmalz et al v. Transocean Ltd et al.             Eastern District of Louisiana   2:10-CV-01452   Yes   No

 323    34493289   Rodrigue         Brent         Rodrigue, et al v. BP, PLC, et al                 Eastern District of Louisiana    10-1325         Yes   No
                                                  American Gulf Seafood LLC, et al. vs. BP, PLC, et
 324    34486281   Ronquille        Jerral        al.                                               Eastern District of Louisiana    2:10-CV-01970   Yes   No
                                                                                                    Southern District of
 325    34494744   Rowell           Jimmie        Sevel, et al v. BP, PLC, et al                    Mississippi                      2:10CV02677     Yes   No

 326    No Stamp   Sander           Gerald        Schmalz et al v. Transocean Ltd et al.             Eastern District of Louisiana   2:10-CV-01452   Yes   No

 327    No Stamp   Sander           Taylor        Schmalz et al v. Transocean Ltd et al.            Eastern District of Louisiana    2:10-CV-01452   Yes   No
                                                  American Gulf Seafood LLC, et al. vs. BP, PLC, et
 328    34486281   Santiny          Joshua        al.                                               Eastern District of Louisiana    2:10-CV-01970   Yes   No

 329    34470605   Satchfield       Kurt          Satchfield v. BP, PLC, et al., 4:10-CV-02397-TXSD Southern District of Texas       10-3185         Yes   No

 330    34455203   Schaff           Darren        Captain Darren P. Schaff v. BP, Plc, et al       Eastern District of Louisiana 10-01484            Yes   No
                                                  Capt. Charlie Thomason's Bayou Charters, INC. et
                                                  al vs. BP, PLC, BP Products North America, Inc.,
 331    34493851   Schild           Steven        et al                                            Eastern District of Louisiana 10-CV-01422         Yes   No
                                                  Ellis Schouest, III, et al. v. BP Products North
 332    34455357   Schouest         Ellis         America, Inc., et. al. C.A. No. 6:10-727         Western District of Louisiana                     Yes   No


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 333    34486183      Schwartz           Shelli          Abadie, et al v. BP, P.L.C., et al                      Eastern District of Louisiana     2:10-CV-2116         Yes   No

 334    No Stamp      Segrave            David           Schmalz et al v. Transocean Ltd et al.                  Eastern District of Louisiana     2:10-CV-01452        Yes   No

 335    No Stamp      Segrave            David           Schmalz et al v. Transocean Ltd et al.                  Eastern District of Louisiana     2:10-CV-01452        Yes   No

 336    No Stamp      Segrave            Michael         Schmalz et al v. Transocean Ltd et al                   Eastern District of Louisiana     2:10-CV-01452        Yes   No
        34493533;3447
 337    0987          Segreto            Salvadore       A Bar & Grill with A Bit, Inc., et al. v. BP, PLC, et al. Eastern District of Louisiana   10-1499              Yes   No
                                                         Capt. Charlie Thomason's Bayou Charters, Inc. et
                                                         al vs. BP, PLC, BP Products North America, Inc.,
 338    34494227      Serigne            Howard          et al                                                     Eastern District of Louisiana   10-CV-01422          Yes   No
                                                         Capt. Charlie Thomason's Bayou Charters, INC. et
                                                         al vs. BP, PLC, BP Products North America, Inc.,
 339    34494108      Serpas             Wilbur          et al                                                     Eastern District of Louisiana   10-CV-01422          Yes   No
                                                                                                                   Southern District of
 340    34495147      Seymour            Timothy         James C. Balius et al. v. BP PLC et al.                   Mississippi                     10-3271              Yes   No
                                                                                                                                                   2:10-CV-01387-CJB-
 341    34450315      Silver             Curtis          Sophisticated Lady, L.L.C., et al. vs. BP, PIC, et al. Eastern District of Louisiana      SS                   Yes   No
                                                         American Gulf Seafood LLC, et al. vs. BP, PLC, et
 342    34486281      Smith              Brian           al.                                                    Eastern District of Louisiana      2:10-CV-01970        Yes   No

 343    34490452      Smith              Judson          Jud and Sherri Smith, et al. v. BP, PLC, et al.         Southern District of Alabama 1:10-CV-200               Yes   No

 344    No Stamp      Smith              Justin          Schmalz et al v. Transocean LTD, et al            Eastern District of Louisiana           2:10-CV-01452        Yes   No
                                                         American Gulf Seafood LLC, et al. vs. BP, PLC, et
 345    34486281      Smith              Michael         al.                                               Eastern District of Louisiana           2:10-CV-01970        Yes   No

 346    34490452      Smith              Sherri          Jud and Sherri Smith, et al. v. BP, PLC, et al.         Southern District of Alabama 1:10-CV-200               Yes   No
                      Speck Chaser
 347    34477946      Charters                           Richard C. Brondum, et al v. BP, PLC, et al             Eastern District of Louisiana     2:10-CV-1613         Yes   No

                      Stephen E. Ernst
                      and Sharon Ernst
 348    34454523      Living Trust                       Larry O'Bryan, et al. v. BP, PLC, et al.                Western District of Kentucky      2:2010-CV-02992      Yes   No

                      Stephen E. Ernst
                      and Sharon Ernst
 349    34470864      Living Trust                       Larry O'Bryan, et al. v. BP, PLC, et al.                Western District of Kentucky      2:2010-CV-02992      Yes   No

 350    34461695      Stevenson          Tammy           Tammy Stevenson, et al vs. BP, PLC, et al               Eastern District of Louisiana     2:10-CV-01611J(1)    Yes   No
                                                                                                                 Southern District of
 351    34489758      Storrs             George          Sevel et al v. BP, PLC, et al.                          Mississippi                       1:10-CV-00179        Yes   No

 352    34471014      Suire              Anthony         Shannon Trahan, et al v BP, et al                       Southern District of Alabama 1:10CV00198               Yes   No

 353    34489498      Taylor             Diana           Bill's Oyster House, et al v. BP, Plc, et al            Eastern District of Louisiana     10-1308              Yes   No

 354    34490399      Taylor             Diana           Bill's Oyster House, et al v. BP, Plc, et al            Eastern District of Louisiana     10-1308              Yes   No

 355    34486183      Terrebonne         Carol           Abadie, et al v. BP, P.L.C., et al                      Eastern District of Louisiana     2:10-CV-2116         Yes   No



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                                              Robroy Terrebonne, et al Individually and on Behalf
 356    34488867   Terrebonne   Robroy        of Himself and all others Similarly Situated        Eastern District of Louisiana   10-1352         Yes   No

 357    34486183   Thann        Coa           Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2:10-CV-2116    Yes   No

 358    34486183   Thomas       Maude         Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2:10-CV-2116    Yes   No
                                              Capt. Charlie Thomason's Bayou Charters, Inc. et
                                              al vs. BP, PLC, BP Products North America, Inc.,
 359    34494300   Thomason     Charlie       et al                                               Eastern District of Louisiana   10-CV-01422     Yes   No

 360    34486183   Thov         Lam           Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No
 361    34447079   Tipps        Roy           Ben Nelson, et al. v. Transocean, Ltd., et al       Southern District of Texas      3:10-CV-00172   Yes   No
 362    34441279   Tipps        Roy           Ben Nelson, et al. v. Transocean, Ltd., et al.      Southern District of Texas      3:10-CV-00172   Yes   No

 363    34486183   Toups        Francis       Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 364    34486183   Toups        Todd          Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No
                                                                                                  Southern District of
 365    34492030   Townsend     John          Sevel et al v. BP, PLC et al                        Mississippi                     1:10-CV-00179   Yes   No

 366    34486183   Trahan       Adam          Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 367    34471014   Trahan       Shannon       Shannon Trahan, et al vs BP, et al                  Southern District of Alabama 1:10CV00198        Yes   No

 368    34486183   Tran         Han           Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No
                                              The National Vietnamese American Fisherman
 369    34485987   Tran         Hanh          Emergency Association, et al. v. BP PLC, et al.     Southern District of Texas      2:10-CV-02683   Yes   No

 370    34486183   Tran         Kiet          Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 371    34486183   Tran         Krystal       Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 372    34486183   Tran         Linn          Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 373    34486183   Tran         Ly            Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 374    34486183   Tran         Men           Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 375    34486183   Tran         Son           Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 376    34486183   Tran         Thach         Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 377    34486183   Tran         Thi           Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 378    34486183   Tran         Tuong         Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 379    34486183   Truong       Dung          Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   2010-CV-2116    Yes   No

 380    34486183   Truong       Hen           Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   20:10-CV-2116   Yes   No

 381    34486183   Truong       Man           Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   20:10-CV-2116   Yes   No

 382    34486183   Truong       Nan           Abadie, et al v. BP, P.L.C., et al                  Eastern District of Louisiana   20:10-CV-2116   Yes   No

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                                              A Bar & Grill with A Bite, Inc., et al. v. BP, PLC, et
 383    34492195   Tusa        Anthony        al.                                                      Eastern District of Louisiana   10-1499              Yes   No
                                              A Bar & Grill with A Bite, Inc., et al. v. BP, PLC, et
 384    34492313   Tusa        Anthony        al.                                                      Eastern District of Louisiana   10-1499              Yes   No
                                              A Bar & Grill with A Bite, Inc., et al. v. BP, PLC, et
 385    34492428   Tusa        Anthony        al.                                                      Eastern District of Louisiana   10-1499              Yes   No
                                              A Bar & Grill with A Bite, Inc., et al. v. BP, PLC, et
 386    34492530   Tusa        Anthony        al.                                                      Eastern District of Louisiana   10-1499              Yes   No
                                              A Bar & Grill with A Bite, Inc., et al. v. BP, PLC, et
 387    34492706   Tusa        Anthony        al.                                                      Eastern District of Louisiana   10-1499              Yes   No

 388    34486183   Van         Cal            Abadie, et al v. BP, P.L.C., et al                       Eastern District of Louisiana   20:10-CV-2116        Yes   No

 389    34486183   Van         Duong          Abadie, et al v. BP, P.L.C., et al                       Eastern District of Louisiana   20:10-CV-2116        Yes   No
                                              Van Duyn v. BP, PLC, et al., 1:10-CV-183-HSO-            Southern District of
 390    34470605   Van Duyn    Stacey         JMR, S.D. Miss., Southern Div.                           Mississippi                     10-2680              Yes   No
                                                                                                                                       2:10-CV-01387-CJB-
 391    34450315   Van Fleet   Charlene       Sophisticated Lady, LLC et al v. BP, PLC et al           Eastern District of Louisiana   SS                   Yes   No

 392    34486183   Vegas       Percy          Abadie, et al v. BP, P.L.C., et al                       Eastern District of Louisiana   20:10-CV-2116        Yes   No

 393    34455203   Verdin      Cherry         Captain Cherry D. Verdin v. BP, Plc, et al               Eastern District of Louisiana   10-CV-1841           Yes   No

 394    34455203   Verdin      Irene          Captain Irene D. Verdin v. BP,Plc, et al          Eastern District of Louisiana          10-CV-1842           Yes   No
                                              American Gulf Seafood LLC, et al. vs. BP, PLC, et
 395    34486281   Vidrine     Ashley         al.                                               Eastern District of Louisiana          2:10-CV-01970        Yes   No

 396    34486183   Vo          Si             Abadie, et al v. BP, P.L.C., et al                       Eastern District of Louisiana   20:10-CV-2116        Yes   No

 397    34440333   Walker      Lance          Fish Commander, LLC v. BP, PLC, et al                    Eastern District of Louisiana   10-1339              Yes   No
                                              Ward et. al. v BP et. al. ED of LA 2:10-CV-02670-
 398    34494357   Ward        George         CJB                                                      Northern District of Florida                         Yes   No

 399    34493289   Weaver      Donald         Rodrigue, et al v. BP, PLC, et al                        Eastern District of Louisiana   10-1325              Yes   No

 400    34490399   Williams    Michael        Bill's Oyster House, et al v. BP, Plc, et al             Eastern District of Louisiana   10-1308              Yes   No

 401    34486183   Willis      Terry          Abadie, et al v. BP, P.L.C., et al                       Eastern District of Louisiana   20:10-CV-2116        Yes   No

 402    34490399   Worthman    Nicole         Bill's Oyster House, et al v. BP, Plc, et al             Eastern District of Louisiana   10-1308              Yes   No
                                                                                                                                       2:10-CV-03177-CJB-
 403    34520485   Wright      Micah          Micah Wright v. BP, PLC, et al                           Southern District of Texas      SS                   Yes   No

 404    34486183   Xieu        Lam            Abadie, et al v. BP, P.L.C., et al                       Eastern District of Louisiana   20:10-CV-2116        Yes   No

 405    34478387                              Richard C. Brondum, et al v. BP, PLC, et al              Eastern District of Louisiana   2:10-CV-1613         Yes   No

 406    34478549                              Joshua Danzig v. BP, PLC, et al                          Eastern District of Louisiana   2:10-CV-1726         Yes   No

 407    34478700                              Jarvis J. Harmon, Sr., et al v. BP, PLC, et al           Eastern District of Louisiana   2:10-CV-1931         Yes   No

 408    34478849                              Jarvis J. Harmon, Sr., et al v. BP, PLC, et al           Eastern District of Louisiana   2:10-CV-1931         Yes   No

 409    34479123                              Jarvis J. Harmon, Sr., et al v. BP, PLC, et al           Eastern District of Louisiana   2:10-CV-1931         Yes   No

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 410    34479380       Jarvis J. Harmon, Sr., et al v. BP, PLC, et al   Eastern District of Louisiana   2:10-CV-1931   Yes   No




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                                                                                                                                                                    Original EDLA    Claim   Claim
        Lexis Nexis File & Serve                            Plaintiff First                                                                                          Civil Action    Filed Filed With
          E-Service Number           Plaintiff Last Name        Name                       Original Case Caption                           Original Court              Number       With BP  GCCF
                                                                              A Bar & Grill with a Bite, Inc., et al v. BP, PLC,
  1     34444754                   [Illegible]             Paul               et al                                                Eastern District of Louisiana   10-04199         No      No

  2     No Stamp                   [Illegible]                                Defenders of Wildlife, et al. v. BP. P.L.C. et al    Eastern District of Louisiana   2:10-CV-00879    No      No
  3     No Stamp                   [Illegible]                                Defenders of Wildlife, et al. v. BP, PLC, et al.     Eastern District of Louisiana   2:10-CV-03879    No      No
  4     No Stamp                   [Illegible]                                Defenders of Wildlife, et al. v. BP, PLC, et al.     Eastern District of Louisiana   2:10-CV-03879    No      No
                                                                              Water Street Seafood Inc., et al. v. B.P., PLC.,
  5     34485148                   Abrams                  Terence            et al                                                Northern District of Florida    2:10-CV-02671    No      No
                                                                              Water Street Seafood Inc., et al. v. B.P., PLC.,
  6     34485148                   Abrams                  Terence            et al                                                Northern District of Florida    2:10-CV-02671    No      No
                                                                              Water Street Seafood Inc., et al. v. B.P., PLC.,
  7     34493417                   Abrams                  Terence            et al                                                Northern District of Florida    2:10-CV-02671    No      No
                                                                              Water Street Seafood Inc., et al. v. B.P., PLC.,
  8     34493417                   Abrams                  Terence            et al                                                Northern District of Florida    2:10-CV-02671    No      No
                                                                              Alpasito, Inc., et al. v. BP Company North
  9     No Stamp                   Abrego                  Francisco          America, Inc., et al.                                Southern District of Texas      10-4216          No      No
                                                                              Alpasito, Inc., et al. v. BP Company North
  10    No Stamp                   Abrego                  Francisco          America, Inc., et al.                                Southern District of Texas      10-4216          No      No
                                                                              Adam Alfano v. Transocean Ltd., et al - Case
  11    34472294                   Alfano                  Adam               10-10047-CIV-King                                    Southern District of Florida    2:10CV02981      No      No

                                                                              All Florida Keys Property Management, LLC,
                                                                              Individually and on Behalf of all Persons
                                                                              Similarly Situated, Plaintiff v. Transocean, Ltd.,
                                                                              BP, PLC., Transocean Offshore Deepwater
                                   All Florida Keys                           Drilling, Inc., Transocean Deepwater, Inc.,
  12    34488534                   Property Management                        Products North America, Inc., Halli                Southern District of Florida                       No      No

                                                                              All Florida Keys Property Management, LLC,
                                                                              Individually and on Behalf of all Persons
                                                                              Similarly Situated, Plaintiff, v. Transocean, Ltd.,
                                                                              BP, P.LC., Transocean Offshore Deepwater
                                   All Florida Keys                           Drilling, Inc., Transocean Deepwater, Inc.,
  13    34490076                   Property Management                        Products North America, Inc., Hal                   Southern District of Florida                      No      No


                                                                              All Florida Keys Property Management, LLC,
                                                                              Individually and on Behalf of all Persons
                                                                              Similarly Situated, Plaintiff, v. TRANSOCEAN,
                                                                              LTD., BP, PLC TRANSOCEAN OFFSHORE
                                                                              DEEPWATER DRILLING, INC.,
                                   All Florida Keys                           TRANSOCEAN DEEPWATER, INC.,
  14    34490730                   Property Management                        PRODUCTS NORTH AMERICA, INC., HALLIB Southern District of Florida                                     No      No

  15    34492554                   Anderson                Dorothy            Divine Fish House, Inc., et al. v. BP, PLC, et al. SC-Charleston 10-1461             10-3276          No      No

  16    34492554                   Anderson                Dorothy            Divine Fish House, Inc., et al. v. BP, PLC, et al. SC-Charleston 10-1461             10-3276          No      No

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  17    34492554            Anderson             Dorothy     Divine Fish House, Inc., et al. v. BP, PLC, et al. SC-Charleston 10-1461           10-3276           No   No
                                                             Russell Avocato, Ind & as Proposed Class Rep                                       2:10-CV-02770-
  18    34462577            Avocato              Russell     vs. BP P.L.C., et al.                              Eastern District of Louisiana   CJB-SS            No   No

  19    34498422            B&B Properties                   Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                       No   No

  20    34498422            B&B Properties                   Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                       No   No
                                                                                                               Southern District of
  21    34489593            Baker                Cliff       Sevel et al v. BP, PLC, et al                     Mississippi                      1:10-CV-00179     No   No
  22    34486183            Ballard              Albert      Abadie, et al vs. BP, P.L.C, et al                Eastern District of Louisiana    2:10 CV 2116      No   No
                                                             State of Louisiana ex Rel. Ballay v. BP           District Court for Parish of
  23    34490402            Ballay               Charles     Exploration & Production, et al.                  Plaquemines, Louisiana           2:10-CV-1758      No   No
                                                             State of Louisiana ex rel. Ballay v. BP           25th JDC Parish of
  24    34490402;34492865   Ballay               Charles     Exploration & Production, et al.                  Plaquemines                      2:10-CV-1758      No   No
                                                                                                               2nd Judicial Circuit Leon
  25    34695706            Bamhardt             Roger       Walton, et. al v. BP, plc, et. al.                County FL                        N/A               No   No
  26    34487338            Barber               David       Barber's Seafood, Inc. v. BP, PLC., et al.        Northern District of Florida     2:10-CV-03098     No   No
  27    34493417            Barber               David       Barber's Seafood, Inc. v. BP, PLC., et al.        Northern District of Florida     2:10-CV-03098     No   No

  28    No Stamp            Barber               Peter       Peter J. Barber, et al.                           Southern District of Alabama     2:10CV3249        No   No
                                                                                                               Southern District of             2:10-CV-03267-
  29    34474893            Barker               Daniel      Daniel Barker, et al vs. BP, et al (See Below)    Mississippi                      CJB-SS            No   No

  30    34490452            Barnes               Harry       Jud and Sherri Smith, et al. v. BP, PLC, et al.    Southern District of Alabama 1:10-CV-200          No   No
  31    34441279            Baron                Ned         Ben Nelson, et al. v. Transocean, Ltd., et al.     Southern District of Texas       3:10-CV-00172    No   No
  32    34447079            Baron                Ned         Ben Nelson, et al. v. Transocean, Ltd., et al.     Southern District of Texas       3:10-CV-00172    No   No
                                                             Alpasito, Inc., et al. v. BP Company North
  33    No Stamp            Bautista             Juan        America, Inc., et al.                              Southern District of Texas       10-4216          No   No
                                                             Bayona Corporation d/b/a Bayona Restaurant,
  34    34473531            Bayona Corporation               et al. v. Transocean, Ltd., et al.                 Eastern District of Louisiana 2:10-CV-1839        No   No
                                                             C.A. No. 2010-25245; Tracy Kleppinger vs.
                                                             Transocean Offshore Deepwater Drilling, Inc.,
                                                             et al, In the 235th Judicial District Court of     District Court of Harris County, 2:10-CV-02771
  35    34490670            Benton               Tyrone      Harris County, Texas                               Texas                            CJB-SS           No   No
                                                             American Gulf Seafood LLC, et al. vs. BP, PLC,
  36    34486281            Biggs                Jerry       et al.                                             Eastern District of Louisiana 2:10-CV-01970       No   No
                                                             Deborah Bird, et al. Ind & as Proposed Class                                        4:10-CV-10054-
  37    34460822            Bird                 Deborah     Rep vs. BP P.L.C., et al.                          Southern District of Florida     King-Bandstra    No   No
                                                             Juan Esquivel, et al. v. BP Company North
  38    34487414            Blanco               Rogelio     America, Inc., et al.                              Southern District of Texas       10-4214          No   No
  39    34804258            Blankenship          Jeffrey     Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana 10-2989             No   No
  40    34804258            Blankenship          Lou         Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana 10-2989             No   No
                                                             A Bar & Grill with A Bite, Inc, et al. v. BP, PLC,
  41    34491781            Borges               William     et al.                                             Eastern District of Louisiana 10-1499             No   No
                                                             Darleen Jacobs Levy vs. Transocean, LTD, et
  42    No Stamp            Bradley              Charles     al                                                 Eastern District of Louisiana 10-1245             No   No
  43    34492554            Brandt               Earl        Earl Brandt, et al. v. BP, PLC, et al              District of South Carolina       10-3275          No   No
                                                             Van Duyn v. BP, PLC, et al., 1:10-cv-183-HSO- Southern District of
  44    34470605            Breme                Margaret    JMR, S.D. Miss., Southern Div.                     Mississippi                      10-2680          No   No
  45    34517999            Brown                Andrea      Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana 10-2989             No   No

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  46    34803960   Brown                   Andrea    Christopher R. Schorr, et al v. BP, PLC et al    Eastern District of Louisiana 10-2989                No   No
                                                     2010-25245; Kleppinger, et al vs. Transocean,    District Court of Harris County,
  47    34437998   Brown                   Douglas   et al                                            Texas                            10-3168             No   No
                                                     2010-25245; Kleppinger, et al vs. Transocean,    District Court of Harris County,
  48    34456028   Brown                   Douglas   et al                                            Texas                            10-3168             No   No
  49    34517999   Brown                   Walter    Christopher R. Schorr, et al v. BP, PLC et al    Eastern District of Louisiana 10-2989                No   No
  50    34803960   Brown                   Walter    Christopher R. Schorr, et al v. BP, PLC et al    Eastern District of Louisiana 10-2989                No   No
  51    No Stamp   Bryan                   Seaborn   Mitchell, et al. v. BP, PLC, et al.              Eastern District of Louisiana 10-CV-1472             No   No
                                                                                                      US District Court for the
                                                     Charles Douglass, et al. v. Transocean, Ltd., et Northern District of Florida,    3:01-CV-00136-
  52    34493902   Bryant                  Edward    al.                                              Pensacola Div.                   MCR-MD              No   No
  53    34493976   Buras                   Howard    Buras, et al v. BP, PLC, et al                   Eastern District of Louisiana 10-2994                No   No
                                                     Brad Jones, et al v. Cameron International
                                                     Corporation a/k/a Cameron Systems
  54    34482691   Burrell                 Michael   Corporation, et al                               Texas State Court - Harris Co. 10-CV-3184            No   No
                                                     Darleen Jacobs Levy vs. Transocean, LTD, et
  55    No Stamp   Cage                    Patrick   al                                               Eastern District of Louisiana 10-1245                No   No
                                                     Ecco Solutions d/b/a Ecco Fish USA, et al. v.
  56    No Stamp   Caiazza                 Michael   BP Company North America, Inc., et al.           Southern District of Texas       10-4225             No   No

  57    34498422   Caldwell                William   Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                        No   No

  58    34498422   Caldwell                William   Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                        No   No
  59    No Stamp   Calhoun                 Jeffrey   Vincent Coratella, et al v. BP, PLC, et al        Middle District of Florida        2:10-CV-03083     No   No
  60    34470136   Campo                   Leroy     Robin v. Seacor Marine                            Eastern District of Louisiana     2:10-CV-01156     No   No
  61    34470000   Campo                   Marie     Robin v. Seacor Marine                            Eastern District of Louisiana     2:10-CV-01156     No   No
                                                     State of Louisiana ex rel. Cannizzaro v. BP       Civil District Court, Parish of
  62    34739131   Cannizzaro              Leon      Exploration & Production, et al                   Orleans                           2:10-CV-02731     No   No
                                                     State of Louisiana ex Rel. Cannizzaro v. BP       District Court for Parish of
  63    No Stamp   Cannizzaro              Leon      Exploration & Production, et al                   Orleans, Louisiana                2:10-CV-02731     No   No
                                                     Juan Esquivel, et al. v. BP Company North
  64    No Stamp   Cano                    Roque     America, Inc., et al.                             Southern District of Texas        10-4214           No   No
                                                     Alpasito, Inc., et al. v. BP Company North
  65    No Stamp   Cantu                   Jimmy     America, Inc., et al.                             Southern District of Texas        10-4216           No   No
                                                     Alpasito, Inc., et al. v. BP Company North
  66    No Stamp   Carinhas                Jack      America, Inc., et al.                             Southern District of Texas        10-4216           No   No
                                                     Obie F. Carlisle, Ind & as Proposed Class Rep                                       CI:10-CV-00422-
  67    34470217   Carlisle                Obie      vs. BP P.L.C., et al.                             Southern District of Alabama      WS-C              No   No
                                                     James J. Frischhertz, et al. v. Halliburton
  68    34490438   Carter                  Kenneth   Energy Services, Inc., et al.                     Eastern District of Louisiana     10-1908           No   No
                   Center for Biological             Center for Biological Diversity v. BP America, et
  69    34348622   Diversity               N/A       al.                                               Eastern District of Louisiana     2:10-CV-01768     No   No
                                                     Alpasito, Inc., et al. v. BP Company North
  70    No Stamp   Cepeda                  Ismael    America, Inc., et al.                             Southern District of Texas        10-4216           No   No
  71    34492554   Chandler                Sandra    Earl Brandt, et al. v. BP, PLC, et al             District of South Carolina        10-3275           No   No
                                                     Darleen Jacobs Levy vs. Transocean, LTD, et
  72    No Stamp   Charbonnet              Barbara   al                                                Eastern District of Louisiana     10-1245           No   No
                                                     Darleen Jacobs Levy vs. Transocean, LTD, et
  73    No Stamp   Charbonnet              Jack      al                                                Eastern District of Louisiana     10-1245           No   No
                                                     Darleen Jacobs Levy vs. Transocean, LTD, et
  74    No Stamp   Charbonnet              Jane      al                                                Eastern District of Louisiana     10-1245           No   No

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                                                          Darleen Jacobs Levy vs. Transocean, LTD, et
  75    No Stamp   Charbonnet              Kenny          al                                                   Eastern District of Louisiana   10-1245        No   No
                                                          Darleen Jacobs Levy vs. Transocean, LTD, et
  76    No Stamp   Charbonnet              Linda          al                                                   Eastern District of Louisiana   10-1245        No   No
                                                          Darleen Jacobs Levy vs. Transocean, LTD, et
  77    No Stamp   Charbonnet              Linda          al                                                   Eastern District of Louisiana   10-1245        No   No
                                                          Darleen Jacobs Levy vs. Transocean, LTD, et
  78    No Stamp   Charbonnet              Robert         al                                                   Eastern District of Louisiana   10-1245        No   No
                                                          Darleen Jacobs Levy vs. Transocean, LTD, et
  79    No Stamp   Charbonnet              Robert         al                                                   Eastern District of Louisiana   10-1245        No   No
                   Charter Boat
  80    34481385   Seascape, Inc                          Destin Fishing Fleet, Inc, et al v. BP, PLC, et al Northern District of Florida      10-3088        No   No
                   Charter Boat
  81    34481385   Seascape, Inc                          Destin Fishing Fleet, Inc, et al v. BP, PLC, et al Northern District of Florida      10-3088        No   No
                   Charter Boat
  82    34481906   Seascape, Inc                          Destin Fishing Fleet, Inc, et al v. BP, PLC, et al Northern District of Florida      10-3088        No   No
                   Charter Boat Sunrise,
  83    34481385   Inc                                    Destin Fishing Fleet, Inc, et al v. BP, PLC, et al Northern District of Florida      10-3088        No   No
                   Charter Boat Sunrise,
  84    34481906   Inc                                    Destin Fishing Fleet, Inc, et al v. BP, PLC, et al   Northern District of Florida    10-3088        No   No
  85    34486183   Chau                    Nguyen Huanh   Abadie et al vs. BP, P.L.C. et al                    Eastern District of Louisiana   2:10 CV 2116   No   No
                                                          M.P. Cheng, LLC, et al. v. BP Company North
  86    34487414   Cheng                   Yun            America, Inc., et al.                                Southern District of Texas                     No   No
                                                          M.P. Cheng, LLC, et al. v. BP Company North
  87    No Stamp   Cheng                   Yun            America, Inc., et al.                                Southern District of Texas                     No   No
                                                          M.P. Cheng, LLC, et al. v. BP Company North
  88    No Stamp   Cheng                   Yun            America, Inc., et al.                                Southern District of Texas                     No   No
                                                          M.P. Cheng, LLC, et al. v. BP Company North
  89    No Stamp   Cheng                   Yun            America, Inc., et al.                                Southern District of Texas                     No   No
                                                          M.P. Cheng, LLC, et al. v. BP Company North
  90    No Stamp   Cheng                   Yun            America, Inc., et al.                                Southern District of Texas                     No   No
                                                          M.P. Cheng, LLC, et al. v. BP Company North
  91    No Stamp   Cheng                   Yun            America, Inc., et al.                                Southern District of Texas                     No   No
                                                          Samuel Chernin, et al. vs. BP Company North
  92    34487414   Chernin                 Samuel         America, Inc., et al.                                Southern District of Texas      10-4223        No   No
                                                          Samuel Chernin, et al. vs. BP Company North
  93    No Stamp   Chernin                 Samuel         America, Inc., et al.                                Southern District of Texas      10-4223        No   No
                                                          Samuel Chernin, et al. vs. BP Company North
  94    No Stamp   Chernin                 Samuel         America, Inc., et al.                                Southern District of Texas      10-4223        No   No
                                                          Samuel Chernin, et al. vs. BP Company North
  95    No Stamp   Chernin                 Samuel         America, Inc., et al.                                Southern District of Texas      10-4223        No   No
                                                          Samuel Chernin, et al. vs. BP Company North
  96    No Stamp   Chernin                 Samuel         America, Inc., et al.                                Southern District of Texas      10-4223        No   No
                                                          Samuel Chernin, et al. vs. BP Company North
  97    No Stamp   Chernin                 Samuel         America, Inc., et al.                                Southern District of Texas      10-4223        No   No
                                                          Samuel Chernin, et al. vs. BP Company North
  98    No Stamp   Chernin                 Samuel         America, Inc., et al.                                Southern District of Texas      10-4223        No   No
  99    34517999   Chipka                  Heather        Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana   10-2989        No   No
  100   34803960   Chipka                  Heather        Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana   10-2989        No   No
  101   34517999   Chipka                  Stephen        Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana   10-2989        No   No
  102   34803960   Chipka                  Stephen        Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana   10-2989        No   No

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                                                           2010-25245; Kleppinger, et al vs. Transocean,         District Court of Harris County,
  103   34438371   Choy                    Christopher     et al                                                 Texas                            10-3168          No   No
                                                                                                                 2nd Judicial Circuit Leon
  104   34695706   Clark                   Heather & Ken   Walton, et. al v. BP, plc, et. al.                    County FL                        N/A              No   No
  105   34486183   Collins                 Andrea          Abadie et al vs. BP P.L.C. et al                      Eastern District of Louisiana 2:10 CV 2116        No   No
  106   34486183   Collins                 Robert          Abadie et al vs. BP P.L.C. et al                      Eastern District of Louisiana 2:10 CV 2116        No   No
  107   34463410   Contegni                Charles         Contegni V. Transocean Ltd., et al.                   Southern District of Texas                        No   No
                                                                                                                 Southern District of             1:10cv391HSO-
  108   35133349   Cooley                  James           James Cooley v. BP, PLC; et al.                       Mississippi                      JMR              No   No
  109   34517999   Cooley                  Mark            Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana 10-2989             No   No
  110   34803960   Cooley                  Mark            Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana 10-2989             No   No
  111   No Stamp   Coratella               Vincent         Vincent Coratella, et al v. BP, PLC, et al            Middle District of Florida       2:10-CV-03083    No   No
                                                                                                                 US District Court for the
                                                           Dacien Thane Creech v. Transocean, Ltd., et           Northern District of Florida,    3:01-CV-00158-
  112   34493902   Creech                  Dacien          al.                                                   Pensacola Div.                   RV-EMT           No   No
                                                                                                                 US District Court for the No.
                                                           Dacien Thane Creech v. Transocean, Ltd., et           Dist. of Florida, Pensacola      3:01-CV-00158-
  113   No Stamp   Creech                  Dacien          al.                                                   Div.                             RV-EMT           No   No

  114   34495660   Crenshaw                John            John Crenshaw v. BP, PLC, et al.                      Southern District of Alabama    10-3255           No   No
  115   34489834   Cummins                 Harold          Joseph A. Kunstler, et al BP, P.L.C., et al.          Eastern District of Louisiana   2010-01345        No   No
  116   34486183   Dang                    Cuong           Abadie et al vs. BP, P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116      No   No
                                                           Daniels v. BP, PLC, et al., 1:10-CV-181-HSO-          Southern District of
  117   34470605   Daniels                 Ronnie          JMR, S.D. Miss., Southern Div.                        Mississippi                     10-2679           No   No
  118   34486183   Danos                   George          Abadie et al vs. BP, P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116      No   No
                                                           Darleen Jacobs Levy vs. Transocean, LTD, et
  119   No Stamp   Davis                   Beverly         al                                                    Eastern District of Louisiana   10-1245           No   No
                                                           Darleen Jacobs Levy vs. Transocean, LTD, et
  120   No Stamp   Davis                   Everett         al                                                    Eastern District of Louisiana   10-1245           No   No

  121   34767157   Defenders of Wildlife                   Defenders of Wildlife, et al. v. BP, p.l.c., et al.   Eastern District of Louisiana   2:10-CV-03879     No   No
  122   No Stamp   Deffers                 Carrie          Direct Filing Short Form                              Eastern District of Louisiana   MDL 2179          No   No
                                                           Darleen Jacobs Levy vs. Transocean, LTD, et
  123   No Stamp   Deffes                  Carrie          al                                                    Eastern District of Louisiana   10-1245           No   No
                                                           Darleen Jacobs Levy vs. Transocean, LTD, et
  124   No Stamp   Deffes                  Patrick         al                                                    Eastern District of Louisiana   10-1245           No   No
                                                           Darleen Jacobs Levy vs. Transocean, LTD, et
  125   No Stamp   Deffes                  Veronica        al                                                    Eastern District of Louisiana   10-1245           No   No

  126   No Stamp   Denmark                 Steve           David Meyer, et al.                                   Southern District of Alabama    2:10CV02650       No   No
  127   34517999   Depritto                Lucia           Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989           No   No
  128   34803960   Depritto                Lucia           Christopher R. Schorr, et al v. BP, PLC et al         Eastern District of Louisiana   10-2989           No   No
  129   34450953   Derouen                 Kelly           Derouen, et al v. BP PLC, et al                       Eastern District of Louisiana   10-01573          No   No
  130   34450953   Derouen                 Uwell           Derouen, et al v. BP PLC, et al                       Eastern District of Louisiana   10-01573          No   No
                   Destin Fishing Fleet,
  131   34481385   Inc.                                    Destin Fishing Fleet, Inc, et al v. BP, PLC, et al Northern District of Florida       10-3088           No   No
                   Destin Fishing Fleet,
  132   34481906   Inc.                                    Destin Fishing Fleet, Inc, et al v. BP, PLC, et al Northern District of Florida       10-3088           No   No

  133   34488824   Dexter                  Roderick        Sarah H. Moore, et al. v. BP, PLC, et al.             Southern District of Alabama    2:10-CV-03253     No   No


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  134   34488824   Dexter                      William      Sarah H. Moore, et al. v. BP, PLC, et al.            Southern District of Alabama       2:10-CV-03253    No   No

                   District Attorney for the
                   Parish of St. Bernard
                   State of Louisiana by &
                   through, Honorable                       State of Louisiana v. BP Exploration &               District Court for Parish of St.
  135   34490995   John F. Rowley                           Production, Inc. et al.                              Bernard, Louisiana                 10-2087          No   No

                   District Attorney for the
                   Parish of St. Bernard
                   State of Louisiana. by
                   & through, Honorable                     State of Louisiana v. BP Exploration &               District Court for Parish of St.
  136   34490995   John F. Rowley                           Production, Inc. et al.                              Bernard, Louisiana                 10-2087          No   No

  137   34492554   Divine                      Jack         Divine Fish House, Inc., et al. v. BP, PLC, et al. SC-Charleston 10-1461                10-3276          No   No

  138   34492554   Divine                      Jack         Divine Fish House, Inc., et al. v. BP, PLC, et al. SC-Charleston 10-1461                10-3276          No   No

  139   34492554   Divine                      Jack         Divine Fish House, Inc., et al. v. BP, PLC, et al. SC-Charleston 10-1461                10-3276          No   No

  140   34492554   Divine                      Jack         Divine Fish House, Inc., et al. v. BP, PLC, et al. SC-Charleston 10-1461                10-3276          No   No

  141   34492554   Divine                      Jack         Divine Fish House, Inc., et al. v. BP, PLC, et al.   SC-Charleston 10-1461              10-3276          No   No
  142   34517999   Dixon                       Marie        Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989          No   No
  143   34803960   Dixon                       Marie        Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989          No   No
  144   34517999   Dixon                       Stephen      Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989          No   No
  145   34803960   Dixon                       Stephen      Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana      10-2989          No   No
                                                            Henry Phuc Do d/b/a Paul's Seafood v. BP,
  146   34477911   Do                          Henry        PLC, et al.                                          Eastern District of Louisiana      2:10-CV-02750    No   No
                                                            Juan Esquivel, et al. v. BP Company North
  147   No Stamp   Dominguez                   Lenardo      America, Inc., et al.                                Southern District of Texas         10-4214          No   No
  148   34494468   Dominique                   Kurt                                                              XXXXX                                               No   No

  149   34479483   Donoghue                    Patricia     Dr. & Mrs. Teodoro Ortega, et al., vs. BP, et al. Northern District of Florida          10-193           No   No
                                                                                                              US District Court for the
                                                            Charles Douglass, et al. v. Transocean, Ltd., et Northern District of Florida,          3:01-CV-00136-
  150   34493902   Douglass                    Annette      al.                                               Pensacola Div.                        MCR-MD           No   No
                                                                                                              US District Court for the
                                                            Charles Douglass, et al. v. Transocean, Ltd., et Northern District of Florida,          3:01-CV-00136-
  151   34493902   Douglass                    Charles      al.                                               Pensacola Div.                        MCR-MD           No   No
  152   34494301   Doukas                      John         Thigpen, et al v. BP, PLC, et al                  Eastern District of Louisiana         10-3273          No   No
  153   34486183   Driggers                    William      Abadie et al vs. BP P.L.C. et al                  Eastern District of Louisiana         2:10 CV 2116     No   No
  154   No Stamp   DuBose                      Gillis       Mitchell, et al. v. BP, PLC, et al.               Eastern District of Louisiana         10-CV-1472       No   No

  155   34488824   Dumas                       Mary         Sarah H. Moore, et al. v. BP, PLC, et al.            Southern District of Alabama       2:10-CV-03253    No   No

  156   34488824   Dumas                       William      Sarah H. Moore, et al. v. BP, PLC, et al.            Southern District of Alabama       2:10-CV-03253    No   No
  157   No Stamp   Duncan                      Marcellius   Fruge, et al. v. BP, PLC, et al.                     Eastern District of Louisiana      10-CV-1752       No   No
  158   34486183   Dung                        Tran Van     Abadie et al vs. BP P.L.C. et al                     Eastern District of Louisiana      2:10 CV 2116     No   No
  159   34486183   Dung                        Truong       Abadie et al vs. BP PLC                              Eastern District of Louisiana      2:10 CV 2116     No   No

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  160   34482005            Eckert                  Darryl      Charles C. Elmer, et al. v. BP, P.L.C, et al       Eastern District of Louisiana   10-1515          No   No
  161   34479533            Edmond                  Carlos      Jarvis J. Harmon, Sr., et al v. BP, PLC, et al     Eastern District of Louisiana   2:10-CV-1931     No   No
  162   34482005            Elmer                   Charles     Charles C. Elmer, et al. V. BP, P.L.C., et al.     Eastern District of Louisiana   10-1515          No   No
                                                                Felix C. Aguilar, et al. vs. BP Company North
  163   No Stamp            Encarnation             Guajardo    America, et al.                                    Southern District of Texas      10-4220          No   No
                                                                Juan Esquivel, et al. v. BP Company North
  164   No Stamp            Escobedo                Gilberto    America, Inc., et al.                              Southern District of Texas      10-4214          No   No
                                                                Juan Esquivel, et al. v. BP Company North
  165   No Stamp            Escobedo                Gilberto    America, Inc., et al.                              Southern District of Texas      10-4214          No   No
  166   34489684            Estaves                 Amanda      Robin v. SEACOR Marine                             Eastern District of Louisiana   2:10-CV-01156    No   No
  167   34471386;34471402   Estaves                 Christina   Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156    No   No
  168   34448723            Estaves                 David       Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156    No   No
  169   34472043            Estaves                 Donna       Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156    No   No
  170   34470728            Estaves                 Janet       Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156    No   No
                            Faith Haven-Ft.
  171   34498422            Morgan on the Gulf                  Hopkins, et al. v. Transocean, Ltd., et al.    Southern District of Alabama                         No   No
                                                                John Faris & John Faris Properties, LLC, II v.
  172   34485987            Faris                   John        BP, PLC, et al                                 Eastern District of Tennessee 2:10-CV-02998          No   No
                                                                East Shore Land Development LLC v. BP, PLC,
  173   34492205            Felker                  Alan        et al                                          Middle District of Florida    2:10-CV-03078          No   No
                                                                Alpasito, Inc., et al. v. BP Company North
  174   No Stamp            Fernandez               Ismael      America, Inc., et al.                          Southern District of Texas    10-4216                No   No

  175   34488824            Fillippe                 Kathryn    Sarah H. Moore, et al. v. BP, PLC, et al.          Southern District of Alabama    2:10-CV-03253    No   No
                            First Light Enterprises,
  176   34481385            Inc.                                Destin Fishing Fleet, Inc, et al v. BP, PLC, et al Northern District of Florida    10-3088          No   No
                            First Light Enterprises,
  177   34481906            Inc.                                Destin Fishing Fleet, Inc, et al v. BP, PLC, et al Northern District of Florida     10-3088         No   No
                                                                                                                   US District Court for the
                                                                                                                   Southern District of Alabama,
  178   34493902            Fishburn                Ronald      Fishburn, et al. v. BP PLC, Ltd., et al.           Mobile Div.                      1:10-248        No   No
                                                                                                                   US District Court for the
                                                                                                                   Southern District of Alabama,
  179   34493902            Fishburn                Wanda       Fishburn, et al. v. BP PLC, Ltd., et al.           Mobile Div.                      1:10-248        No   No
  180   34486183            Forest                  Vanessa     Abadie et al vs. BP P.L.C. et al                   Eastern District of Louisiana 2:10 CV 2116       No   No
                                                                C.A. No. 2010-25245; Tracy Kleppinger vs.
                                                                Transocean Offshore Deepwater Drilling, Inc.,
                                                                et al, In the 235th Judicial District Court of     District Court of Harris County, 2:10-CV-02771
  181   34490225            Francis                 Bill        Harris County, Texas                               Texas                            CJB-SS          No   No

  182   34498422            Fran's on Fifty Nine                Hopkins, et al. v. Transocean, Ltd., et al.        Southern District of Alabama                     No   No
  183   34470545            Freire                  Carolyn     Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156    No   No
  184   34442602            Friloux                 Ethyln      James J. Friloux, et. al vs. BP, PLC.,             Eastern District of Louisiana   101-1246         No   No
  185   34442602            Friloux                 James       James J. Friloux, et. al vs. BP, PLC., et al.      Eastern District of Louisiana   101-1246         No   No
                                                                James J. Frischhertz, et al. v. Halliburton
  186   34490275            Frischhertz             James       Energy Services, Inc., et al.                      Eastern District of Louisiana   10-1908          No   No
  187   34517999            Galanti                 Ronald      Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana   10-2989          No   No
  188   34803960            Galanti                 Ronald      Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana   10-2989          No   No
  189   34491656            Galaris                 James       James Galaris, et al v. BP, PLC, et al             Middle District of Florida      2:10-CV-03081    No   No
                                                                                                                                                   2:10-CV-
  190   34461695            Galliano                Carl        Galliano, et al vs. BP, PLC, et al                 Eastern District of Louisiana   02715J(1)        No   No

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                                                                                                                                     2:10-CV-
  191   34461695   Galliano          Carol           Galliano, et al vs. BP, PLC, et al              Eastern District of Louisiana   02715J(1)        No   No
                                                     Darleen Jacobs Levy vs. Transocean, LTD, et
  192   No Stamp   Galliano          Joseph          al                                              Eastern District of Louisiana   10-1245          No   No
                                                     Darleen Jacobs Levy vs. Transocean, LTD, et
  193   No Stamp   Galliano          Linda           al                                              Eastern District of Louisiana   10-1245          No   No
                                                     Darleen Jacobs Levy vs. Transocean, LTD, et
  194   No Stamp   Gallordo          Wilfred         al                                              Eastern District of Louisiana   10-1245          No   No
                                                     Alpasito, Inc., et al. v. BP Company North
  195   No Stamp   Garcia            Raul            America, Inc.                                   Southern District of Texas      10-4216          No   No
                                                     Alpasito, Inc., et al. v. BP Company North
  196   No Stamp   Garcia            Raul            America, Inc., et al.                           Southern District of Texas      10-4216          No   No
                                                     Alpasito, Inc., et al. v. BP Company North
  197   No Stamp   Garcia            Raul            America, Inc., et al.                           Southern District of Texas      10-4216          No   No
                                                     Alpasito, Inc., et al. v. BP Company North
  198   No Stamp   Garcia            Raul            America, Inc., et al.                           Southern District of Texas      10-4216          No   No
                                                     Alpasito, Inc., et al. v. BP Company North
  199   No Stamp   Garcia            Raul            America, Inc., et al.                           Southern District of Texas      10-4216          No   No
                                                     Alpasito, Inc., et al. v. BP Company North
  200   No Stamp   Garcia            Raul            America, Inc., et al.                           Southern District of Texas      10-4216          No   No
  201   34493710   Garner            Tom             Tom Garner v. BP, PLC, et al                    Eastern District of Louisiana   10-01482         No   No
  202   34493857   Garner            Tom             Tom Garner v. BP, PLC, et al                    Eastern District of Louisiana   10-01482         No   No
                                                     Juan Esquivel, et al. v. BP Company North
  203   No Stamp   Garnica           Luis            America, Inc., et al.                           Southern District of Texas      10-4214          No   No
  204   34493923   Gautreaux         Laura           Gautreaux, et al v. BP, PLC, et al              Eastern District of Louisiana   10-2764          No   No
                                                                                                                                     3:10-CV-00045-
  205   34472026   Gay               Joe             See Attached                                    Southern District of Georgia    LGW-WLB          No   No
                                                                                                                                     MDL Docket No:
  206   34490828   Gelabert          Manuel          2:10-CV-03092                                  Northern District of Florida     2179             No   No
  207   34490693   Gionis            Athanasios      Athanasios Gionis, et al v. BP, PLC, et al     Middle District of Florida       2:10-CV-03080    No   No
  208   34492776   Gionis            Evdokia         Athanasios Gionis, et al v. BP, PLC, et al     Middle District of Florida       2:10-CV-03080    No   No
                                                     Gulf Manufacturing Company v. BP, PLC; et al.,
  209   34357052   Gomez             Eduardo;Clara   FLSD Case # 1:10-cv-23323-XXXX                 Southern District of Florida     10-4209          No   No
  210   34471001   Gonzales          Janice          Robin v. Seacor Marine                         Eastern District of Louisiana    2:10-CV-01156    No   No
                                                     Raymond Gore, et al. v. BP Company North
  211   No Stamp   Gore              Raymond         America, Inc., et al.                          Southern District of Texas                        No   No
                                                     Raymond Gore, et al. v. BP Company North
  212   34487414   Gore              Wright          America, Inc., et al.                          Southern District of Texas                        No   No
                                                     Raymond Gore, et al. v. BP Company North
  213   No Stamp   Gore              Wright          America, Inc., et al.                          Southern District of Texas                        No   No
                                                     Raymond Gore, et al. v. BP Company North
  214   No Stamp   Gore              Wright          America, Inc., et al.                          Southern District of Texas                        No   No
                                                     Raymond Gore, et al. v. BP Company North
  215   No Stamp   Gore              Wright          America, Inc., et al.                          Southern District of Texas                        No   No
                                                     Raymond Gore, et al. v. BP Company North
  216   No Stamp   Gore              Wright          America, Inc., et al.                          Southern District of Texas                        No   No
                                                     Raymond Gore, et al. v. BP Company North
  217   No Stamp   Gore              Wright          America, Inc., et al.                          Southern District of Texas                        No   No
                                                     Raymond Gore, et al. v. BP Company North
  218   No Stamp   Gore              Wright          America, Inc., et al.                          Southern District of Texas                        No   No


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                                                         Raymond Gore, et al. v. BP Company North
  219   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  220   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  221   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  222   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  223   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  224   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  225   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  226   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  227   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  228   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  229   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  230   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. v. BP Company North
  231   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No
                                                         Raymond Gore, et al. vs. BP Company North
  232   No Stamp   Gore                Wright            America, Inc., et al.                                 Southern District of Texas                       No   No

  233   34494744   Graf                Robert            Robin Seafood Co., Inc., et al v. BP, PPLC et al Eastern District of Louisiana        2:10CV1314       No   No
  234   No Stamp   Greene              Patricia & John   John and Patricia Greene v. BPP. L.C et al         USDC Eastern District              10-04249         No   No
                                                         William Gregoire, et al v. Transocean, Ltd., et
  235   34429480   Gregoire            William           al.                                                Eastern District of Louisiana      02:10-CV-01351   No   No
                                                         Aleen Grieshaber, et al. V. BP Products North Southern District of
  236   34460859   Grieshaber          Aleen             America, Inc., et al.                              Mississippi                        1:10-CV-00185    No   No
                                                         Aleen Grieshaber, et al. V. BP Products North Southern District of
  237   34460859   Grieshaber          James             America, Inc., et al.                              Mississippi                        1:10-CV-00185    No   No
                                                         (2 Cases) Gulf Restoration Network, et al. v.
                   Gulf Restoration                      Salazar, et al.; Gulf Restoration Network, et al.,                                    2:10-CV-01497-
  238   No Stamp   Network, Inc.                         v. U.S Dep't of the Interior, et al.               Eastern District of Louisiana      KDE-ALC          No   No
                   Gulf Restoration
  239   34767157   Network, Inc.                         Defenders of Wildlife, et al. v. BP, p.l.c., et al.   Eastern District of Louisiana   2:10-CV-03879    No   No
                                                         Darleen Jacobs Levy vs. Transocean, LTD, et
  240   No Stamp   Harper              Lewis             al                                                    Eastern District of Louisiana   10-1245          No   No

  241   34488824   Harrington          Harris            Sarah H. Moore, et al. v. BP, PLC, et al.             Southern District of Alabama    2:10-CV-03253    No   No

  242   34488824   Harrington          Hettie            Sarah H. Moore, et al. v. BP, PLC, et al.             Southern District of Alabama    2:10-CV-03253    No   No
  243   34494451   Harris              Steve             Loupe, et al v. BP, PLC, et al                        Eastern District of Louisiana   10-2078          No   No
  244   34486183   Hebert              Joey              Abadie et al vs. BP P.L.C, et al                      Eastern District of Louisiana   2:10 CV 2116     No   No
  245   34486183   Hebert              Mark              Abadie et al vs. BP, P.L.C. et al                     Eastern District of Louisiana   2:10 CV 2116     No   No

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  246   No Stamp   Heier                   Kevin           Schmalz et al v. Transocean Ltd et al.        Eastern District of Louisiana   2:10-CV-01452    No   No

  247   34488824   Henderson               J.              Sarah H. Moore, et al. v. BP, PLC, et al.     Southern District of Alabama    2:10-CV-03253    No   No

  248   34488824   Henderson               S.              Sarah H. Moore, et al. v. BP, PLC, et al.     Southern District of Alabama    2:10-CV-03253    No   No

  249   34488824   Henderson               S.              Sarah H. Moore, et al. v. BP, PLC, et al.     Southern District of Alabama    2:10-CV-03253    No   No

  250   34488824   Henderson               Tim             Sarah H. Moore, et al. v. BP, PLC, et al.     Southern District of Alabama    2:10-CV-03253    No   No

  251   34488824   Henderson               Tommy           Sarah H. Moore, et al. v. BP, PLC, et al.     Southern District of Alabama    2:10-CV-03253    No   No

  252   34488824   Henderson               William         Sarah H. Moore, et al. v. BP, PLC, et al.     Southern District of Alabama    2:10-CV-03253    No   No
                                                           Juan Esquivel, et al. vs. BP Company North
  253   No Stamp   Hernandez               Eleazar         America, Inc., et al.                         Southern District of Texas      10-4214          No   No
                                                           Juan Esquivel, et al. v. BP Company North
  254   No Stamp   Hernandez               Marcos          America, Inc., et al.                         Southern District of Texas      10-4214          No   No
                                                           Alpasito, Inc., et al. v. BP Company North
  255   No Stamp   Hernandez               Marcos          America, Inc., et al.                         Southern District of Texas      10-4216          No   No
                                                           Alpasito, Inc., et al. v. BP Company North
  256   No Stamp   Hernandez               Marcos          America, Inc., et al.                         Southern District of Texas      10-4216          No   No
                                                           Juan Esquivel, et al. v. BP Company North
  257   No Stamp   Hernandez               Ruben           America, Inc., et al.                         Southern District of Texas      10-4214          No   No
  258   No Stamp   Herrera                 Teodulo                                                       XXXXX                           10-4220          No   No
                                                           Darleen Jacobs Levy vs. Transocean, LTD, et
  259   No Stamp   Hicks                   Ronald          al                                            Eastern District of Louisiana   10-1245          No   No

  260   34494612   Hill                    Robyn           Robyn Hill v. BP, PLC, et al.                 Southern District of Alabama    10-4193          No   No
  261   34486183   Ho                      Dang Van        Abadie et al vs. BP P.L.C                     Eastern District of Louisiana   2:10 CV 2116     No   No
                   Home Finders                            Darleen Jacobs Levy vs. Transocean, LTD, et
  262   No Stamp   International                           al                                            Eastern District of Louisiana   10-1245          No   No

  263   34498422   Hopkins                 Fran            Hopkins, et al. v. Transocean, Ltd., et al.   Southern District of Alabama                     No   No
                                                           Leonard A. Hudson, Ind. & as Proposed Class                                   3:10-CV-00368-
  264   34462833   Hudson                  Leonard         Rep vs. BP P.L.C., et al.                     Northern District of Florida    MCR-EMT          No   No
                                                           Fishing Magician Charters, LLC v. BP (See
  265   34468617   Hutchinson              Pamela          Attached)                                     Eastern District of Louisiana   10-1338          No   No
  266   34486183   Huynh                   Andy            Abadie et al vs. BP P.L.C., et al             Eastern District of Louisiana   2:10 CV 02116    No   No
  267   34486183   Huynh                   Hai             Abadie et al vs. BP P.L.C., et al             Eastern District of Louisiana   2:10 CV 02116    No   No
  268   34486183   Huynh                   Jaw             Abadie et al vs. BP P.L.C., et al             Eastern District of Louisiana   2:10 CV 02116    No   No
  269   34486183   Huynh                   Loi Huu         Abadie et al vs. BP P.L.C. et al              Eastern District of Louisiana   2:10 CV 02116    No   No
                   Imagine Enterprises I   Faith Haven -
  270   34498422   LLC                     Cotton Bayou    Hopkins, et al. v. Transocean, Ltd., et al.   Southern District of Alabama                     No   No
                   Imagine Enterprises     Faith Haven
  271   34498422   LLC                     Retreat         Hopkins, et al. v. Transocean, Ltd., et al.   Southern District of Alabama                     No   No
                   Imagine Enterprises
  272   34498422   LLC                                     Hopkins, et al. v. Transocean, Ltd., et al.   Southern District of Alabama                     No   No
                   Imagine Enterprises
  273   34498422   LLC                                     Hopkins, et al. v. Transocean, Ltd., et al.   Southern District of Alabama                     No   No
                   Imagine Enterprises
  274   34498422   LLC                                     Hopkins, et al. v. Transocean, Ltd., et al.   Southern District of Alabama                     No   No

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                             Imagine Enterprises
  275   34498422             LLC                                        Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                    No   No
                             Imagine Enterprises
  276   34498422             LLC                                        Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                    No   No
  277   34489834             Ingram                  Bay                Joseph A. Kunstler, et al BP, P.L.C., et al.      Eastern District of Louisiana   2010-01345      No   No
                             Inter-Tour Louisiane,                      Inter-tour Louisiane, Inc. d/b/a Tours by
  278   34473620             Inc                                        Isabelle, et al. v. Transocean, Ltd., et al.      Eastern District of Louisiana   2:10-CV-2103    No   No
                             Inter-Tour Louisiane,                      Inter-tour Louisiane, Inc. d/b/a Tours by
  279   34473620             Inc.                                       Isabelle, et al. v. Transocean, Ltd., et al.      Eastern District of Louisiana   2:10-CV-2103    No   No
                                                                        Michelle West, et al. v. BP, PLC et al. (10-CV-
  280   34475870             Irby                    Julian B;Marilyn   274 ND FL)                                        Northern District of Florida                    No   No

  281   34498422             Isbell                  Melissa            Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                    No   No
                                                                        Darleen Jacobs Levy vs. Transocean, LTD, et
  282   No Stamp             Jacobs                  Darleen            al                                                Eastern District of Louisiana   10-1245         No   No

  283   34492554             James                   Daniel             Divine Fish House, Inc., et al. v. BP, PLC, et al SC-Charleston 10-1461           10-3276         No   No
  284   No Stamp             James                   Jerry              Fruge, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1752      No   No
                                                                        Darleen Jacobs Levy vs. Transocean, LTD, et
  285   [Illegible stamp.]   Jay                     Beverly            al                                                Eastern District of Louisiana   10-1245         No   No
                                                                        Darleen Jacobs Levy vs. Transocean, LTD, et
  286   No Stamp             Jay                     William            al                                                Eastern District of Louisiana   10-1245         No   No
                                                                        Felix C. Aguilar, et al. vs. BP Company North
  287   No Stamp             Jimenez                 Jose               America, et al.                                   Southern District of Texas      10-4220         No   No
                                                                        Darleen Jacobs Levy vs. Transocean, LTD, et
  288   No Stamp             Johnson                 Barry              al                                                Eastern District of Louisiana   10-1245         No   No
                                                                        Darleen Jacobs Levy vs. Transocean, LTD, et
  289   No Stamp             Johnson                 Cornelius          al                                                Eastern District of Louisiana   10-1245         No   No
                                                                        Darleen Jacobs Levy vs. Transocean, LTD, et
  290   No Stamp             Johnson                 Gilbert            al                                                Eastern District of Louisiana   10-1245         No   No
                                                                        Ecco Solutions d/b/a Ecco Fish USA, et al. v.
  291   No Stamp             Johnson                 James              BP Company North America, Inc., et al.            Southern District of Texas      10-4225         No   No
                                                                        The Cynthia Joannou Revocable Trust, by Its
                                                                        Trustee Cynthia M. Joannou Individually and on
                                                                        Behalf of all others Similarly Situated v. BP et.
  292   34494619             Jonnou                  Cynthia            al.                                               Middle District of Florida      10-3075         No   No
  293   34473424             Kansas                  Jacob              Kansas, et al. v. Transocean, Ltd., et al.        Eastern District of Louisiana   2:10-CV-1836    No   No
  294   34492554             Kerner                  David              Earl Brandt, et al. v. BP, PLC, et al.            District of South Carolina      10-3275         No   No
  295   34492554             King                    Royce              The Litchfield Co., LLC v. BP PLC, et al          District of South Carolina      10-3277         No   No
                                                                        Le Discount Seafood, Inc., et al. v. BP PLC, et
  296   34487715             Kirkland                Morgan             al. 5:10-cv-00106                                 Northern District of Florida    2:10-CV-03101   No   No
                                                                        Darleen Jacobs Levy vs. Transocean, LTD, et
  297   [Illegible stamp.]   Kizzee                  Anthony            al                                                Eastern District of Louisiana   10-1245         No   No
                                                                        Darleen Jacobs Levy vs. Transocean, LTD, et
  298   No Stamp             Kizzee                  Anthony            al                                                Eastern District of Louisiana   10-1245         No   No
                                                                        Van Duyn v. BP, PLC, et al., 1:10-CV-183-HSO- Southern District of
  299   34470605             Knight                  Charles            JMR, S.D. Miss., Southern Div.                    Mississippi                     10-2680         No   No
  300   34517999             Koonin                  Steven             Christopher R. Schorr, et al v. BP, PLC et al     Eastern District of Louisiana   10-2989         No   No
  301   34803960             Koonin                  Steven             Christopher R. Schorr, et al v. BP, PLC et al     Eastern District of Louisiana   10-2989         No   No
  302   34489834             Kunstler                Joseph             Joseph A. Kunstler, et al BP, P.L.C., et al.      Eastern District of Louisiana   2010-01345      No   No


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                                                     Darleen Jacobs Levy vs. Transocean, LTD, et
  303   No Stamp   Kurka                Mark         al                                                Eastern District of Louisiana   10-1245         No   No
                                                     Darleen Jacobs Levy vs. Transocean, LTD, et
  304   No Stamp   Kurka                Michelle     al                                                Eastern District of Louisiana   10-1245         No   No
  305   34486183   Ladd                 Breanne      Abadie et al vs. BP P.L.C., et al                 Eastern District of Louisiana   2:10 CV 02116   No   No
  306   34486183   Lai                  Phuong Vu    Abadie et al vs. BP P.L.C., et al                 Eastern District of Louisiana   2:10 CV 02116   No   No
  307   34804258   Lamb                 John         Christopher R. Schorr, et al v. BP, PLC et al     Eastern District of Louisiana   10-2989         No   No
  308   34804258   Lamb                 Shirley      Christopher R. Schorr, et al v. BP, PLC et al     Eastern District of Louisiana   10-2989         No   No
                                                     Darleen Jacobs Levy vs. Transocean, LTD, et
  309   No Stamp   Lambert              Richard      al                                                Eastern District of Louisiana   10-1245         No   No
  310   No Stamp   LaSalle              Steven       Fruge, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1752      No   No
  311   34486183   Le                   Phong Hong   Abadie et al vs. BP P.L.C. et al                  Eastern District of Louisiana   2:10 CV 02116   No   No
  312   34470300   Lee                  Belinda      Robin v. Seacor Marine                            Eastern District of Louisiana   2:10-CV-01156   No   No

  313   34488824   Lee                  Lorraine     Sarah H. Moore, et al. v. BP, PLC, et al.      Southern District of Alabama       2:10-CV-03253   No   No
                                                     American Gulf Seafood LLC, et al. vs. BP, PLC,
  314   34486281   Leyva                Jose         et al.                                         Eastern District of Louisiana      2:10-CV-01970   No   No
                                                                                                    US District Court for the
                                                                                                    Northern District of Alabama,      CV-10-PWG-1139-
  315   34493902   LLC                  CMCO         Chenault, et al. v. Transocean, Ltd., et al.   Southern Div.                      S               No   No
                                                                                                    US District Court for the No.
                                                                                                    Dist. of Alabama, Southern         CV-10-PWG-1139-
  316   No Stamp   LLC                  CMCO         Chenault, et al. v. Transocean, Ltd., et al.   Div.                               S               No   No
  317   34492554   Lloyd                William      Earl Brandt, et al. v. BP, PLC, et al          District of South Carolina         10-3275         No   No
  318   34486183   Loe                  Thon         Abadie et al vs. BP, P.L.C. et al              Eastern District of Louisiana      2:10 CV 02116   No   No
  319   34494162   Loupe                Faye         Loupe, et al v. BP, PLC, et al                 Eastern District of Louisiana      10-2764         No   No
  320   34494416   Loupe                Faye         Loupe, et al v. BP, PLC, et al                 Eastern District of Louisiana      10-2764         No   No

  321   34490452   LP Properties, LLC   N/A          Jud and Sherri Smith, et al. v. BP, PLC, et al.   Southern District of Alabama    1:10-CV-200     No   No
  322   34486183   Ly                   Rim Chi      Abadie et al vs. BP, PLC, et al                   Eastern District of Louisiana   2:10 CV 02116   No   No
  323   34472273   Lynch                Phillip                                                        XXXXX                                           No   No
  324   34482406   Lynch                Phillip                                                        XXXXX                                           No   No
  325   34493289   Lyons                Roland       Rodrigue, et al v. BP, PLC, et al                 Eastern District of Louisiana   10-1325         No   No
                                                     Kelli Manuel Taquino; Jessica Manchester; and
                                                     Ashley Manuel vs. Transocean Holdings, LLC;
  326   No Stamp   Manchester           Jessica      et al                                         Eastern District of Louisiana       2:10-CV-1921    No   No
                                                                                                                                       2:10-CV-
  327   34461695   Mandina              Tommy        Mandina, et al vs. BP, PLC, et al                 Eastern District of Louisiana   02713J(1)       No   No
                                                                                                                                       2:10-CV-
  328   34461695   Mandina              Tommy        Mandina, et al vs. BP, PLC, et al                 Eastern District of Louisiana   02713J(1)       No   No
                                                                                                                                       2:10-CV-
  329   34461695   Manint               Alfred       Mainant, et al vs. BP, PLC, et al             Eastern District of Louisiana       02716J(1)       No   No
                                                     2010-25245; Kleppinger, et al vs. Transocean, District Court of Harris County,
  330   34438202   Mansfield            James        et al                                         Texas                            10-3168            No   No
                                                     2010-25245; Kleppinger, et al vs. Transocean, District Court of Harris County,
  331   34456028   Mansfield            James        et al                                         Texas                            10-3168            No   No
                                                     Kelli Manuel Taquino; Jessica Manchester; and
                                                     Ashley Manuel vs. Transocean Holdings, LLC;
  332   34488673   Manuel               Ashley       et al                                         Eastern District of Louisiana 2:10-CV-1921          No   No



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                                                       4:10-CV-1721 In Re the Complaint and Petition
                                                       of Triton Asset Leasing GmbH, et al, in a Cause                                       2:10-CV-02771
  333   34490516   Manuel              Geneva and L.D. for Exoneration from or Limitation of Liability Southern District of Texas            CJB-SS           No    No
                                                       Mandina's of New Orleans, et al vs. BP, PLC, et                                       2:10-CV-
  334   34461695   Marcello            Elizabeth       al                                              Eastern District of Louisiana         02712J(1)        No    No
                                                       Mandina's of New Orleans, et al vs. BP, PLC, et                                       2:10-CV-
  335   34461695   Marcello            Elizabeth       al                                              Eastern District of Louisiana         02712J(1)        No    No
                                                       Mandina's of New Orleans, et al vs. BP, PLC, et                                       2:10-CV-
  336   34461695   Marcello            Elizabeth       al                                              Eastern District of Louisiana         02712J(1)        No    No
                                                       Mandina's of New Orleans, et al vs. BP, PLC, et                                       2:10-CV-
  337   34461695   Marcello            Frank           al                                              Eastern District of Louisiana         02712J(1)        No    No
                                                       Darleen Jacobs Levy vs. Transocean, LTD, et
  338   No Stamp   March               James           al                                              Eastern District of Louisiana         10-1245          No    No
  339   34476526   Marsh               B.              Gallo et al. v. BP PLC et al. 2:10-CV-02795     Eastern District of Louisiana         2:10-CV-02795    No    No
                                                       James F. Mason, Jr., et al. v. Transocean,
  340   34480268   Mason               James           LTD., et al; 1:10-v-00191                       Southern District of Alabama          2:10-CV-02639     No   No
  341   34517999   Masterson           Deborah         Christopher R. Schorr, et al v. BP, PLC et al   Eastern District of Louisiana         10-2989           No   No
  342   34803960   Masterson           Deborah         Christopher R. Schorr, et al v. BP, PLC et al   Eastern District of Louisiana         10-2989           No   No
  343   34527052   Masterson           Joseph          Christopher R. Schorr, et al v. BP, PLC et al   Eastern District of Louisiana         10-2989           No   No
  344   34803960   Masterson           Joseph          Christopher R. Schorr, et al v. BP, PLC et al   Eastern District of Louisiana         10-2989           No   No
                                                       Scott McCarthy, Ind & as Proposed Class Rep                                           4:10-CV-10068-
  345   34461863   McCarthy            Scott           vs. BP P.L.C., et al.                           Southern District of Florida          King/Bandstra     No   No
                                                                                                       Southern District of                  1:10-CV-00280-LG-
  346   34494243   McCraney            Chris           Grady Thigpen, et al. v. BP, PLC, et. al.       Mississippi                           RHW               No   No
                                                                                                       Southern District of                  1:10-CV-00280-LG-
  347   34494301   McCraney            Chris           Grady Thigpen, et al. v. BP, PLC, et. al.       Mississippi                           RHW               No   No

  348   34488824   McDavid             Helen            Sarah H. Moore, et al. v. BP, PLC, et al.            Southern District of Alabama    2:10-CV-03253    No    No
  349   34492554   McIntosh            Chris            Earl Brandt, et al. v. BP, PLC, et al.               District of South Carolina      10-3275          No    No

  350   34558781   Mead                Mark             Bradley Shivers et al v. BP, PLC, et al              Southern District of Alabama    CV.10.0381.B     No    No

  351   34478973   Mead                Mark             Bradley Shivers, et al v. BP, PLC, et al             Southern District of Alabama    CV-10-0381-B     No    No
  352   34472763   Melerine            Marlene          Robin v. Seacor Marine                               Eastern District of Louisiana   2:10-CV-01156    No    No
                                                        A Bar & Grill with A Bit, Inc., et al. v. BP, PLC,
  353   34490790   Menard              Michael          et al.                                               Eastern District of Louisiana   10-1499          No    No
  354   34477379   Messier             Kyle             Gallo et al. v. BP PLC et al. 2:10-CV-02795          Eastern District of Louisiana   2:10-CV-02795    No    No
  355   34483809   MetCalf Jr.         Joe              Mitchell, et al. v. BP, PLC, et al.                  Eastern District of Louisiana   10-CV-1472       No    No
                                                        Gold Fingers Jewelers & Gift Shop, Inc., Inc. v.
  356   34492468   Mikalef             Anthipi          BP, PLC, et al                                       Middle District of Florida      2:10-CV-03079    No    No
                                                        Gold Fingers Jewelers & Gift Shop, Inc., Inc. v.
  357   34491025   Mikalef             Irene            BP, PLC, et al                                       Middle District of Florida      2:10-CV-03079    No    No
                                                        Darleen Jacobs Levy vs. Transocean, LTD, et
  358   No Stamp   Mistry              Mahesh (Mike)    al                                                   Eastern District of Louisiana   10-1245          No    No
                                                        Darleen Jacobs Levy vs. Transocean, LTD, et
  359   No Stamp   Mitchell            James            al                                                   Eastern District of Louisiana   10-1245          No    No
                   Mobile Management
  360   34488824   LLC                                  Sarah H. Moore, et al. v. BP, PLC, et al.            Southern District of Alabama    2:10-CV-03253    No    No
  361   34470898   Molero              Dorothy          Robin v. Seacor Marine                               Eastern District of Louisiana   2:10-CV-01156    No    No


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                                                           Paul Monroe; W. Edward Trehern v. BP, PLC,
  362   34494670   Monroe                Paul              et al.                                          Southern District of Alabama    10-4194          No   No

  363   34488824   Moore                 Sarah          Sarah H. Moore, et al. v. BP, PLC, et al.          Southern District of Alabama    2:10-CV-03253    No   No
                                                        Alpasito, Inc., et al. v. BP Company North
  364   No Stamp   Moore                 Wenn           America, Inc., et al.                              Southern District of Texas      10-4216          No   No
                                                        Juan Esquivel, et al. vs. BP Company North
  365   No Stamp   Morales               Victor         America, Inc., et al.                              Southern District of Texas      10-4214          No   No
  366   34491656   Moreira               Carlos         James Galaris, et al v. BP, PLC, et al             Middle District of Florida      2:10-CV-03081    No   No
                                                        Felix C. Aguilar, et al. vs. BP Company North
  367   No Stamp   Moreno                Raul           America, et al.                                    Southern District of Texas      10-4220          No   No
  368   34494744   Moret                 Andrew         Moret v. Transocean Ltd., et al                    Southern District of Florida    2:10CV02977      No   No
  369   34517999   Moscattini            Lori           Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana   10-2989          No   No
  370   34803960   Moscattini            Lori           Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana   10-2989          No   No
  371   34517999   Moscattini            Roy            Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana   10-2989          No   No
  372   34803960   Moscattini            Roy            Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana   10-2989          No   No
                                                        Thomas Murphy and Dolores Murphy, Ind & as                                         8:10-CV-01521-
  373   34462379   Murphy                Thomas;Dolores Proposed Class Rep vs. BP P.L.C., et al.           Middle District of Florida      JDW-TGW          No   No
  374   34486183   Ngo                   Thao           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  375   34486183   Ngoe                  Tran           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  376   34486183   Nguyen                Binn           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  377   34486183   Nguyen                Chavlie        Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  378   34486183   Nguyen                Doan           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  379   34486183   Nguyen                Duc            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  380   34486183   Nguyen                Hai            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  381   34486183   Nguyen                Henry          Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  382   34486183   Nguyen                Khang          Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  383   34486183   Nguyen                Kho            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  384   34486183   Nguyen                Kim            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  385   34486183   Nguyen                Men            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  386   34486183   Nguyen                Ri             Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  387   34486183   Nguyen                Roi            Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  388   34486183   Nguyen                Sheldon        Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  389   34486183   Nguyen                Thuy           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  390   34486183   Nguyen                Tong           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  391   34486183   Nguyen                Viet           Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
  392   34486183   Nguyen                Vu             Abadie, et al v. BP, P.L.C., et al                 Eastern District of Louisiana   2:10-CV-2116     No   No
                                                        NOVA AFFILIATED, S.A., a British Virgin
                   Nova Affiliated dba                  Islands Corporation, and all Similarly Situated v.
  393   34485987   Mantex                               BP, PLC, et al.                                    Eastern District of Louisiana   2:10-CV-01313    No   No
  394   34471591   Nunez                 Annabelle      Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156    No   No
  395   34471690   Nunez                 Carol          Robin v. Seacor Marine                             Eastern District of Louisiana   2:10-CV-01156    No   No

  396   34468599   Nunez                 Karen             Fishing Magicians Charter v. BP (See Attached) Eastern District of Louisiana    10-1338          No   No
  397   34482005   Nunez                 Lena              Charles C. Elmer, et al. v. BP, P.L.C., et al. Eastern District of Louisiana    10-1515          No   No
                                                           Darleen Jacobs Levy vs. Transocean, LTD, et
  398   No Stamp   O'Neil                Jack              al                                             Eastern District of Louisiana    10-1245          No   No
  399   34491153   Orr                   Marylee           Doug Crawford v. BP, P.L.C., et al,            Eastern District of Louisiana    10-1540          No   No

  400   34498422   Overstreet            John              Hopkins, et al. v. Transocean, Ltd., et al.     Southern District of Alabama                     No   No


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  401   34498422   Overton            Joseph       Hopkins, et al. v. Transocean, Ltd., et al.          Southern District of Alabama                      No   No
                   P&S Restaurant
  402   34450953   Group, LA., LLC                 P&S Restaurant Group, et al v. BP PLC, et al         Eastern District of Louisiana   10-01574          No   No
                                                   Pappas Restaurants, Inv. v. Transocean
  403   34487414   Pappas             Christine    Offshore Deepwater Drilling, Inc., et al             Southern District of Texas                        No   No
  404   34494744   Parker             Darrick      Parker v. Transocean Ltd. et al                      Southern District of Florida    2:10CV02983       No   No

  405   34482254   Paul               Gary         Gary Paul, et al. v. BP, Plc, et al                  Southern District of Alabama    10-3245           No   No
                                                                                                        2nd Judicial Circuit Leon
  406   34695706   Payne              Derek        Walton, et. al v. BP, plc, et. al.                   County FL                       N/A               No   No
  407   34482921   Perry              Bradley      Robin V. Seacor                                      Eastern District of Louisiana   10-CV-01156       No   No
  408   34486183   Pham               Lan          Abadie, et al v. BP, P.L.C., et al                   Eastern District of Louisiana   2:10-CV-2116      No   No
  409   34486183   Phan               Minn         Abadie, et al v. BP, P.L.C., et al                   Eastern District of Louisiana   2:10-CV-2116      No   No
  410   34486183   Phan               Tam          Abadie, et al v. BP, P.L.C., et al                   Eastern District of Louisiana   2:10-CV-2116      No   No
  411   34517999   Phelts             Allison      Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana   10-2989           No   No
  412   34803960   Phelts             Allison      Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana   10-2989           No   No
  413   34517999   Phelts             Tim          Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana   10-2989           No   No
  414   34803960   Phelts             Tim          Christopher R. Schorr, et al v. BP, PLC et al        Eastern District of Louisiana   10-2989           No   No
  415   34493289   Picou              Randy        Rodrigue, et al v. BP, PLC, et al                    Eastern District of Louisiana   10-1325           No   No
  416   34486183   Pitre              Keith        Abadie, et al v. BP, P.L.C., et al                   Eastern District of Louisiana   2:10-CV-2116      No   No
  417   34486183   Polkey             Richard      Abadie, et al v. BP, P.L.C., et al                   Eastern District of Louisiana   2:10-CV-2116      No   No
  418   34486183   Polkey             Ronald       Abadie, et al v. BP, P.L.C., et al                   Eastern District of Louisiana   2:10-CV-2116      No   No
                                                                                                        US District Court for the
                                                                                                        Southern District of Alabama,
  419   34493902   Probst             David        Fishburn, et al. v. BP PLC, Ltd., et al.             Mobile Div.                     1:10-248          No   No
  420   34486183   Quan               Nguyen       Abadie, et al v. BP, P.L.C., et al                   Eastern District of Louisiana   2:10-CV-2116      No   No

  421   34493417   Raffield           Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al Northern District of Florida   2:10-CV-03102     No   No

  422   34493417   Raffield           Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al Northern District of Florida   2:10-CV-03102     No   No

  423   34493417   Raffield           Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al Northern District of Florida   2:10-CV-03102     No   No

  424   34493417   Raffield           Eugene       Raffield Fisheries, Inc., et al. v. B.P., PLC., et al Northern District of Florida     2:10-CV-03102   No   No
                                                   Raffield Fisheries, Inc., et al. v. B.P., PLC., et
  425   34486735   Raffield           Eugene       al.                                                   Northern District of Florida     2:10-CV-03102   No   No
                                                   Raffield Fisheries, Inc., et al. v. B.P., PLC., et
  426   34486735   Raffield           Eugene       al.                                                   Northern District of Florida     2:10-CV-03102   No   No
                                                   Raffield Fisheries, Inc., et al. v. B.P., PLC., et
  427   34486735   Raffield           Eugene       al.                                                   Northern District of Florida     2:10-CV-03102   No   No
                                                   Raffield Fisheries, Inc., et al. v. B.P., PLC., et
  428   34486735   Raffield           Eugene       al.                                                   Northern District of Florida     2:10-CV-03102   No   No
                                                   Raffield Fisheries, Inc., et al. v. B.P., PLC., et
  429   34486735   Raffield           Eugene       al.                                                   Northern District of Florida     2:10-CV-03102   No   No
                                                   Raffield Fisheries, Inc., et al. v. B.P., PLC., et
  430   34493417   Raffield           Eugene       al.                                                   Northern District of Florida     2:10-CV-03102   No   No
                                                   C.A. No. 2010-25245; Tracy Kleppinger vs.
                                                   Transocean Offshore Deepwater Drilling, Inc.,
                                                   et al, In the 235th Judicial District Court of        District Court of Harris County, 2:10-CV-02771
  431   34490924   Ramos              Carlos       Harris County, Texas                                  Texas                            CJB-SS          No   No

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  432   No Stamp   Randell                Stephen      Fruge, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1752       No   No
                                                       American Gulf Seafood LLC, et al. vs. BP, PLC,
  433   34486281   Ranko                  Ellis        et al.                                           Eastern District of Louisiana   2:10-CV-01970    No   No
                                                       Water Street Seafood Inc., et al. v. B.P., PLC.,
  434   34485148   Rash                   Steven       et al                                            Northern District of Florida    2:10-CV-02671    No   No
                                                       Water Street Seafood Inc., et al. v. B.P., PLC.,
  435   34493417   Rash                   Steven       et al                                            Northern District of Florida    2:10-CV-02671    No   No
                                                       Darleen Jacobs Levy vs. Transocean, LTD, et
  436   No Stamp   Reece                  Kevin        al                                               Eastern District of Louisiana   10-1245          No   No
  437   34493976   Reyes                  Lisa         Buras, et al v. BP, PLC, et al                   Eastern District of Louisiana   10-2994          No   No
                                                       Ecco Solutions d/b/a Ecco Fish USA, et al. v.
  438   No Stamp   Richard                Thomas       BP Company North America, Inc., et al.           Southern District of Texas      10-4225          No   No
                   Richard's Seafood
  439   34477210   Patio                               Calvin J. Richard v. BP, PLC, et al              Eastern District of Louisiana   2:10-CV-1438     No   No
  440   35622348   Rinke                  Robert       Robert L. Rinke vs. BP, P.L.C., et al.           Northern District of Florida                     No   No
                                                       Darleen Jacobs Levy vs. Transocean, LTD, et
  441   No Stamp   Rizzuto                Ronald       al                                               Eastern District of Louisiana   10-1245          No   No

  442   34498422   Roberson               Joni         Hopkins, et al. v. Transocean, Ltd., et al.      Southern District of Alabama                     No   No
  443   34486183   Roberts                Larry        Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116     No   No
  444   34486183   Roberts                Larry        Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116     No   No

  445   34488824   Roberts                Lynn         Sarah H. Moore, et al. v. BP, PLC, et al.        Southern District of Alabama    2:10-CV-03253    No   No

  446   34488824   Robinson               Newell       Sarah H. Moore, et al. v. BP, PLC, et al.        Southern District of Alabama    2:10-CV-03253    No   No
  447   34493289   Rodrigue               Brent        Rodrigue, et al v. BP, PLC, et al                Eastern District of Louisiana   10-1325          No   No
  448   34517999   Rodriguez              Bridget      Christopher R. Schorr, et al v. BP, PLC et al    Eastern District of Louisiana   10-2989          No   No
  449   34803960   Rodriguez              Bridget      Christopher R. Schorr, et al v. BP, PLC et al    Eastern District of Louisiana   10-2989          No   No
  450   34517999   Rodriguez              Frank        Christopher R. Schorr, et al v. BP, PLC et al    Eastern District of Louisiana   10-2989          No   No
  451   34803960   Rodriguez              Frank        Christopher R. Schorr, et al v. BP, PLC et al    Eastern District of Louisiana   10-2989          No   No
                                                       Juan Esquivel, et al. v. BP Company North
  452   No Stamp   Rodriguez              Oscar        America, Inc., et al.                            Southern District of Texas      10-4214          No   No

  453   34478457   Rodriguez, Jr.         Joseph       Papa Rod, Inc. et al v. BP, PLC et al            Southern District of Alabama    10-3250          No   No

  454   34478457   Rodriguez, Jr.         Joseph       Papa Rod, Inc. et al v. BP, PLC et al            Southern District of Alabama    10-3250          No   No

  455   34495379   Rodriguez, Sr.         Charles      Sea Eagle Fisheries, Inc. et al v. BP, PLC et al Southern District of Alabama    10-2661          No   No
                                                       JRKW Enterprises, LLC, d/b/a Huck Finn's
                                                       Cafe & as Proposed Class Rep vs. BP P.L.C.,                                      2:10-CV-02846-
  456   34462220   Rogers                 Jeffrey      et al.                                           Eastern District of Louisiana   CJB-SS           No   No
                                                       Felix C. Aguilar, et al. vs. BP Company North
  457   No Stamp   Rojas                  Lupe         America, et al.                                  Southern District of Texas      10-4220          No   No
                                                       American Gulf Seafood LLC, et al. vs. BP, PLC,
  458   34486281   Ronquille              Jerral       et al.                                           Eastern District of Louisiana   2:10-CV-01970    No   No
  459   34517999   Rosenberg              Rosenberg    Christopher R. Schorr, et al v. BP, PLC et al    Eastern District of Louisiana   10-2989          No   No
  460   34803960   Rosenberg              Rosenberg    Christopher R. Schorr, et al v. BP, PLC et al    Eastern District of Louisiana   10-2989          No   No
                                                                                                        Southern District of
  461   34494744   Rowell                 Jimmie       Sevel, et al v. BP, PLC, et al                   Mississippi                     2:10CV02677      No   No
                                                       Darleen Jacobs Levy vs. Transocean, LTD, et
  462   No Stamp   Ruiz                   Ronald       al                                               Eastern District of Louisiana   10-1245          No   No

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  463   34562658            Russell               Scott         Bradley Shivers et al v. BP, PLC, et al            Southern District of Alabama     CV.10.0381.B     No   No

  464   34478973            Russell               Scott         Bradley Shivers, et al v. BP, PLC, et al           Southern District of Alabama     CV-10-0381-B     No   No
                                                                Felix C. Aguilar, et al. vs. BP Company North
  465   No Stamp            Salas                 Jose          America, et al.                                    Southern District of Texas       10-4220          No   No

  466   34498422            Salter                J.            Hopkins, et al. v. Transocean, Ltd., et al.        Southern District of Alabama                      No   No
                                                                Felix C. Aguilar, et al. vs. BP Company North
  467   No Stamp            Sandiford             Clarence      America, et al.                                    Southern District of Texas       10-4220          No   No
                                                                Satchfield v. BP, PLC, et al., 4:10-CV-02397-
  468   34470605            Satchfield            Kurt          TXSD                                               Southern District of Texas       10-3185          No   No

  469   34767157            Save the Manatee Club               Defenders of Wildlife, et al. v. BP, p.l.c., et al. Eastern District of Louisiana   2:10-CV-03879    No   No
  470   34517999            Schorr                Christopher   Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989          No   No
  471   34803960            Schorr                Christopher   Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989          No   No
  472   34517999            Schorr                Kimberly      Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989          No   No
  473   34803960            Schorr                Kimberly      Christopher R. Schorr, et al v. BP, PLC et al       Eastern District of Louisiana   10-2989          No   No
  474   No Stamp            Shalvey               Stephen       Mitchell, et al. v. BP, PLC, et al.                 Eastern District of Louisiana   10-CV-1472       No   No
                                                                Cory Shepardson d/b/a Lower Keys Charters, et
                                                                al. Ind & as Proposed Class Rep vs. BP P.L.C.,                                      4:10-CV-10054-
  475   34460658            Shepardson            Cory          et al.                                              Southern District of Florida    King-Bandstra    No   No

  476   34389429            Shivers               Bradley       Bradley Shivers, et al v. BP, PLC, et al           Southern District of Alabama     1:10-CV-381      No   No

  477   34478973;34487538   Shivers               Bradley       Bradley Shivers, et al v. BP, PLC, et al           Southern District of Alabama     CV-10-0381-B     No   No
                                                                (2 Cases) Gulf Restoration Network, et al. v.
                                                                Salazar, et al.; Gulf Restoration Network, et al.,                                  2:10-CV-01497-
  478   No Stamp            Sierra Club, Inc.                   v. U.S Dep't of the Interior, et al.               Eastern District of Louisiana    KDE-ALC          No   No
                                                                Carden Simcox, et al. v. BP, PLC, et al., 3:10-cv-
  479   34486543            Simcox                Carden        00514                                              Middle District of Tennessee     2:10CV-02999     No   No

  480   34488008            Simpson               George        George Simpson v. Transocean, LTD; BP, et al. Southern District of Alabama          1:10-CV-210      No   No

  481   34498422            Smeraglia             Claude        Hopkins, et al. v. Transocean, Ltd., et al.        Southern District of Alabama                      No   No

  482   34498422            Smeraglia             Claude        Hopkins, et al. v. Transocean, Ltd., et al.        Southern District of Alabama                      No   No

  483   34498422            Smeraglia             Claude        Hopkins, et al. v. Transocean, Ltd., et al.        Southern District of Alabama                      No   No

  484   34490452            Smith                 Judson        Jud and Sherri Smith, et al. v. BP, PLC, et al. Southern District of Alabama        1:10-CV-200      No   No
                                                                American Gulf Seafood LLC, et al. vs. BP, PLC,
  485   34486281            Smith                 Michael       et al.                                          Eastern District of Louisiana       2:10-CV-01970    No   No

  486   34490452            Smith                 Sherri        Jud and Sherri Smith, et al. v. BP, PLC, et al.    Southern District of Alabama     1:10-CV-200      No   No
  487   34517999            Smith                 Stephen       Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana    10-2989          No   No
  488   34803960            Smith                 Stephen       Christopher R. Schorr, et al v. BP, PLC et al      Eastern District of Louisiana    10-2989          No   No
  489   34492349            Sofronas              James         J.J.S. Properties, Inc. v. BP, PLC, et al          Middle District of Florida       2:10-CV-03082    No   No
  490   No Stamp            Spell                 Cynthia       Fruge, et al. v. BP, PLC, et al.                   Eastern District of Louisiana    10-CV-1752       No   No

  491   34498422            Spina                 Johnnie       Hopkins, et al. v. Transocean, Ltd., et al.        Southern District of Alabama                      No   No

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  492   34498422            Spina                    Johnnie             Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                      No   No

  493   34498422            Spina                    Thomas              Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                      No   No
  494   34494468            St. Pierre               Janiu                                                                 XXXXX                                             No   No
                                                                         Staley v. BP, PLC, et al., 1:10-CV-181-LG-        Southern District of
  495   34470605            Staley                   Jessica             RHW, S.D. Miss., Southern Div.                    Mississippi                       10-2678         No   No
                                                                         State of LA & the LA Dept. of Wildlife &
                                                                         Fisheries v. BP Exploration & Production, Inc.,
                            State of LA & Dept. of                       BP, PLC, BP Products North America, Inc., &       22nd Judicial District,
  496   34472470            Wildlife & Fisheries                         BP America, Inc                                   Louisiana                         2:10-CV-01760   No   No
                                                     District Attorney   State of Louisiana versus BP Exploration and
                            State of LA by and       of Lafourche        Production, Inc., P.L.C., BP Products North
  497   34481079            through the              Parish              America, Inc., and BP America, Inc.               17th Judicial District Court      10-1757         No   No
                                                     District Attorney   State of Louisiana versus BP Exploration and
                            State of LA by and       of Lafourche        Production, Inc., P.L.C., BP Products North
  498   33481079;34495336   through the              Parish              America, Inc., and BP America, Inc.               17th Judicial District Court      10-1757         No   No
                            State of LA by and
                            through the District                         State of Louisiana versus BP Exploration and
                            Attorney of Lafourche                        Production, Inc., BP, P.L.C., BP Products North
  499   34481079            Parish                                       America, Inc., and BP America, Inc.              17th Judicial District Court       10-1757         No   No
                                                                         State of Louisiana vs. Triton Asset Leasing,
  500   34489779            State of Louisiana       N/A                 GMbH, et. Al.                                    Eastern District of Louisiana      10-CV-3059      No   No
                                                                         State of LA v. BP Exploration & Production Inc.,
                                                                         BP, PLC, BP Products North America, Inc., &
  501   34471708            State of Louisiana                           BP America, Inc.                                 32nd Judicial District, LA         2:10-CV-01759   No   No
                                                                         State of LA v. BP Exploration & Production Inc.,
                                                                         BP, PLC, BP Products North America, Inc., &      District Court for Parish of
  502   34472619            State of Louisiana                           BP America, Inc.                                 Iberia, Louisiana                  6:10-CV-00991   No   No
                                                                         State of LA v. BP Exploration & Production Inc.,
                                                                         BP, PLC, BP Products North America, Inc., &      District Court for Parish of St.
  503   34472675            State of Louisiana                           BP America, Inc.                                 Mary, Louisiana                    6:10-CV-00992   No   No

                            State of Louisiana
                            through District
                            Attorney of Terrebonne
  504   34480722            Parish, Joe Waitz, Jr.                       State of Louisiana versus BP, et al., # 160769    32nd Judicial District Court      10-1759         No   No
                                                                         Jack Arias, et al. v. BP Company North
  505   No Stamp            Steel                    Susan               America, Inc., et al.                             Southern District of Texas        10-4224         No   No

  506   34488824            Steinemann               Kathryn             Sarah H. Moore, et al. v. BP, PLC, et al.         Southern District of Alabama      2:10-CV-03253   No   No
                            Stephen E. Ernst and
                            Sharon Ernst Living
  507   34454523            Trust                                        Larry O'Bryan, et al. v. BP, PLC, et al.          Western District of Kentucky      2:2010-CV-02992 No   No
                            Stephen E. Ernst and
                            Sharon Ernst Living
  508   34470864            Trust                                        Larry O'Bryan, et al. v. BP, PLC, et al.          Western District of Kentucky      2:2010-CV-02992 No   No
                                                                                                                                                             2:10-CV-
  509   34461695            Stevenson                Tammy               Tammy Stevenson, et al vs. BP, PLC, et al         Eastern District of Louisiana     01611J(1)       No   No
                                                                         Darleen Jacobs Levy vs. Transocean, LTD, et
  510   No Stamp            Stewart                  Benjamin            al                                                Eastern District of Louisiana     10-1245         No   No

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                                                    Darleen Jacobs Levy vs. Transocean, LTD, et
  511   No Stamp   Stewart                Michael   al                                               Eastern District of Louisiana   10-1245           No   No
                                                    Darleen Jacobs Levy vs. Transocean, LTD, et
  512   No Stamp   Stewart                Regina    al                                               Eastern District of Louisiana   10-1245           No   No
                                                    Cause No. 2010-25245: In Re: Stephen Stone
                                                    and Sara Stone v. Transocean Offshore            District Court of Harris County, 2:10-CV-03168-
  513   34417108   Stone                  Sara      Deepwater Drilling, Inc., et al                  Texas                            CJB-SS           No   No
                                                    Cause No. 2010-25245: In Re: Stephen Stone
                                                    and Sara Stone v. Transocean Offshore            District Court of Harris County, 2:10-CV-03168-
  514   34417343   Stone                  Sara      Deepwater Drilling, Inc., et al                  Texas                            CJB-SS           No   No
                                                    Cause No. 2010-25245: In Re: Stephen Stone
                                                    and Sara Stone v. Transocean Offshore            District Court of Harris County, 2:10-CV-03168-
  515   34417108   Stone                  Stephen   Deepwater Drilling, Inc., et al                  Texas                            CJB-SS           No   No
                                                    Cause No. 2010-25245: In Re: Stephen Stone
                                                    and Sara Stone v. Transocean Offshore            District Court of Harris County, 2:10-CV-03168-
  516   34417343   Stone                  Stephen   Deepwater Drilling, Inc., et al                  Texas                            CJB-SS           No   No

  517   34471014   Suire                  Anthony   Shannon Trahan, et al v BP, et al                Southern District of Alabama    1:10CV00198       No   No

  518   34488824   Taylor                 Jessica   Sarah H. Moore, et al. v. BP, PLC, et al.        Southern District of Alabama    2:10-CV-03253     No   No
  519   34486183   Terrebonne             Carol     Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116      No   No
                                                    Darleen Jacobs Levy vs. Transocean, LTD, et
  520   No Stamp   Terrebonne             Paul      al                                               Eastern District of Louisiana   10-1245           No   No
  521   34486183   Thann                  Coa       Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2:10-CV-2116      No   No
                                                                                                     Southern District of            1:10-CV-00280-LG-
  522   34494243   Thigpen                Grady     Grady Thigpen, et al. v. BP, PLC, et. al.        Mississippi                     RHW               No   No
                                                                                                     Southern District of            1:10-CV-00280-LG-
  523   34494301   Thigpen                Grady     Grady Thigpen, et al. v. BP, PLC, et. al.        Mississippi                     RHW               No   No
  524   34486183   Thov                   Lam       Abadie, et al v. BP, P.L.C., et al               Eastern District of Louisiana   2010-CV-2116      No   No

                                                    Three Captains, Inc., Individually and on Behalf
                                                    of all Persons Similarly Situated, Plaintiff, v.
                                                    Transocean, Ltd., BP, P.LC., Transocean
                                                    Offshore Deepwater Drilling, Inc., Transocean
                                                    Deepwater, Inc., Products North America, Inc.,
  525   34489984   Three Captains, Inc.             Halliburton Energy Servi                         Southern District of Florida                      No   No

                                                    Three Captains, Inc., Individually and on Behalf
                                                    of all Persons Similarly Situated, Plaintiff, v.
                                                    Transocean, Ltd., BP, P.LC., Transocean
                                                    Offshore Deepwater Drilling, Inc., Transocean
                                                    Deepwater, Inc., Products North America, Inc.,
  526   34490268   Three Captains, Inc.             Halliburton Energy Servi                         Southern District of Florida                      No   No

                                                    Three Captains, Inc., Individually and on Behalf
                                                    of all Persons Similarty Situated, Plaintiff, v.
                                                    Transocean, Ltd., BP, PLC Transocean
                                                    Offshore Deepwater Drilling, Inc., Transocean
                                                    Deepwater, Inc., Products North America, Inc.,
  527   34488198   Three Captains, Inc.             Halliburton Energy Services                      Southern District of Florida                      No   No
  528   34447079   Tipps                  Roy       Ben Nelson, et al. v. Transocean, Ltd., et al    Southern District of Texas      3:10-CV-00172     No   No

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  529   34441279   Tipps                Roy         Ben Nelson, et al. v. Transocean, Ltd., et al.  Southern District of Texas     3:10-CV-00172   No   No
                                                    Darleen Jacobs Levy vs. Transocean, LTD, et
  530   No Stamp   Torregano            Sandra      al                                              Eastern District of Louisiana 10-1245          No   No
  531   No Stamp   Tougas               Michael     Mitchell, et al. v. BP, PLC, et al              Eastern District of Louisiana 10-CV-1472       No   No
  532   34486183   Toups                Francis     Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 2010-CV-2116     No   No
  533   No Stamp   Toups                James       Fruge, et al. v. BP, PLC, et al.                Eastern District of Louisiana 10-CV-1752       No   No
  534   34486183   Toups                Todd        Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 2010-CV-2116     No   No
  535   34486183   Tran                 Han         Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 2010-CV-2116     No   No
  536   34486183   Tran                 Krystal     Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 2010-CV-2116     No   No
  537   34486183   Tran                 Linn        Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 2010-CV-2116     No   No
  538   34486183   Tran                 Ly          Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 2010-CV-2116     No   No
  539   34486183   Tran                 Men         Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 2010-CV-2116     No   No
  540   34486183   Tran                 Thach       Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 2010-CV-2116     No   No
  541   34486183   Tran                 Thi         Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 2010-CV-2116     No   No
                                                    Paul Monroe; W. Edward Trehern v. BP, PLC,
  542   No Stamp   Trehern              W.          et al.                                          Southern District of Alabama 10-4194           No   No
                                                    W. Edward Trehern; Trehern Insvestments         Southern District of
  543   No Stamp   Trehern              W.          L.L.C. v. BP, PLC, et al.                       Mississippi                    10-4213         No   No
                                                    W. Edward Trehern; Trehern Insvestments         Southern District of
  544   No Stamp   Trehern              W.          L.L.C. v. BP, PLC, et al.                       Mississippi                    10-4213         No   No
  545   34486183   Truong               Man         Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 20:10-CV-2116    No   No
  546   34486183   Truong               Nan         Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 20:10-CV-2116    No   No
  547   34517999   Tsoukalas            Chris       Christopher R. Schorr, et al v. BP, PLC et al   Eastern District of Louisiana 10-2989          No   No
  548   34803960   Tsoukalas            Chris       Christopher R. Schorr, et al v. BP, PLC et al   Eastern District of Louisiana 10-2989          No   No
                                                    Glynis H.Wright; Janille Turner; et. al. v. BP,
  549   34494570   Turner               Janille     PLC et al.                                      Southern District of Alabama 10-3263           No   No
                   Two Headed Shark                 Two Headed Shark, LLC d/b/a Ripley's Believe
                   LLC d/b/s Replay's               it or Not! V.Transocean, et al. - Case 4:10-cv-
  550   34471996   Believe it or Not                10038-KMM                                       Southern District of Florida   2:10CV03108     No   No
                                                    Juan Esquivel, et al. v. BP Company North
  551   No Stamp   Urdrales             Jose        America, Inc., et al.                           Southern District of Texas     10-4214         No   No
                                                    2010-25245; Kleppinger, et al vs. Transocean, District Court of Harris County,
  552   34438317   Ussin                Dominique   et al                                           Texas                          10-3168         No   No
                                                    2010-25245; Kleppinger, et al vs. Transocean, District Court of Harris County,
  553   34456028   Ussin                Dominique   et al                                           Texas                          10-3168         No   No
  554   34486183   Van                  Cal         Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 20:10-CV-2116    No   No
                                                    Van Duyn v. BP, PLC, et al., 1:10-CV-183-HSO- Southern District of
  555   34470605   Van Duyn             Stacey      JMR, S.D. Miss., Southern Div.                  Mississippi                    10-2680         No   No
  556   34486183   Vegas                Percy       Abadie, et al v. BP, P.L.C., et al              Eastern District of Louisiana 20:10-CV-2116    No   No
  557   No Stamp   Venette              Desire      Vincent Coratella, et al v. BP, PLC, et al      Middle District of Florida     2:10-CV-03083   No   No
                                                    American Gulf Seafood LLC, et al. vs. BP, PLC,
  558   34486281   Vidrine              Ashley      et al.                                          Eastern District of Louisiana 2:10-CV-01970    No   No
                                                    Darleen Jacobs Levy vs. Transocean, LTD, et
  559   No Stamp   Waddell              David       al                                              Eastern District of Louisiana 10-1245          No   No
                                                    Darleen Jacobs Levy vs. Transocean, LTD, et
  560   No Stamp   Waddell              Sharon      al                                              Eastern District of Louisiana 10-1245          No   No

  561   34488824   Waite                Bobby       Sarah H. Moore, et al. v. BP, PLC, et al.     Southern District of Alabama   2:10-CV-03253     No   No

  562   34488824   Waite                Mary        Sarah H. Moore, et al. v. BP, PLC, et al.     Southern District of Alabama   2:10-CV-03253     No   No


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                                                              Alpasito, Inc., et al. v. BP Company North
  563   No Stamp            Waller               Michael      America, Inc., et al.                             Southern District of Texas      10-4216          No   No
                                                                                                                2nd Judicial Circuit Leon
  564   34695706            Walton               Mary         Walton, et. al v. BP, plc, et. al.                County FL                       N/A              No   No
                                                              Ward et. al. v BP et. al. ED of LA 2:10-CV-
  565   34494357            Ward                 George       02670-CJB                                         Northern District of Florida                     No   No
                                                              Kevin Ware, Ind & as Proposed Class Rep vs.                                       4:10-CV-10069-
  566   34461444            Ware                 Kevin        BP P.L.C., et al.                                 Southern District of Florida    Martinez/Brown   No   No

  567   34498422            Warhurst             Laverne      Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                     No   No

  568   34498422            Warhurst             Martha       Hopkins, et al. v. Transocean, Ltd., et al.       Southern District of Alabama                     No   No
  569   34517999            Waronker             Steven       Christopher R. Schorr, et al v. BP, PLC et al     Eastern District of Louisiana   10-2989          No   No
  570   34803960            Waronker             Steven       Christopher R. Schorr, et al v. BP, PLC et al     Eastern District of Louisiana   10-2989          No   No
                                                              Michelle West, et al. v. BP, PLC et al. (10-CV-
  571   34473237            West                 Michelle     274 ND FL)                                        Northern District of Florida                     No   No
  572   34450953;34452937   Whittinghill         Clay         Whittinghill v. Abdon Callais Offshore, LLC       Eastern District of Louisiana   10-01984         No   No
  573   34486183            Willis               Terry        Abadie, et al v. BP, P.L.C., et al                Eastern District of Louisiana   20:10-CV-2116    No   No

  574   34488824            Woddail              Laura        Sarah H. Moore, et al. v. BP, PLC, et al.         Southern District of Alabama    2:10-CV-03253    No   No
                                                              Darleen Jacobs Levy vs. Transocean, LTD, et
  575   No Stamp            Wolfson              Neil         al                                                Eastern District of Louisiana   10-1245          No   No
  576   34487133            Wood                 Edward       Woods Fisheries, Inc. v. B.P., PLC., et al.       Northern District of Florida    2:10-CV-03104    No   No
  577   34493417            Wood                 Edward       Woods Fisheries, Inc. v. B.P., PLC., et al.       Northern District of Florida    2:10-CV-03104    No   No
  578   34486183            Xieu                 Lam          Abadie, et al v. BP, P.L.C., et al                Eastern District of Louisiana   20:10-CV-2116    No   No
                                                              Felix C. Aguilar, et al. vs. BP Company North
  579   No Stamp            Zapata               Oscar        America, et al.                                   Southern District of Texas      10-4220          No   No
                                                              Juan Esquivel, et al. vs. BP Company North
  580   No Stamp            Zepeda               Rolando      America, Inc., et al.                             Southern District of Texas      10-4214          No   No
  581   34478700                                              Jarvis J. Harmon, Sr., et al v. BP, PLC, et al    Eastern District of Louisiana   2:10-CV-1931     No   No
  582   34478849                                              Jarvis J. Harmon, Sr., et al v. BP, PLC, et al    Eastern District of Louisiana   2:10-CV-1931     No   No
  583   34479123                                              Jarvis J. Harmon, Sr., et al v. BP, PLC, et al    Eastern District of Louisiana   2:10-CV-1931     No   No
  584   34479380                                              Jarvis J. Harmon, Sr., et al v. BP, PLC, et al    Eastern District of Louisiana   2:10-CV-1931     No   No




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